       Case:2:20-cv-02675-PBT
       Case  20-1941 Document:  1-1 Page:
                              Document 2-1 156    Date Filed:
                                           Filed 06/05/20     05/07/2020
                                                           Page  1 of 467




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________
                                           :
Major G. Tillery,                          :     Docket No. :
                                           :
                     Petitioner Pro Se,    :
                                           :
                     v.                    :
                                           :
Kenneth Eason, Acting Superintendent,      :
State Correctional Institution at Chester, :
                                           :
                     Respondent.           :
___________________________________ :


                        HABEAS PETITION COVER SHEET
                     (LOCAL RULE OF CIVIL PROCEDURE 9.4)




                                                 Major G. Tillery
                                                 AM 9786
                                                 Petitioner Pro Se
                                                 SCI Chester
                                                 500 E. 4th Street
                                                 Chester, PA 19013


                                          1


                                       Pa 112
       Case:2:20-cv-02675-PBT
       Case  20-1941 Document:  1-1 Page:
                              Document 2-1 157    Date Filed:
                                           Filed 06/05/20     05/07/2020
                                                           Page  2 of 467




       Pursuant to Local Rule of Civil Procedure 9.4(1), Petitioner sets forth the

following as a cover sheet to this petition.



       Petitioner's Full Name :                    Major George Tillery

       Prisoner No. :                              AM 9786

       Person Having Custody
       of Petitioner :                             Kenneth Eason, Acting Superintendent,
                                                   SCI Chester

       Petitioner's Address :                      Major G. Tillery
                                                   SCI Chester
                                                   500 E. 4th Street
                                                   Chester, PA 19013

       Name of Trial Judge :                       Hon. John A. Geisz

       Court Term and
       Bills of Information :                      Philadelphia County Court of Common
                                                   Pleas, Criminal Division, March Term
                                                   1984, Bills of Information: 568, 570,
                                                   571, 573, 574

       Docket No. :                                CP-51-CR-0305681-1984

       Plea :                                      Not Guilty

       Trial :                                     Jury trial, verdict on May 29, 1985

       Charges of Which Petitioner
       Was Convicted :                             First-degree murder, criminal
                                                   conspiracy, possessing instruments of
                                                   crime generally, aggravated assault

       Sentence :                                  Life imprisonment (bill 570: first-degree

                                               1


                                           Pa 113
Case:2:20-cv-02675-PBT
Case  20-1941 Document:  1-1 Page:
                       Document 2-1 158    Date Filed:
                                    Filed 06/05/20     05/07/2020
                                                    Page  3 of 467




                                               murder)
                                               1-2 years (bill 568: poss. inst. of crime,
                                               concurrent with bill 570)
                                               5-10 years (bill 574: crim. conspiracy,
                                               concurrent with bill 570)
                                               5-10 years (bill 573: agg. assault,
                                               consecutive to bill 570)

Did Petitioner Testify at Trial :              No

Did Petitioner Testify at Any
Post-Trial Hearing :                           No

Direct Appeal :                                Superior Court of Pennsylvania
                                               3297 PHL 1986
                                               Filed December 12, 1986
                                               Affirmed May 30, 1989

                                               Supreme Court of Pennsylvania
                                               Denial of Allocatur March 5, 1990

First PCRA Proceeding :                        Philadelphia County Court of Common
                                               Pleas, Criminal Division, March Term
                                               1984, Bills of Information: 568, 570,
                                               571, 573, 574
                                               Filed Sept. 16, 1996
                                               Relief denied Jan. 13, 1998

                                               Superior Court of Pennsylvania
                                               523 PHL 1998
                                               Filed February 18, 1998
                                               Affirmed Apr. 21, 1999

                                               Supreme Court of Pennsylvania
                                               Denial of Allocatur Aug. 18, 1999

First Federal Habeas Petition (pro se) :       United States District Court for the
                                               Eastern District of Pennsylvania
                                               2:99-cv-065160-BWK

                                           2


                                    Pa 114
Case:2:20-cv-02675-PBT
Case  20-1941 Document:  1-1 Page:
                       Document 2-1 159    Date Filed:
                                    Filed 06/05/20     05/07/2020
                                                    Page  4 of 467




                                        Filed Dec. 22, 1999
                                        Relief denied July 29, 2003

                                        United States Court of Appeals for the
                                        Third Circuit
                                        No. 00-3818
                                        Interlocutory appeal
                                        Appeal filed Nov. 22, 2000
                                        Certificate of Appealability granted Feb.
                                        28, 2002
                                        Order clarified Aug. 21, 2002

                                        United States Court of Appeals for the
                                        Third Circuit
                                        No. 03-3616
                                        Appeal filed Sept. 2, 2003
                                        Relief denied July 29, 2005

Second PCRA Proceeding (pro se) :       Philadelphia County Court of Common
                                        Pleas, Criminal Division, March Term
                                        1984, Bills of Information: 568, 570,
                                        571, 573, 574
                                        Filed Aug. 13, 2007
                                        Relief denied Sept. 9, 2008

                                        Superior Court of Pennsylvania
                                        2937 EDA 2008
                                        Notice of Appeal filed Oct. 1, 2008
                                        Affirmed July 15, 2009

                                        Supreme Court of Pennsylvania
                                        497 EAL 2009
                                        Petition filed Aug. 4, 2009
                                        Denial of Allocatur Dec. 9, 2009

Third PCRA Proceeding :                 Philadelphia County Court of Common
                                        Pleas, Criminal Division, March Term
                                        1984, Bills of Information: 568, 570,
                                        571, 573, 574
                                        Filed June 15, 2016

                                    3


                               Pa 115
Case:2:20-cv-02675-PBT
Case  20-1941 Document:  1-1 Page:
                       Document 2-1 160    Date Filed:
                                    Filed 06/05/20     05/07/2020
                                                    Page  5 of 467




                                     Relief denied Sept. 26, 2016

                                     Superior Court of Pennsylvania
                                     3270 EDA 2016
                                     Notice of Appeal filed Oct. 20, 2016
                                     Relief denied June 11, 2018

                                     Supreme Court of Pennsylvania
                                     420 EAL 2018
                                     Petition filed Sept. 10, 2018
                                     Denial of Allocatur Feb. 6, 2019

                                     No petition for certiorari was filed.

Attorneys Who Represented
Petitioner:

Trial Counsel :                      Joseph Santaguida
                                     Law Offices of Joseph Santaguida
                                     121 S. Broad St.
                                     Philadelphia, PA 19102

Counsel on Direct Appeal :           James S. Bruno
                                     150 S. Easton Rd.
                                     Glenside, PA 19038

Counsel on First PCRA :              Richard P. Hunter, Jr.
                                     522 Lincoln Hill Rd.
                                     Newtown, PA 18940

Counsel on Second PCRA :             Brian J. McMonagel
                                     McMonagel, Perri, McHugh, Mischak
                                     and Davis
                                     1845 Walnut Street, 19th Floor
                                     Philadelphia, PA 19103
                                     (Letter Brief in opposition to Motion to
                                     Dismiss in PCRA court only)

Counsel on Third PCRA                Stephen P. Patrizio

                                 4


                             Pa 116
Case:2:20-cv-02675-PBT
Case  20-1941 Document:  1-1 Page:
                       Document 2-1 161    Date Filed:
                                    Filed 06/05/20     05/07/2020
                                                    Page  6 of 467




(appeals only):                         1500 JFK Boulevard, Suite 1205
                                        Philadelphia, PA 19102

Counsel on First Federal Habeas
Petition :                              Edward H. Wiley (E.D. PA)
                                        160 Regency Cir.
                                        Bala-Cynwyd, PA 19004

                                        Michael J. Confusione (3rd Circuit)
                                        309 Fellowship Rd., Suite 200
                                        Mt. Laurel, NJ 08054




                                    5


                                  Pa 117
      Case:2:20-cv-02675-PBT
      Case  20-1941 Document:  1-1 Page:
                             Document 2-1 162    Date Filed:
                                          Filed 06/05/20     05/07/2020
                                                          Page  7 of 467




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

__________________________________
                                           :
Major G. Tillery,                          :    Docket No. :
                                           :
                    Petitioner Pro Se,     :
                                           :
                    v.                     :
                                           :
Kenneth Eason, Acting Superintendent, :
State Correctional Institution at Chester, :
                                           :
                    Respondent.            :
__________________________________:


         SECOND PETITION FOR RELIEF PURSUANT TO 28 U.S.C. § 2254
                                        AND
                 CONSOLIDATED INITIAL MEMORANDUM OF LAW




                                                Major G. Tillery
                                                AM 9786
                                                Petitioner Pro Se
                                                SCI Chester
                                                500 E. 4th Street
                                                Chester, PA 19013




                                       Pa 118
       Case:2:20-cv-02675-PBT
       Case  20-1941 Document:  1-1 Page:
                              Document 2-1 163    Date Filed:
                                           Filed 06/05/20     05/07/2020
                                                           Page  8 of 467




      Petitioner, MAJOR G. TILLERY, hereby petitions for habeas corpus relief

pursuant to 28 U.S.C. § 2241 et seq. and the Constitution of the United States.

      Pursuant to this Court's Local Rule of Civil Procedure 9.3(a), Petitioner has

filled out form PAE AO 241. However, all the information in that form is

duplicated and expanded upon in this Consolidated Petition and Initial

Memorandum of Law (including cover sheet pursuant to this Court's Local Rule of

Civil Procedure 9.4(1)). Accordingly, Petitioner respectfully requests that the

Court construe both this document and PAE AO 241 together as his Petition, and

refer to this document as its primary reference.




                                          i

                                       Pa 119
    Case:2:20-cv-02675-PBT
    Case  20-1941 Document:  1-1 Page:
                           Document 2-1 164    Date Filed:
                                        Filed 06/05/20     05/07/2020
                                                        Page  9 of 467




                                    TABLE OF CONTENTS

                                                                                                               Page

I. INTRODUCTION .............................................................................................1

II. ELIGIBILITY AND BASES FOR RELIEF....................................................3

III. PROCEDURAL HISTORY ...........................................................................4

IV. RELATED PENDING LITIGATION ...........................................................8

V. STATEMENT OF FACTS ..............................................................................9

  A. Background ................................................................................................ 9

  B. Besides Emanuel Claitt's Testimony, No Direct Evidence Exists Against
     Tillery ....................................................................................................... 11

  C. The Declarations of Emanuel Claitt ......................................................... 14

  D. The Declaration of Robert Mickens ......................................................... 25

  E. Corroborative Evidence: Helen Ellis, Denise ("De De") Certain and the
     Roundhouse Logs ..................................................................................... 32

  F. Specific Instances of Prosecutorial Misconduct Shown By Claitt's and
     Mickens' Declarations .............................................................................. 37

  G. Plea Agreements and Open Charges Suppressed by the
     Commonwealth......................................................................................... 59

VI. CLAIMS FOR RELIEF ................................................................................91

  CLAIM I:
  PETITIONER IS FACTUALLY INNOCENT OF THIS OFFENSE. HIS
  CONVICTION AND SENTENCE REPRESENT A FUNDAMENTAL

                                                         ii


                                                   Pa 120
     Case:2:20-cv-02675-PBT
    Case    20-1941 Document: 1-1 Page:
                            Document     165 06/05/20
                                     2-1 Filed Date Filed: 05/07/2020
                                                        Page  10 of 467




   MISCARRIAGE OF JUSTICE AND ARE THE RESULT OF GROSS
   PROSECUTORIAL MISCONDUCT. AT A MINIMUM, HIS SHOWING
   OF INNOCENCE PERMITS REVIEW OF OTHERWISE
   PROCEDURALLY BARRED CLAIMS. ...................................................... 92

      A. Petitioner Is Entitled to Habeas Corpus Relief Because He Is
         Innocent ................................................................................................ 96

  CLAIM II:
  THE COMMONWEALTH MANUFACTURED FALSE INCULPATORY
  EVIDENCE AND SUPPRESSED MATERIAL, EXCULPATORY
  EVIDENCE IN VIOLATION OF DUE PROCESS ...................................... 98

      A. The Commonwealth Manufactured False Inculpatory Evidence and
         Knowingly Used Perjured Testimony to Secure a Conviction ............ 99

      B. The Commonwealth Suppressed Material Exculpatory and
         Impeachment Evidence ...................................................................... 109

VII. ARGUMENT ............................................................................................114

  A. Petitioner Has Never Received Any Hearing on the Merits of These
     Claims ..................................................................................................... 114

  B. Petitioner Meets the Requirements of 28 U.S.C. § 2244 (b)(2)............ 125

  C. Petitioner Satisfies an Equitable Exception to 28 U.S.C. § 2244(d) ... 138

CONCLUSION AND REQUEST FOR RELIEF ............................................146




                                                     iii

                                                  Pa 121
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     166 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  11 of 467




                             I.     INTRODUCTION

      This is a case of factual innocence and gross prosecutorial misconduct

violating petitioner's right to due process and a fair trial. Newly discovered

evidence proves that the Commonwealth of Pennsylvania intentionally

manufactured and presented false evidence, and suppressed impeachment and

exculpatory evidence, in order to convict Major Tillery for a murder he did not

commit.

      In 1985, petitioner, Major Tillery, was convicted of first-degree murder for

the shootings of Joseph Hollis and John Pickens on October 22, 1976 in a

poolroom in North Philadelphia, following which Joseph Hollis died. Tillery was

sentenced to life imprisonment without the possibility of parole. He is now 69

years old and has been imprisoned for almost thirty-seven years, approximately

twenty of which were spent in solitary confinement.

      No physical evidence linked Tillery to the murder. None of the evidence

recovered from the poolroom was linked to him. The central evidence against

Tillery was the testimony of Emanuel Claitt, a serial, professional jailhouse

informant who became an alleged eyewitness to the shootings while incarcerated,

four years after the shootings took place, in 1980. The Commonwealth's other fact




                                          1

                                       Pa 122
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     167 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  12 of 467




witness, Robert Mickens, was allegedly a lookout on the street and heard shots

from inside the poolroom.

       In the sworn declarations attached to this Petition, Claitt and Mickens both

state, for the first time, that their trial testimony was entirely false, that their

testimony was scripted and coached by the Commonwealth, and that neither were

in or near the poolroom where the shooting took place on October 22, 1976. Nor

do they have any personal knowledge of the shootings of Hollis and Pickens, or the

events allegedly leading up to the shooting.

       As detailed in their declarations and in this Petition, Claitt and Mickens were

coerced into providing their testimony with threats of prison time on open charges.

The Commonwealth concealed this coercion, along with multiple plea deals

offered to both witnesses. Furthermore, the Commonwealth completely suppressed

the existence of a set of open robbery charges for Claitt, whose dates closely track

the dates of Tillery's case and which the Commonwealth eventually dismissed.

       Claitt and Mickens corroborate each other regarding the practices employed

by homicide detectives and prosecutors to obtain their false statements and present

their perjured trial testimony. As they both relate, Detectives Lawrence Gerrard

and Ernest Gilbert, among others, permitted Claitt and Mickens to have private


                                             2


                                          Pa 123
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     168 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  13 of 467




sexual visits with girlfriends in the Police Administration Building (PAB)

interview rooms. This is not the first time that Detectives Gerrard and Gilbert have

been found engaging in identical misconduct. Commonwealth v. Lester, 572 A.2d

694 (Pa. Super. 1990) (voluntary manslaughter; reversal and new trial).

      Petitioner is factually innocent of the crimes for which he was convicted.

The declarations of Emanuel Claitt and Robert Mickens nullify the entirety of the

evidence against Tillery at trial. They show that the Commonwealth committed

gross prosecutorial misconduct and convicted him with intentionally manufactured,

perjured testimony. He prays this Court, in the interests of justice, to:

             1)         Grant him an evidentiary hearing and discovery;

             2)         Reverse his conviction;

             3)         Bar re-trial, and

             4)         Order his immediate release.



                  II.     ELIGIBILITY AND BASES FOR RELIEF

      1.     Petitioner's claims are based on his actual innocence, and on

violations of his right to due process of law under the Fourteenth Amendment to

the United States Constitution. As such, Mr. Tillery is eligible for relief under the

federal habeas corpus statute.


                                              3

                                            Pa 124
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     169 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  14 of 467




                        III.   PROCEDURAL HISTORY

      2.     Petitioner, Major G. Tillery ("Tillery") was arrested and charged with

murder in the first degree for the shooting death of Joseph Hollis, criminal

conspiracy, possessing instruments of crime generally and aggravated assault

under Philadelphia County, Pennsylvania docket number CP-51-CR-0305681-1984.

His trial took place from May 2 - May 29, 1985. On May 29, 1985, Tillery was

convicted on all counts. On December 9, 1986, Tillery was sentenced to life

imprisonment without the possibility of parole on the first degree murder

conviction, to run concurrently with a 1-2 year sentence on possession of

instruments of crime generally and concurrently with a 5-10 year sentence on

criminal conspiracy. A 5-10 year sentence on aggravated assault was to run

consecutively to the life sentence. Tillery was represented at trial by attorney

Joseph Santaguida.

      3.     On direct appeal, the Superior Court of Pennsylvania affirmed

Tillery's conviction on May 30, 1999. Commonwealth v. Tillery, No. 3297

Philadelphia 1986, 563 A.2d 195 (Pa. Super. 1989) (unpublished memorandum),

allocatur denied, Commonwealth v. Tillery, 593 A.2d 841 (Pa. Mar. 5, 1990).




                                          4


                                       Pa 125
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     170 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  15 of 467




Exhibit "P". Tillery was represented on his direct appeals by attorney James S.

Bruno.

      4.     Petitioner filed his first PCRA petition in the Court of Common Pleas

(CCP) of Philadelphia County on September 20, 1996. The petition claimed

ineffective assistance of trial counsel, Joseph Santaguida, on the basis that

Santaguida had an actual conflict of interest because he had previously represented

John Pickens, one of the alleged victims in Tillery's case, during the

Commonwealth's case against Tillery's alleged co-conspirator, William Franklin.

The CCP denied the petition on timeliness grounds on January 13, 1998.

      5.     The Superior Court of Pennsylvania affirmed on appeal on April 21,

1999. Commonwealth v. Tillery, No. 523 Philadelphia 1998, 738 A.2d 1055 (Pa.

Super. 1999) (unpublished memorandum), allocatur denied, Commonwealth v.

Tillery, 742 A.2d 674 (Pa. Aug. 18, 1999). Exhibit "R". Petitioner was represented

on his first PCRA petition by Richard P. Hunter.

      6.     Petitioner filed a pro se petition for habeas corpus relief in this Court

on December 22, 1999. Tillery v. Horn, 2:99-cv-065160-BWK (E.D. Pa.). This

petition also alleged ineffective assistance of his trial counsel, Joseph Santaguida,

as the first PCRA petition had.




                                          5

                                       Pa 126
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     171 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  16 of 467




      7.     Initially, the District Court affirmed the magistrate judge's report and

denied a hearing on October 30, 2000. The Court of Appeals granted a certificate

of appealability on February 28, 2002 and clarified that its remand was for the

purposes of a hearing on August 21, 2002. Tillery v. Horn, No. 00-3818 (3d Cir.

2002). Evidentiary hearings were held on April 23, 2003 and May 28, 2003, during

which Tillery and Santaguida both testified. The District Court then denied relief

on July 29, 2003. Exhibit "S".

      8.     Petitioner was represented in the District Court by Edward H. Wiley,

who was appointed following remand from the Court of Appeals (No. 00-3818) on

August 21, 2002.

      9.     Following the denial of relief on July 29, 2003, the Court of Appeals

affirmed the District Court on July 29, 2005. Tillery v. Horn, 142 F. App'x. 66 (3rd

Cir. 2005) (No. 03-3616). Exhibit "T". Tillery was represented in the Court of

Appeals by Michael J. Confusione.

      10.    On August 13, 2007, Tillery filed a second PCRA petition pro se in

the Court of Common Pleas of Philadelphia County, with a Brady claim based on

court records, including trial testimony in other cases, which provided information

that Claitt was promised a sentence of "less than 10 years" and that Mickens had


                                          6


                                       Pa 127
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     172 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  17 of 467




obtained parole assistance. Exhibit "U". The petition was dismissed by the Court of

Common Pleas on September 9, 2008 on timeliness grounds.

      11.    The Superior Court of Pennsylvania affirmed on appeal on July 15,

2009. Commonwealth v. Tillery, 981 A.2d 937 (Pa. Super. 2009) (unpublished

memorandum), allocatur denied, Commonwealth v. Tillery, 985 A.2d 972 (Pa. Dec.

9, 2009). Exhibit "V".

      12.    On June 15, 2016, Tillery filed a third PCRA petition pro se in the

Court of Common Pleas of Philadelphia County. Exhibits "W", "X". This PCRA

petition was dismissed by the Court of Common Pleas on September 26, 2016 on

timeliness grounds.

      13.    The Superior Court of Pennsylvania affirmed on appeal on June 11,

2018. Commonwealth v. Tillery, 193 A.3d 1063 (Pa. Super. 2018) (unpublished

memorandum), allocatur denied, Commonwealth v. Tillery, 201 A.3d 729 (Pa. Feb.

6, 2019). Exhibits "Y", "Z". Tillery's Application for Reconsideration of the Denial

of Allowance of Appeal was denied on May 1, 2019. Tillery was represented by

Stephen P. Patrizio on the appeal.

      14.    Petitioner remains imprisoned at SCI Chester, serving a sentence of

life without the possibility of parole.




                                            7

                                          Pa 128
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     173 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  18 of 467




                  IV.    RELATED PENDING LITIGATION

      15.    Petitioner's alleged co-conspirator, William Franklin ("Franklin"), was

tried from November - December 1980 for murder in the first degree, criminal

conspiracy, possessing instruments of crime generally and aggravated assault

under Philadelphia County, Pennsylvania docket number CP-51-CR-0527851-1980.

On December 5, 1980, Franklin was convicted on all counts. Franklin was

sentenced to life imprisonment without the possibility of parole on July 7, 1982.

      16.    Franklin filed a PCRA petition in the Court of Common Pleas of

Philadelphia County on July 18, 2016, docket number CP-51-CR-0605611-1980.

Franklin's petition was also dismissed by the Court of Common Pleas on

September 12, 2017 on timeliness grounds.

      17.    The Superior Court of Pennsylvania reversed on appeal and remanded

to the PCRA court for an evidentiary hearing on November 16, 2018.

Commonwealth v. Franklin, 201 A.3d 854 (Pa. Super. 2018) (unpublished

memorandum) (Exhibit "AA").




                                         8


                                      Pa 129
          Case:2:20-cv-02675-PBT
         Case    20-1941 Document: 1-1 Page:
                                 Document     174 06/05/20
                                          2-1 Filed Date Filed: 05/07/2020
                                                             Page  19 of 467




         18.   Both Tillery's and Franklin's PCRA petitions and subsequent appeals

were based on Claitt's declaration,1 and made the same argument: for purposes of

the timeliness exceptions to the PCRA, 42 Pa. C. S. § 9545(b)(1)(i) and (ii), due

diligence does not require the petitioner to seek out and interview Commonwealth

witnesses known to have committed perjury at trial, nor is the petitioner required

the make the unreasonable assumption that the Commonwealth improperly

permitted those witnesses to commit perjury. Commonwealth v. Medina, 92 A.3d

1210 (Pa. Super. 2014); Commonwealth v. Davis, 836 A.2d 125 (Pa. Super. 2003),

Commonwealth v. Loner, 836 A.2d 125 (Pa. Super. 2003); Commonwealth v.

McCracken, 659 A.2d 541 (Pa. 1995).


                          V.    STATEMENT OF FACTS

A.       Background
          19. A summary of the events of October 22, 1976, explaining the role of

Emanuel Claitt ("Claitt"), was provided by the Superior Court of Pennsylvania on

his direct appeal.

          "The facts of this [case] have a rather long and tortuous past. At
         approximately 10:00 p.m. on October 22, 1976, Philadelphia police received


     1
       Robert Mickens was not a witness at Franklin's trial. Thus, Franklin's PCRA
petition was entirely based on the declaration of Emanuel Claitt.


                                          9

                                       Pa 130
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     175 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  20 of 467




a call to [an] address at Huntingdon and Warnock Streets in North
Philadelphia. At that corner, they broke down the locked door of a poolroom
operated by William Franklin and discovered the dead body of John Hollis
[sic]. A medical examination later revealed that Hollis died of a gunshot
wound to the trunk of his body. Inside the poolroom, the police found live
and spent .38 caliber ammunition and a set of car keys. Around the corner
from the poolroom at 2527 North 11th Street, police officers found John
Pickens bleeding from a gunshot wound. He was treated at a hospital and
survived his injuries. Both Pickens and Hollis were shot by different guns.

For more than three years, the shooting of Pickens and Hollis remained
unsolved. However, in the spring of 1980, police detectives investigating the
homicide of Samuel Goodwin visited a Philadelphia prison to determine if
Emanual [sic] Claitt, an inmate who had known Goodwin, could provide any
information about Goodwin's death. The information Claitt provided went
far beyond the Goodwin case. Claitt described in detail the operation of what
he labeled the "black mafia", a crime syndicate run by black Muslims in
Philadelphia. His information described a vivid picture of the events
culminating with the shootings of Pickens and Hollis.

[The Superior Court's summary of Claitt's testimony is reproduced infra.]

Based on Claitt's information, the police obtained a warrant on May 23,
1980 for appellant's arrest. However, for three years the police were not able
to serve the warrant because appellant could not be located. A detective in
California finally arrested appellant in November, 1983. Appellant was
returned to Philadelphia on December 8, 1983, to stand trial for the
aforementioned charges."

- Commonwealth v. Tillery, No. 3297 Philadelphia 1986, 563 A.2d 195, pp.
2-5 (Pa. Super. 1989) (unpublished memorandum) (Exhibit "P").




                                  10


                                Pa 131
          Case:2:20-cv-02675-PBT
         Case    20-1941 Document: 1-1 Page:
                                 Document     176 06/05/20
                                          2-1 Filed Date Filed: 05/07/2020
                                                             Page  21 of 467




B.       Besides Emanuel Claitt's Testimony, No Direct Evidence Exists Against
         Tillery
         20.   As the Superior Court acknowledges, the case rested entirely on

Emanuel Claitt's testimony.

         21.   No physical evidence from the scene, of any sort, was presented as

evidence against Tillery.

         22.   No fingerprints were taken at the scene of the shooting. NT 10:83.2

         23.   The "set of car keys" described in the Superior Court's summary (Id.,

p. 2) were actually identified at the scene. The keys belonged to Fred Rainey, who

was known to the Philadelphia police. Despite this, Rainey was never charged for

the shootings. NT 13:12.

         24.   Eighteen hundred dollars was recovered from the scene of the

shooting. The money was later released to Alfred Clark. NT 13:31.

         25.   Alfred Clark, who Claitt described as "the leader of the North

Philadelphia branch" of the Philadelphia "black mafia", was detained by police in a

car stop shortly after the shooting. Clark was never charged, either. NT 13:43-44.



     2
      Petitioner indicates trial transcript pages in the format NT xx:yy. The
number following NT (xx) is the date, in May 1985, of the testimony. The number
following the colon (yy) is the page number.



                                          11

                                        Pa 132
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     177 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  22 of 467




         26.   A large plastic bag containing drugs, coats, a hat and glasses were also

found in the poolroom. None of this evidence was linked to Tillery. NT 13:8;

13:33.

         27.   The surviving victim, John Pickens, made a statement to a homicide

detective while in the hospital, and also made a written statement. Exhibit "E".

Pickens stated that "Dave" and "Rickie" committed the shooting. No charges were

brought against Tillery, nor were they brought against anybody else, as a result of

Pickens' statement. NT 13:56-57. Pickens did not name Tillery, and affirmatively

denied that William Franklin, Tillery's alleged co-conspirator, was involved when

shown Franklin's police photo.

         28.   Pickens was not a witness at William Franklin's trial in November-

December 1980. Nor was he a witness at Tillery's trial in May 1985. The

Commonwealth never subpoenaed Pickens as a witness at Tillery's trial at all.3




   3
      During preparation for his trial, Tillery requested that his trial attorney,
Joseph Santaguida, locate John Pickens as a witness. Santaguida did not do so, nor
did he request a missing witness charge. Pet'r's 1st PCRA Pet., 1996, p. 3 (Exhibit
"Q"); Pet'r's Br., Tillery v. Horn, 142 F. App'x. 66 (3rd Cir. 2005) (No. 03-3616).
      Petitioner later learnt that, during William Franklin's trial, Santaguida had
advised John Pickens not to testify on Fifth Amendment self-incrimination grounds.
During Franklin's trial, Santaguida had stated that Pickens could not be located.

                                           12


                                        Pa 133
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     178 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  23 of 467




      29.    Despite the existence of physical evidence linking other individuals to

the shooting, the detention of Alfred Clark shortly afterwards, and the failure of

John Pickens to identify either Tillery or Franklin, no individuals were charged and

the case remained "unsolved" until April/May 1980, when homicide detectives

questioned Claitt, who was in jail for a parole violation and had 28 open charges

against him. It was only after Claitt made a written statement, on May 20, 1980,

that an arrest warrant was issued for Tillery.

      30.    Between January 1980 and May 1985, Claitt provided information to

and/or testified for the Commonwealth against six other defendants: William

Franklin, Fred Rainey, Robert Lark, James Brand, George Rose and Larry Frazier.

      31.    Petitioner's arrest took place more than seven years following the

original shooting. His alleged co-conspirator, William Franklin, was tried five

years before Tillery, in November-December 1980.




       Santaguida's advice to Pickens not to testify on the basis of self-
incrimination was the basis for Tillery's first PCRA petition and first federal
habeas petition, which claimed ineffective assistance of counsel and an actual
conflict of interest. Exhibits "Q", "S", "T". These claims are not raised in the
instant petition. However, Petitioner explains this history to emphasize that he
assiduously pursued the issue of presenting Pickens, at his own trial, as an
exculpatory witness.


                                          13

                                       Pa 134
           Case:2:20-cv-02675-PBT
          Case    20-1941 Document: 1-1 Page:
                                  Document     179 06/05/20
                                           2-1 Filed Date Filed: 05/07/2020
                                                              Page  24 of 467




          32.   The prosecutor at Tillery's trial, Barbara Christie, secured Robert

Mickens ("Mickens"), also a jailhouse informant, to testify as a corroborating

witness. He alleged role was as a lookout on the street at the time of the shootings;

he testified that he spoke with Tillery outside the poolroom and heard shots while

standing watch outside.

          33.   The evidence against Tillery consisted entirely of the testimony of

Emanuel Claitt and Robert Mickens. The only direct evidence supporting the

Commonwealth's claim that Tillery committed the shooting came from Emanuel

Claitt.


C.        The Declarations of Emanuel Claitt

          1.    Claitt's Trial Testimony
          34.   The Superior Court's summary of Claitt's testimony follows. As

discussed following the summary, Claitt's testimony is false, and the summary is

also an inaccurate summary of the trial testimony in several respects. Tillery does

not concede the veracity of these facts; he reproduces this summary solely to

provide context for the declarations which follow.

          "Claitt testified that from 1976 until 1980, he engaged in drug dealing and
          extortion as a member of the Philadelphia "black mafia". The organization
          divided the city into sections for business purposes. Alfred Clark was the
          leader of the North Philadelphia branch. He held the rank of first lieutenant

                                            14


                                          Pa 135
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     180 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  25 of 467




and had 'the last word for all business in the city. Sylvester White directed
the West Philadelphia branch. John Pickens also dealt drugs in West
Philadelphia. During the [1970s], appellant held the rank of first lieutnenant
and 'had control of the entire city as far as methamphetamines is
concerned . . . ' Claitt received his heroin supply from Clark and his
methamphetamine supply from appellant. Clark and appellant were partners
in the heroin and methamphetamine trade. Claitt characterized appellant as
Clark's 'right hand man'.

On the night of October 20, 1976, Claitt, Clark, appellant, James Ravenell
and [Fred] Rainey met at the home of Dana Goodman at 59th and Woodbine
Streets to discuss a disagreement between Goodwin and Pickens over drug
selling in West Philadelphia. Pickens arrived with Hollis and argued with
Clark about a transaction in which Clark disposed of drugs claimed by
Pickens at the expense of Pickens. During the argument, Hollis called Clark
a 'gangster'. He then grabbed Clark by the collar, took out a pistol, slapped
Clark in the face with the gun and pointed it at Clark as if he were about to
shoot. Pickens stopped Hollis from firing the weapon, but appellant said that
Hollis 'would have to die for what he did'. Although White was not present,
Clark said he would talk to him and arrange a meeting at Franklin's
poolroom to settle the dispute.

Thereafter, a group consisting of Clark, Claitt, Rainey, Ravenell and
appellant met White at a mosque at 13th Street and Susquehanna Avenue in
North Philadelphia. The group then drove to Franklin's poolroom. When
they arrived at the poolroom, appellant accused White of setting up the
earlier incident and demanded a meeting on Friday, October 22, 1976, to
which White was to bring Pickens and Hollis. White agreed to the demand.

On the evening of Friday, October 22, 1976, Clark met the group outside the
mosque. Clark made everyone surrender their weapons because a peaceful
meeting was planned. The group then drove to the poolroom at Huntingdon
and Warnock Streets. When they arrived, Clark instructed Claitt to remove
two more guns from the group and then guard the door. Additionally,
appellant arranged for one of his couriers, Robert Mickens, to watch outside
the poolhall for police.



                                   15

                                Pa 136
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     181 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  26 of 467




      Inside the poolhall, appellant and Franklin sat at opposite ends of a table.
      Appellant told Hollis to apologize, but Hollis refused. Following a nod to
      Franklin, Appellant reached under the table and pulled out a gun. Franklin
      also reached under the table and pulled out a weapon. Appellant then shot
      Hollis in the back. When Pickens protested, appellant shot Hollis again and
      Franklin then shot Pickens. Pickens proceeded to run through a locked door
      shattering the glass.

      William Arnold arrived immediately after the shootings and discovered
      Pickens holding his stomach. Pickens had collapsed from the wound. Arnold
      helped him to a house at 2527 North 11th Street where the police found
      him."

      - Commonwealth v. Tillery, No. 3297 Philadelphia 1986, 563 A.2d 195, pp.
      3-5 (Pa. Super. 1989) (unpublished memorandum) (Exhibit "P").


      35.    Claitt testified at trial that he first spoke to police in "Spring 1980".

NT 14:8. He later narrowed this timeframe to April-May 1980. NT 14:78. He

testified that sometime after March 18, 1980 and before May 20, 1980, he was

questioned by a homicide detective named Brassey regarding the murder of

Samuel Goodwin. NT 14:11-14. He was told that he was under investigation for

the murder, "and [Goodwin's] death, like, somewhat touched me, you know." NT

14:13. Claitt "felt kind of bad about [the detective] accusing me of that." Id.

      36.    On May 20, 1980, Claitt gave a written statement to Detective

Lawrence Gerrard, inculpating Tillery and William Franklin. NT 15:8. He testified

that he made no agreement with the police prior to making that statement. NT

                                           16


                                        Pa 137
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     182 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  27 of 467




14:10-11, 78; 15-11. He specifically denied that there was any agreement for

leniency on open cases, and also denied that he discussed any sort of leniency on

open cases with his attorney. NT 15:13-14. He was impeached with a statement

from Franklin's trial, in which he had been asked whether he was hoping for a deal

and had responded "[e]ventually I was looking for something." Claitt denied this

testimony from Franklin's trial; he testified that he never hoped for any deal when

he made his statements to police. NT 15:11.

      37.    Under cross-examination, Claitt eventually admitted that his attorney

was "sure that my punishment would be tempered with some type mercy behind

me coming forth." NT 15:14.

      38.    Petitioner has unable to obtain a copy of Claitt's May 20, 1980 written

statement. Further discovery will be necessary to locate a copy.


      2.     Claitt's Declaration of May 4, 2016
      39.    Emanuel Claitt made a verified declaration, under penalty of perjury,

on May 4, 2016. Along with Robert Mickens' declaration, it led to the filing of

Petitioner's third PCRA petition. It states:

      "I submit this declaration stating that I lied when I testified at the trial of
      Major Tillery in May 1985 for the murder of Joseph Hollis and attempted
      murder of John Pickens on October 22, 1976.




                                          17

                                        Pa 138
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     183 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  28 of 467




I wasn't in the pool hall when Joseph Hollis was shot and killed and John
Pickens shot and injured.

I wasn't anywhere near Joseph Hollis and John Pickens when they were shot.

I lied when I testified that Major Tillery and William Franklin were in the
pool hall and shot Hollis and Pickens.

I was in prison in 1980 on serious charges and I was approached by
Philadelphia detectives Larry Gerrard and Ernest Gilbert. They threatened to
charge me with the murder of Samuel Goodwin. I had eight or nine open
cases, at least three of them were felonies with a lot of years of prison time.

I was threatened about the murder of Samuel Goodwin. The detectives really
wanted information to get Major Tillery for murder.

Detectives and prosecutors ADA Lynn Ross and Barbara Christie promised
if I said that Major Tillery and William Franklin were the shooters in the
1976 murder of Joseph Hollis and the attempted murder of John Pickens I
wouldn't get state time in my many pending criminal charges and I wouldn't
be charged in the murder of Samuel Goodwin, that I had nothing to do with.

I was threatened that I would get maximum prison time if I didn't cooperate
to get Tillery and Franklin.

I was also allowed to have sex with my girlfriends (four of them) in the
homicide interview rooms and in hotel rooms, in exchange for my
cooperation.

Detectives Larry Gerrard and Ernest Gilbert, and Lt. Bill Shelton with the
knowledge and direction of ADAs Lynn Ross, Roger King and Barbara
Christie, promised me leniency, threatened me and allowed me private time
for sex with girlfriends in the homicide interview rooms and hotel rooms.

Major Tillery couldn't be found when the prosecution wanted to arrest him.
So Franklin was tried in December 1980 and I falsely testified against

                                   18


                                Pa 139
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     184 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  29 of 467




William Franklin at his trial for the 1976 murder of Hollis and attempted
murder of Pickens. In truth, I wasn't in or near the pool hall when the
shootings happened.

After Franklin's trial I tried to recant but Lt. Shelton threatened me and said I
would be framed for another murder.

At Major Tillery's trial in 1985, I testified about a meeting and an argument
that supposedly took place on October 20, 1976 between Alfred Clark the
leader of North Philadelphia drug selling and those in charge of drug selling
in West Philadelphia, including Joseph Hollis and John Pickens. This
argument supposedly took place in the home of Dana Goodman. I testified
that Major Tillery was there and after an argument and pistol slapping of
Clark by Hollis, Major Tillery said that 'Hollis would have to die for what he
did'.

This was not true. I was not at any such meeting and I didn't have any
personal knowledge of this supposed argument and threat made by Major
Tillery.

I also testified at Major Tillery's trial that after the argument in Goodman's
house a group that included me as well as Clark and Major Tillery met at a
mosque in North Philadelphia and drove a few blocks to a poolroom owned
by William Franklin to demand Sylvester White, the head of the West
Philadelphia drug selling, arrange a meeting with Hollis and Pickens.

None of this testimony was true. I had no involvement, if any of this actually
happened.

I falsely testified that on October 22, 1976, I was standing by the door inside
the pool hall during the meeting to prevent anyone from entering or leaving
and that both Franklin and Pickens were in the pool hall.

I lied when I testified that I heard gunshots in the pool hall, saw Pickens and
Hollins [sic] shot and that Major Tillery and Franklin were in the pool hall
and that they were the shooters.



                                   19

                                 Pa 140
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     185 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  30 of 467




At Major Tillery's trial I was forced by ADA Barbara Christie to testify
about the 'black mafia' and that they were run by Black Muslims in
Philadelphia.

Before Major Tillery's trial, detectives instructed me to persuade Robert
Mickens to become a witness against Major Tillery.

I was put in a police van to ride alone with Mickens back and froth from
homicide up to the county holding prison on State Street, to make it clear to
Mickens that he really had no choice, except to testify against Major Tillery.

I knew Robert Mickens before this and lied at Major Tillery's trial when I
testified that I had never met or spoken with him.

I also falsely accused Major Tillery of placing a fire bomb on the front porch
of Frank Henderson on Church Lane.

Everything I testified to at Major Tillery's trial and William Franklin's trial
about witnessing an argument between Alfred Clark and Joseph Hollis,
threats made by Major Tillery against John Pickens and the shootings at the
pool hall a few days later was false.

My testimony was made up while being questioned by homicide detectives
Gerrard and Gilbert and being prepped by ADAs Ross, Christie and King to
testify against Major Tillery and William Franklin.

Detectives Larry Gerrard, Ernest Gilbert and ADAs Barbara Christie, Len
Ross, Roger King interviewed me, and worked over my testimony to make
sure Major Tillery and William Franklin were convicted of murder and
attempted murder.

In exchange for my false testimony many of my cases were not prosecuted. I
got probation. I was sentenced to just 18 months for fire bombing and was
protected when I was arrested between the time of Franklin's and Tillery's
trials.


                                   20


                                 Pa 141
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     186 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  31 of 467




      After Major Tillery's trial I was told I hadn't done good enough, that I
      'straddled the fence'. In 1989 I was convicted of felony charges and spent 13
      1/2 years in prison for something I didn't do and [for which I was] framed by
      the ADA.

      In 2014 I was given help by the prosecution in getting all my bond
      judgments dismissed on cases going back over 23 years.

      I am now giving this verified declaration because I want to free my
      conscience. I need to be able to live with myself. It is vital I correct this.

      I testified falsely against Major Tillery and William Franklin because I was
      threatened by the police and prosecutors with a murder prosecution for a
      crime I didn't commit. I was promised no state time for crimes I did commit
      if I lied.

      I am ready to testify in court for Major Tillery and William Franklin and tell
      the truth that I lied against them at their trials, coerced by police and
      prosecutors."


      3.     Claitt's Declaration of June 3, 2016
      40.    Emanuel Claitt made a supplemental verified declaration, under

penalty of perjury, on June 3, 2016. It states:

      "I submit this supplemental declaration about my false, manufactured
      testimony against Major Tillery and William Franklin in the November 1980
      and May 1985 trials for the murder of Joseph Hollis and attempted murder
      of John Pickens on October 22, 1976.

      The police detectives and prosecutors I met with knew I didn't have any
      personal knowledge that Major Tillery and William Franklin were involved
      [in] or part of those shootings. They manufactured the lies I gave against
      Tillery and Franklin and coached me before the trials.



                                          21

                                        Pa 142
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     187 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  32 of 467




It was clear they knew I didn't have any direct knowledge of the shootings at
the poolroom on October 22, 1976, that I wasn't there then or at the
argument at Dana Goodman's house or meetings before the October 22,
1976 shootings.

For example: In our meetings I said ["]you know I wasn't there - you have to
fill in the blanks.["] Detectives Gerard [sic], Gilbert, Lubiejewski, Lt.
Shelton and ADA Ross would tell me, "you've got to say it this way." I was
told "we've got to bring him down - you've got to help us." That meant I
should lie. Barbara Christie told me: "You're the best. You should have been
a lawyer." That meant I knew how to lie.

The prosecutor against William Franklin in 1980 was Lynn Ross. I met with
him as well as ADAs who worked with Barbara Christie soon after I met
with Lt. Bill Shelton and Detectives Gerrard and Gilbert and Lubiejewski. I
met with ADA Roger King who also had me lie in another case.

I was coached by ADA Barbara Christie before Major Tillery's trial. She
was worried about my first statement that John Pickens had gone through a
glass door, She coached me to testify about a second door leading out of the
poolroom and that it had been a glass door.

ADA Christie coached me how to answer the defense attorney's questions
about whether I had plea deals or any agreements for leniency in sentencing
for all the charges I faced back in 1980 when I first gave a statement about
the shootings of Hollis and Pickens and since then.

ADA Christie coached me on this like ADA Lynn Ross did before I testified
against William Franklin.

Back in 1980 when I testified at Franklin's trial I lied when I said that the
only plea agreement was that my sentences on three cases would run
concurrently. But I had been promised the DA's recommendation to receive
no more than 10 years. In fact I got one and a half-years [sic].




                                  22


                                Pa 143
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     188 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  33 of 467




      When I was questioned about this at Major Tillery's case I repeated the lie
      that I had no plea deal about length of sentencing. ADA Christie knew that
      wasn't true.

      I was scheduled to go to trial on my robbery case soon after the Tillery trial
      was over. ADA Christie coached me to stick to saying that the robbery case
      was 'open' and that there were no agreements about leniency and sentencing.

      She coached me to just say I knew the judge would be told about my
      cooperation in Major Tillery's case and other cases. That's what I stuck to.
      But my testimony that there was no plea deal was a lie and ADA Christie
      knew that. She told me the robbery charge and other charges would be nolle
      prossed. And they were.

      It was also a lie, known to ADAs Ross, Christie, King that Major Tillery and
      George Rose were involved in bombing/firebombing in 1979 and 1980 that I
      testified to in August 1985.

      It was also a total fabrication that Major Tillery pulled a gun on me and
      threatened to shoot me in Philadelphia in early 1983.

      I wasn't willing to tell the truth about the lies I testified to at these trials and
      that my false testimony was manufactured by the ADAs and police until
      now. It has taken me all these years to be willing and able to deal with my
      conscience and put aside my fears of retaliation by the police and
      prosecution for telling what really happened at those trials.

      I am now ready and willing to testify in court for Major Tillery and William
      Franklin and tell the truth that I lied against them at their trials, coerced by
      police and prosecutors."

      41.    Emanuel Claitt subsequently affirmed the contents of both

declarations in a video recording dated August 3, 2016. A copy of the recording is

appended to this petition. Exhibit "C".



                                           23

                                          Pa 144
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     189 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  34 of 467




      42.    Emanuel Claitt now states that the entirety of his trial testimony was

false. The Commonwealth manufactured all of Claitt's substantive testimony,

including the events of October 22, 1976, the meetings leading up to the shooting,

as well as Tillery's alleged attack on Claitt after the trial of William Franklin,

which was invented to ascribe a retaliatory motive to Tillery.

       43.   Claitt was also instructed to lie about his plea agreements with the

Commonwealth. He testified that he had no deal regarding his open charges, when

in fact the robbery charges from his arrest of April 13, 1983 were later dismissed,

and his robbery charges from May 1980, which were never disclosed to the

defense at all, were also later dismissed. Claitt also made an undisclosed deal with

the Commonwealth to receive reduced time on the charges to which he pled guilty

on November 28, 1980. These charges and deals are detailed below in Part G of

this Petition ("Plea Agreements and Open Charges Suppressed by the

Commonwealth").

      44.    Claitt also testified, falsely, that he had no meetings with Assistant

District Attorney Barbara Christie except prior to Tillery's trial. In fact, ADA

Christie threatened him with charges in the murder of Samuel Goodwin, as well as

additional charges.


                                           24


                                        Pa 145
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     190 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  35 of 467




      45.    Claitt states that he received numerous sexual visits as an inducement

for his false testimony, and that he was used by the Commonwealth to pressure

Mickens into testifying falsely.

      46.    All these facts are new, were not previously known to Petitioner, and

have never been asserted in any prior proceeding besides his third PCRA petition

in 2016.


D.    The Declaration of Robert Mickens

      1.     Mickens' Trial Testimony
      47.    Robert Mickens was not a witness at William Franklin's trial in 1980.

He became a prosecution witness against Tillery in a statement given to detectives

on September 26, 1984, eight years after the shootings. He became a prosecution

witness after he had originally agreed to be a witness for Tillery.

      48.    Mickens was arrested on February 28, 1984 on charges of robbery and

rape, and faced twenty-five years of imprisonment if convicted.

      49.    On September 26, 1984, Mickens gave a written statement in which

he stated that he ran into Alfred Clark, Major Tillery and William Franklin on the

steps of the poolroom on the night of the shooting. In the statement, Mickens stated

that Alfred Clark asked him "where [he] was gone at," and Clark then said "we are

supposed to be having a meeting here and a couple of guys are supposed to be


                                          25

                                       Pa 146
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     191 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  36 of 467




coming from West Philly." Alfred then said, "You know how the police is if they

see all these cars out here - they will start asking questions and knocking on

doors." Clark then "asked me to look out to see if the police came and if they did to

tap on the glass." Exhibit "I".

      50.    In April 1985, a month before Tillery's trial in May 1985, Assistant

District Attorney Barbara Christie met with Mickens. NT 21:109. Mickens looked

over the statement, "corrected all errors that [he] made," and then signed his initials.

Id. At this meeting, Mickens changed his statement to say that Major Tillery,

instead of Alfred Clark, had asked him "where [he] was gone at," and that Tillery,

not Clark, had said "we are supposed to be having a meeting here and a couple of

guys are supposed to be coming from West Philly," and that Tillery, instead of

Clark, said, "[y]ou know how the police is if they see all these cars out here - they

will start asking questions and knocking on doors." Statement of Mickens, Sept. 26,

1980, p. 2 (Exhibit "I").

      51.    At the time Mickens made these alleged "corrections" to his statement

at ADA Barbara Christie's behest, Alfred Clark was already dead. Statement of

Mickens, Sept. 26, 1984, p. 5 (Exhibit "I").




                                          26


                                        Pa 147
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     192 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  37 of 467




       52.    Mickens testified at trial that he made the corrections of his own

accord, and that nobody had coached him to make them. NT 21:115.

       53.    Mickens testified that while walking down the street in front of the

poolroom at approximately 9:45 p.m. on the night of the shooting, he was asked by

Tillery to be an outside "lookout" to watch for patrolling police cars. NT 21:36.

       54.    Mickens testified that Tillery was on the poolroom steps with Franklin

and Alfred Clark. NT 21:35-60. He testified that Tillery asked him "can I look out

for the police. Because they was having a meeting there. Couple of people coming

in from West Philly . . . I told him I would look out. He said if the police came, to

tap on the glass of the poolroom." NT 21:36.

       55.    In Mickens' written statement of September 26, 1980, he stated that

Alfred Clark had told him to tap on the glass of the poolroom if police came.

Statement of Mickens, Sept. 26, 1980, p. 2 (Exhibit "I").

       56.    Mickens testified that he did not witness, and did not know, what

happened inside the poolroom, but "some time after," heard gunshots. NT 21:97.

       57.    Mickens also testified that he was asked to, and agreed to be, an alibi

witness for Tillery back in 1976, a few days after the shootings. NT 21:15. He

originally testified that he did it to keep Tillery's friendship, but later testified that

he did it because he was in fear for his life if he refused. NT 21:19, 58.


                                            27

                                          Pa 148
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     193 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  38 of 467




      58.    Mickens was a surprise witness for the Commonwealth, kept secret

from Tillery via a protective order pursuant to then-Pennsylvania Rule of Criminal

Procedure 305(F), until he was called to the witness stand. The basis for the

protective order was that Mickens feared retaliation from Tillery if his identity as a

prosecution witness was disclosed. The Commonwealth disclosed Mickens'

September 24, 1984 statement just minutes before he testified.

      59.    Petitioner objected to the in camera proceeding which led to the

protective order, on the grounds that there was no basis for a finding that Mickens

needed protection from Tillery. The court overruled the objection and preserved

the record of the ex parte petition. NT 21:2-13.


      2.     Mickens' Declaration of April 18, 2016
      60.    Robert Mickens gave a verified declaration on April 18, 2016, under

penalty of perjury. It states:

      "In May 1985 I falsely testified as a witness for the Philadelphia County
      District Attorney in the prosecution of Major George Tillery (CP-51-CR-
      0305681-1984) on murder charges.

      The testimony I gave at that trial was false, manufactured by the prosecutor,
      Assistant District Attorney Barbara Christie.

       I was coerced and promised favors if I falsely testified against Major Tillery.



                                          28


                                       Pa 149
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     194 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  39 of 467




I was arrested on February 28, 1984 on charges of robbery and rape and
faced twenty-five years of imprisonment if convicted.

ADA Christie told me that if I 'worked with [her] on the Major Tillery case'
she 'guaranteed' I wouldn't be sent upstate on my robbery and rape case and
would be "protected".

ADA Christie and her homicide detectives, John Cimino and James
McNeshy, repeatedly brought me in for questioning on a number of robbery
and murder cases, asking me to become a prosecution witness against Major
Tillery.

On one occasion ADA Christie showed me what looked like a paper signed
by Major Tillery saying that I was going to be an alibi witness for him. I told
her I was.

I was brought down by homicide detectives to tell me that co-defendants
Kenneth Pernell and Darry Workman were accusing me of being involved in
the murder of Abe Green, a neighbor of the men.

When I agreed to become a witness against them, because Darry Workman
had confessed to me that he had shot Abe Green, I was transferred out of the
Philadelphia area to a prison in Easton, PA, Northampton County Prison for
my protection.

Before the preliminary hearing and my cooperation with the prosecution was
publicly known, this information was released and an article appeared in the
Philadelphia Daily News saying that I was a witness against Pernell and
Workman. This put me at risk as a known 'snitch'. I complained to ADA
Christie and she promised to take care of me.

I was brought down from Easton, supposedly to meet with the homicide
detectives in Philadelphia. Instead I was put in a police van with Emanuel
Claitt, who [had] already testified against Major Tillery's co-defendant. I
rode back and forth from police headquarters to the county prison on State
Street with Claitt, but [was] never taken from the van.



                                   29

                                Pa 150
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     195 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  40 of 467




Claitt told me I was 'pretty hemmed up' and that Major Tillery was a 'slime',
that Major Tillery had been spreading the word that I was a snitch and that I
should testify against Major Tillery.

I told detectives Cimino and McNeshy that I missed my girlfriend Judy
Faust. I was given an hour and a half private visit with her in an interview
room in the police headquarters so that we could have sex.

I was a secret witness for the prosecution at trial.

My identity as a prosecution witness was kept from Major Tillery and his
lawyer before I was called as a witness at the trial on the false grounds that I
needed a protective order to protect me from Major Tillery.

That was not true. I had told Major Tillery that I would be a witness for him
at the murder trial of John Hollis [sic]. He had no reason to think I would be
a witness against him. I had no contact with Major Tillery once I was sent to
Northampton County Prison. I did not fear him or ask for protection from
Major Tillery.

At the trial I falsely testified that I was a look-out during the shooting of
John Hollis [sic] and John Pickens. That was totally false. My entire
testimony was scripted and rehearsed by ADA Barbara Christie.

I agreed to give this false testimony because I was I [sic] promised no prison
time on the rape and robbery charges and that I would be protected by the
prosecution. I was given sexual favors in exchange for my false testimony.

When I was sentenced on October 10, 1985 after my guilty plea of rape and
criminal conspiracy, I didn't get prison time. I was sentenced to five years
probation.

I didn't come forward earlier to recant and explain because of my own guilt
for falsely testifying against Major Tillery and my fear of retaliation by the
prosecution and police.


                                    30


                                  Pa 151
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     196 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  41 of 467




      Much in my life has changed. I want to make amends for falsely testifying
      against Major Tillery. I am willing and ready to be a witness in any
      proceeding brought to challenge his conviction."

      61.    Robert Mickens states that his trial testimony was "totally false," and

that his "entire testimony was scripted and rehearsed by ADA Barbara Christie".

He never saw Tillery, Alfred Clark, William Franklin or anybody else near the

poolroom on the evening of October 22, 1976. The entire narrative he provided in

his written statement of September 26, 1984 was false.

      62.    Mickens also lied about his plea agreements with the Commonwealth.

He testified at trial that he had an "open plea" on his rape and robbery charges. In

fact, he had an agreement with the Commonwealth that he would do no prison time.

After Tillery's trial, Mickens received probation.

      63.    Mickens also states that he received sexual visits as an inducement to

testify falsely. Like Claitt, he recounts being in a police van with Claitt so that

Claitt could put pressure on him to testify against Tillery.

      64.    All these facts are new, were not previously known to Petitioner, and

have never been asserted in any prior proceeding besides his third PCRA petition

in 2016.




                                           31

                                        Pa 152
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     197 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  42 of 467




E.    Corroborative Evidence: Helen Ellis, Denise ("De De") Certain and the
      Roundhouse Logs
      65.   Rachel Wolkenstein, an attorney assisting Tillery, executed a

declaration on September 6, 2016 in which she stated:

      "I am an attorney at law, admitted to practice in the State of New York since
      1974, residing in Brooklyn, NY.

      This declaration is submitted in support of the Supplemental Petition filed
      by Petitioner.

      Since approximately February 2015, I have assisted Major Tillery pro bono,
      in his efforts to overturn his conviction, to obtain and review his court
      records, and those of the witnesses against him, to conduct limited
      investigation and help him find pro bono legal representation in upcoming
      legal proceedings. In April 2016 I had [a] phone call with Robert Mickens in
      which he said that he would provide an affidavit and was willing to testify
      on behalf of Major Tillery.

      We met on April 18, 2016 and for the first time [he] described why he had
      lied when he testified against Major Tillery at his trial. Robert Mickens
      recounted to me the combination of threats and favors he received from
      detectives and prosecutors to coerce and induce him to testify falsely. He
      described how the prosecutors coached him to answer questions about what
      he supposedly saw on the night of the shootings and to deny he received any
      plea deals.

      I typed up the key points of what he told me. This was reviewed by Mr.
      Mickens and he signed his verified declaration that same day.

      Mr. Mickens disclosed why his false testimony was sought by the
      prosecution and police and how it was obtained. He disclosed the van ride
      with Emanuel Claitt between the Roundhouse and the county prison on State
      Road during which Mr. Claitt pushed him to testify against Major Tillery.


                                        32


                                      Pa 153
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     198 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  43 of 467




Mr. Mickens also disclosed that homicide detectives arranged for his
girlfriend to join him in the Roundhouse for a sexual encounter. Mr.
Mickens was quite emotional in describing this and expressed pain and
regret about his role in Major Tillery's conviction.

It was a surprise when shortly after this a lead resulted in learning that
Emanuel Claitt, whose testimony was the sole evidence against Major
Tillery, was willing to meet and indicated that he needed to finally tell the
truth about his false testimony against Major Tillery and William Franklin,
who was the co-defendant in the case and was tried three years earlier than
Petitioner.

I met with Emanuel Claitt on May 3, 2016 and he told me that his trial
testimony against Major Tillery and William Franklin was totally false, that
he [Claitt] wasn't even in or near the poolroom that night and he had no
personal knowledge of the [sic] who shot Joseph Hollis and John Pickens.
Emanuel Claitt described the process of the detectives and prosecutors
obtaining his false statement and preparing him to testify. I took notes in
speaking with Mr. Claitt and met him the next morning, May 4, 2016 with a
typed up declaration. He made some corrections and signed the declaration
under penalty of perjury. I spoke with him again on the phone and in person
on June 3, 2016 and he signed a supplemental declaration.

I met with Emanuel Claitt again on August 3, 2016. During this meeting he
gave me the names of three of the women who he had sex with while in
police custody. One woman, Barbara Claitt[,] is deceased. He also told me
that Helen Ellis, who is the mother of three of his children, saw him in the
Roundhouse a number of times for the purposes of having sex. A third
woman, Denise Certain ('De De') was another woman who he saw at the
Roundhouse.

On August 3, 2016, Emanuel Claitt agreed to be videotaped. I taped
Emanuel Claitt as he reaffirmed his sworn declarations and read a statement
that is a composite of his two verified declarations. This videotape is
submitted as an exhibit to the Supplemental Declaration. [citation omitted.]




                                   33

                                Pa 154
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     199 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  44 of 467




I located Helen Ellis on August 4, 2016 outside her home and spoke with her
briefly. She acknowledged that she had sex with Emanuel Claitt in the
Roundhouse homicide interview rooms and that arrangements were made
with detectives who brought her up to him.

Based on the information received from Emanuel Claitt, I located Denise
Certain.

With the information received from Robert Mickens, that included being put
in a police van alone with Emanuel Claitt to give Claitt the opportunity to
persuade Mickens to falsely testify against Major Tillery, and that homicide
detectives had facilitated sexual encounters for both men with their
respective girlfriends in the Roundhouse, I attempted to obtain documentary
corroborative evidence.

This included research in public records and the filing of requests pursuant
to the RTKL for: Roundhouse log-in records for periods from 1980 through
1985, covering Emanuel Claitt's and Robert Mickens' periods of
incarceration; and prisoner transport records between the PAB building and
the detention center on State Road; and regarding Robert Mickens, transport
records between the Northhampton County prison and Philadelphia in late
1984-1985. These requests were denied, appealed and reviewed. Both the
Philadelphia Police Department and Northhampton County state they have
searched and cannot locate these records and were likely not retained . . .

I learned of other murder convictions from the same years (mid-80s) that
involved the same detectives as those who worked with Emanuel Claitt, Det.
Lawrence Gerrard and Ernest Gilbert and a similar modus operandi in
obtaining convictions - providing sexual favors to prisoner informants.

On August 25, 2016[,] I visited Andre Harvey, a lifer imprisoned at SCI
Graterford, and he gave me documents that he had acquired when he
challenged his conviction in a 1995 PCRA, in part on grounds that the
prosecution witnesses against him had been provided sexual favors to falsely
testify against him. Detectives Gerrard and Gilbert were central to that.


                                 34


                               Pa 155
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     200 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  45 of 467




      Andre Harvey gave me copies of the 17 pages of 'sign-in and out logs at the
      Roundhouse' secured by his then investigator Paul J. Paris. This was just 17
      pages of 80 from the period of June 1 - December 31, 1983. In looking over
      those pages, I saw that on page 192, the log-in sheet for December 14, 1983,
      Emanuel Claitt signed in under Det. Gilbert and his girlfriend Denise Certain
      signed in under Det. Gerrard. Andre Harvey said that he doesn't have any
      other portion of the Roundhouse log in sheets.

      On behalf of Petitioner, Major Tillery, I am continuing in the search for
      additional records that corroborate the Commonwealth misconduct that
      permeates the conviction of Major Tillery for crimes he did not commit on
      August 3, 2016."

      66.    A copy of the Police Administration Building (PAB) log-in sheet for

December 14, 1983, provided to Tillery by Andre Harvey, is attached to this

Petition. Exhibit "G".

      67.    In the PAB log book for December 14, 1983, Detective Lawrence

Gerrard signed "Manny Claitt" into the homicide interview room at 8:50 a.m. No

exit time is provided. At 11:45 a.m., "Denise Certain" was signed into the

homicide interview room, leaving at 1:30 p.m., establishing overlapping visiting

times. Exhibit "G".

      68.    This is not the first time that Detectives Gerrard and Gilbert have been

found engaging in identical misconduct. Commonwealth v. Lester, 572 A.2d 694

(Pa. Super. 1990) (voluntary manslaughter; reversal and new trial).

      69.    The Declaration of Ms. Wolkenstein establishes the following:



                                         35

                                       Pa 156
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     201 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  46 of 467




     Emanuel Claitt stated (Declaration, May 4, 2016) that "I was allowed

      to have sex with my girlfriends (four of them) in the homicide

      interview rooms and in hotel rooms, in exchange for my cooperation."

      The Wolkenstein Declaration gives the identities of three of these

      women.

     Two of the women named by Claitt, Helen Ellis and Denise Certain,

      verify his account. Helen Ellis admits to the sexual visits, and Denise

      Certain's signature is in the PAB log book, verifying that they were, in

      fact, admitted to the PAB interview rooms by detectives to have sex

      with Emanuel Claitt. They thus confirm that police wrongly provided

      sexual incentives to induce Claitt to testify falsely. This misconduct

      was not disclosed to Tillery.

     The Roundhouse logs provided by Andre Harvey verify that, on

      December 14, 1983, Denise Certain did, in fact, visit Emanuel Claitt

      for sex.

     The evidence provided by Ellis, Certain and Harvey supports

      Mickens' statement that:

      "I told detectives Cimino and McNeshy that I missed my girlfriend
      Judy Faust. I was given an hour and a half private visit with her in an

                                  36


                                 Pa 157
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     202 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  47 of 467




             interview room in the police headquarters so that we could have sex."
             - Declaration of Robert Mickens, April 18, 2016 (Exhibit "D").

            Tillery has assiduously attempted, using public records searches, to

             obtain additional documentary evidence corroborating both the sexual

             inducements offered by police and the police's placement of Claitt

             with Mickens to pressure Mickens into testifying falsely against

             Tillery.

      x.     All these facts are new, were not previously known to Petitioner, and

have never been asserted in any prior proceeding besides his third PCRA petition

in 2016.


F.    Specific Instances of Prosecutorial Misconduct Shown By Claitt's and
      Mickens' Declarations
      70.    The declarations of Claitt and Mickens nullify the entirety of the

Commonwealth's evidence against Tillery at trial. The two were the only alleged

fact witnesses, and Claitt supplied the only direct testimony that Tillery committed

the shooting. However, for purposes of clarity and to assist the court's assessment

of the extensive prosecutorial misconduct in this case, Tillery enumerates specific

instances of trial testimony which these declarations, on their face, now

demonstrate to have been false.



                                         37

                                       Pa 158
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     203 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  48 of 467




       71.   In addition to knowingly permitting false testimony, the

Commonwealth committed intentional prosecutorial misconduct by vouching for

the veracity of this perjured testimony, as well as affirmatively representing, during

hearings, sidebar conferences and in opening and closing statements, that the

evidence was reliable and that there were no agreements for leniency between the

Commonwealth, Claitt and Mickens.

       72.   These instances are not exhaustive but rather illustrative. The

testimony of Claitt and Mickens will reveal additional instances of perjury and

prosecutorial misconduct.


       1.    The Commonwealth Solicited Perjured Testimony Concerning the
             Circumstances Leading to Claitt's Statement to Police
       73.   Claitt testified at trial that he was questioned by a homicide detective

named Brassey concerning the circumstances of Samuel Goodwin's death in April-

May 1980. Claitt "felt kind of bad" on learning of Goodwin's death and revealed

information, which he initially claimed to have obtained from third parties, 4




   4
      Claitt initially testified that he told police he had obtained the information
about the Hollis/Pickens shooting from third parties. On cross-examination, he
denied that he had said this, and claimed he stated from the very beginning that he
had personally witnessed the shootings. NT 14:13, 16:8-10.

                                         38


                                       Pa 159
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     204 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  49 of 467




concerning the death of Goodwin, and also supplied information regarding the

shooting of Hollis and Pickens:

      "Q.   Why did you talk to the police in 1980?
      A.    Well, homicide detective by the name of Brassey came to visit me at
            the institution, Philadelphia Detention Center and he was questioning
            me in reference to a killing of Samuel Goodwin who was a friend of
            mine.

      ...

      Q.    All right. And what if anything - continue, please. You say a detective
            came to question you concerning the death of Samuel Goodwin. How
            was - when was Mister Goodwin killed? Do you know?
      A.    March 18th, 1980.

      Q.    All right. Continue, Mr. Claitt.
      A.    He came and questioned me as to say that he had heard - they had
            heard a homicide as far as their informants were concerned. That I
            knew the incident and the things that occurred to bring about Samuel
            Goodwin's death, which at the time I said to him that - that he was
            wrong in accusing me and whereever he got this information. They
            were wrong.
                   And he said to me, he said that, well, I'm the one. I'm under
            investigation for it. And he wanted me to know that - you know, that
            they were going to get to the bottom of it.
                   So during the discussion, I had told him, you know, like, Mister
            Goodwin was a close friend of mine and his death, like, somewhat
            touched me that, you know. I felt kind of bad about him accusing
            me of that.
            But I did let him know at that time - I said, you accusing me which
            you know I'm not - not the guilty one. And I told him information
            regarding who was responsible for Goodwin's death.

            ...



                                       39

                                     Pa 160
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     205 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  50 of 467




      Q.    Okay. During the course of that conversation, or contact, did you have
            occasion to further speak to the police concerning your knowledge of
            the death of Joseph Hollis?
      A.    Yes.

      Q.    All right. And what if anything caused you to speak to the police at
            that time in the Spring of 1980 concerning the death of Joseph Hollis
            and any other matters you spoke to them about?
      A.    Well, the reason was I told the detective after telling him about I had
            nothing to do with the Goodwin incident and I knew who was
            responsible. He asked me did I want to come down and talk to his
            lieutenant in detail about the incident that I knew about which I
            mentioned that I knew and seen a witness shoot to death Joseph
            Hollis in the poolroom October 27th - 22nd, 1976.
                   And he asked me did I want to come down and talk to his
            lieutenant about it. I told him that I would - I would like to talk about
            the incident but I wanted to have - confer with my lawyers first.

      Q.    And did you do so?
      A.    Yes, I did."

      - Direct examination of Emanuel Claitt, NT 14:11-14 (emphasis added)


      74.   Claitt also testified that, prior to his written statement to the police in

April-May 1980, he had no agreement for leniency with the police or the District

Attorney's office. NT 14:9-10, 14:78.

      75.   Contrary to his trial testimony, Claitt did not spontaneously volunteer

information about Samuel Goodwin out of altruism, or because he "felt kind of

bad". In actuality, Claitt was approached by detectives Larry Gerrard and Ernest


                                          40


                                        Pa 161
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     206 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  51 of 467




Gilbert while "in prison in 1980 on serious charges." Declaration of Emanuel Claitt,

May 4, 2017 (Exhibit "A"). Claitt was not simply told that he was merely "under

investigation", following which he had an attack of conscience because Samuel

Goodwin was his friend. In actuality, Detectives Gerrard and Gilbert "threatened to

charge [Claitt] with the murder of Samuel Goodwin." Id.

      76.    The police targeted Tillery during their interrogations of Claitt.

Detectives Gerrard and Gilbert "really wanted information to get Major Tillery for

murder." Id. Claitt was "threatened that [he] would get maximum prison time if [he]

didn't cooperate to get Tillery and Franklin". Id.

      77.    Claitt states that "prosecutors ADA Leonard Ross and Barbara

Christie promised if I said that Major Tillery and William Franklin were the

shooters in the 1976 murder of Joseph Hollis and the attempted murder of John

Pickens I wouldn't get state time in my many pending criminal charges and I

wouldn't be charged in the murder of Samuel Goodwin . . ." Declaration of Claitt,

May 4, 2016 (emphasis added) (Exhibit "A").

       78.   At Tillery's trial, Claitt testified that he had never spoken to ADA

Barbara Christie before Tillery's trial. NT 16:101. On cross examination, he was

impeached using his testimony in an unrelated case (Philip Frazier) in which he

had testified that he had, in fact, spoken with Christie before. In response, Claitt


                                          41

                                        Pa 162
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     207 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  52 of 467




admitted that he had spoken with Christie in 1982, but claimed that their

conversation never concerned Tillery's case. NT 16:101-102.

        79.   In fact, Claitt did meet with Barbara Christie concerning Tillery's trial

at the very beginning, in April-May 1980 when he was incarcerated for a parole

violation. Christie had an agreement with him that he would not get state time in

his charges (see Part G, below, on plea deals) and she agreed not to charge Claitt in

the murder of Samuel Goodwin. Declaration of Emanuel Claitt, May 4, 2017

(Exhibit "A").

        80.   ADAs Christie, Ross and King also coached Claitt on what to say

during the trial. Claitt stated during those meetings "you know I wasn't there - you

have to fill in the blanks." Declaration of Emanuel Claitt, June 3, 2016 (Exhibit

"B").


        2.    The Commonwealth Suppressed an Attempted Recantation by
              Emanuel Claitt
        81.   Emanuel Claitt states that he attempted to recant his false testimony

after Franklin's trial. He was threatened by Lieutenant Bill Shelton, who stated that

"[Claitt] would be framed on another murder" if he recanted. (Declaration, May 4,

2016.)



                                          42


                                       Pa 163
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     208 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  53 of 467




       82.    Claitt's attempted recantation of his perjured testimony was not

disclosed to Tillery prior to trial.


       3.     The Commonwealth Solicited Perjured Testimony Concerning
              Mickens' Meetings With ADA Barbara Christie
       83.    Robert Mickens was arrested on February 28, 1984 on charges of

robbery and rape, and faced twenty-five years of imprisonment if convicted.

       84.    On September 26, 1984, Mickens gave a written statement in which

he stated that he ran into Alfred Clark, Major Tillery and William Franklin on the

steps of the poolroom on the night of the shooting. In the statement, Mickens stated

that Alfred Clark asked him "where [he] was gone at," and Clark then said "we are

supposed to be having a meeting here and a couple of guys are supposed to be

coming from West Philly." Alfred then said, "You know how the police is if they

see all these cars out here - they will start asking questions and knocking on

doors." Clark then "asked me to look out to see if the police came and if they did to

tap on the glass." Exhibit "I".

       85.    In April 1985, a month before Tillery's trial in May 1985, Assistant

District Attorney Barbara Christie met with Mickens. NT 21:109. Mickens looked

over the statement, "corrected all errors that [he] made," and then signed his initials.

Id. At this meeting, Mickens changed his statement to say that Major Tillery,


                                          43

                                        Pa 164
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     209 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  54 of 467




instead of Alfred Clark, had asked him "where [he] was gone at," and that Tillery,

not Clark, had said "we are supposed to be having a meeting here and a couple of

guys are supposed to be coming from West Philly," and that Tillery, instead of

Clark, said, "[y]ou know how the police is if they see all these cars out here - they

will start asking questions and knocking on doors." Statement of Mickens, Sept. 26,

1980, p. 2 (Exhibit "I").

      86.    At the time Mickens made these alleged "corrections" to his statement

at ADA Barbara Christie's behest, Alfred Clark was already dead. Statement of

Mickens, Sept. 26, 1984, p. 5 (Exhibit "I").

      87.    Mickens testified at trial that he made the corrections of his own

accord, and that nobody had coached him to make them, despite the presence of

ADA Christie. NT 21:115.

      88.    Mickens also testified that, between his arrest in February 1984 and

his statement in September 1984, he was not talking to the police about any

information concerning homicides. NT 21:102.

      89.    Mickens testified that, in May of 1984, he had received "a threatening

notice", not related to Tillery's case. After receiving this notice, he "took it to the

administration and they put me in protective custody." NT 21:100.


                                           44


                                         Pa 165
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     210 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  55 of 467




      90. Four months later, allegedly because of "rumors going around that [he]

was talking to the police about different murder cases," he decided to speak to the

police, in September 1984, concerning a number of murder cases, including the

murder of Joseph Hollis, leading to his statement. NT 21:100-101.

      91.    Mickens testified that, between February and September 1984, he

spoke to Tillery while they were both incarcerated on "D" block, that Tillery said

that he didn't believe the rumors were true, and that Mickens stated that he was not

speaking to the police. NT 21:104. At this point, Mickens gave an ambiguous

answer when questioned by ADA Christie:

       "Q. With regard to those rumors, what did you say to the defendant were
           you testifying concerning, other than matters - what did you tell the
           defendant about these rumors [that you were talking to the police]?
       A. I told him I wasn't.

       Q.    And were you at that time?
       A.    I had - I had speak to the police.

      Q.     All right . . ."

      - Redirect examination of Mickens, NT 21:107-108 (emphasis added)


      92.    In fact, as Mickens now states, he was already talking to the police

during the period from February - September 1984. The police were specifically




                                          45

                                       Pa 166
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     211 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  56 of 467




targeting Tillery, and threatened Mickens with jail time on his open charges, as

well as making promises of leniency to him. As Mickens relates:

       "[Following my arrest on February 28, 1984 on robbery and rape charges,]
      ADA Christie told me that if I 'worked with [her] on the Major Tillery case'
      she 'guaranteed' I wouldn't be sent upstate on my robbery and rape case and
      would be 'protected.'

       ADA Christie and her homicide detectives, John Cimino and James
      McNeshy, repeatedly brought me in for questioning on a number of robbery
      and murder cases, asking me to become a prosecution witness against Major
      Tillery. On one occasion ADA Christie showed me what looked like a paper
      signed by Major Tillery saying that I was going to be an alibi witness for
      him. I told her I was."

      - Declaration of Robert Mickens, Apr. 18, 2016 (emphasis added) (Exhibit
      "D")

      93.    Mickens did not spontaneously decide that he was going to speak to

the police in September 1984. His testimony at trial that he spontaneously decided

to approach the police was false. He was approached by ADA Christie and the

police with the specific objective of convincing him not to testify as an alibi

witness for Major, and to turn him into a witness for the Commonwealth.

      94.    Mickens made an agreement with police and prosecutors that he

would receive protection, leniency on his robbery and rape charges and visits for

sex in exchange for testifying against Tillery. These meetings and the terms of the




                                          46


                                       Pa 167
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     212 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  57 of 467




agreement were not disclosed to Tillery. Mickens falsely testified at trial, with the

knowledge of ADA Christie, that he decided to come forward sponateneously.


      4.     The Commonwealth Suppressed Evidence That Claitt, On Behalf
             of the Commonwealth, Pressured Mickens
      95.    Claitt states that, before Tillery's trial, "detectives instructed me to

persuade Robert Mickens to become a witness against Major Tillery. I was put in a

police van to ride alone with Mickens back and forth from homicide up to the

county holding prison on State Street, to make it clear to Mickens that he really

had no choice, except to testify against Major Tillery." Declaration of Emanuel

Claitt, June 3, 2016 (Exhibit "B").

      96.    Mickens confirms this account:

      "I was brought down from Easton, supposedly to meet with the homicide
      detectives from Philadelphia. Instead I was put in a police van with Emanuel
      Claitt, who [had] already testified against Major Tillery's co-defendant. I
      rode back and forth from police headquarters to the county prison on State
      Street with Claitt, but never taken from the van.

      Claitt told me that I was 'pretty hemmed up' and that Major Tillery was a
      'slime', that Major Tillery had been spreading the word that I was a snitch
      and that I should testify against Major Tillery."

       - Declaration of Robert Mickens, April 18, 2016 (Exhibit "D").




                                           47

                                        Pa 168
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     213 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  58 of 467




      97.    Claitt confirms that he lied at trial concerning his relationship with

Mickens. He states "I knew Robert Mickens before [the trial] and lied at Major

Tillery's trial when I testified I had never met or spoken with him."

      98.    The Commonwealth was aware that Claitt had pressured Mickens into

testifying falsely against Tillery. The fiction that Mickens was at risk for being a

snitch was maintained by the Commonwealth in its application for a protective

order under then-Pennsylvania Rule of Criminal Procedure 305(F), which

prevented Mickens' identity from being disclosed until immediately before he was

called as a witness.

      99.    The Commonwealth was aware, at the time it applied for a protective

order, that the order was based on false grounds. It concealed this information from

Tillery, along with the fact Claitt was acquainted with Mickens and that they had

themselves instructed Claitt to pressure Mickens into testifying.


      5.     The Commonwealth Suppressed Evidence of Illegal Sexual Visits
             Permitted to Claitt and Mickens as Inducements to Testify
      100. Claitt states that police detectives and prosecutors arranged for sexual

visits in exchange for his testimony, both in Tillery's case and other cases:

       "I was also allowed to have sex with my girlfriends (four of them) in the
       homicide interview rooms and in hotel rooms, in exchange for my


                                          48


                                       Pa 169
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     214 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  59 of 467




       cooperation. Detective Larry [Lawrence] Gerrard and Ernest Gilbert, and Lt.
       Bill Shelton with the knowledge and direction of ADAs Roger King, Lynn
       [Leonard] Ross and Barbara Christie, promised me leniency, threatened me
       and allowed me private time for sex with girlfriends in the homicide
       interview rooms and hotel rooms."

      - Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").

      101. Claitt provided the names of three of the women who were involved

in the sexual visits. One woman, Barbara Claitt, is deceased. Two of the women

named by Claitt, Helen Ellis and Denise Certain, verify his account. Helen Ellis

admits to the sexual visits, and Denise Certain's signature is in the PAB log book,

verifying that they were, in fact, admitted to the PAB interview rooms by

detectives to have sex with Emanuel Claitt.

      102. Petitioner was provided with pages from the Roundhouse log books

from June 1- December 31, 1983 by Andre Harvey, an inmate imprisoned at SCI

Graterford who had raised the same claims concerning wrongful sexual visitation

provided to witnesses. In the pages he provided for December 14, 1983, Detective

Lawrence Gerrard signed "Manny Claitt" into the homicide interview room at 8:50

a.m. No exit time is provided. At 11:45 a.m., "Denise Certain" was signed into the

homicide interview room. She left at 1:30 p.m., establishing overlapping visiting

times. Exhibit "G".




                                         49

                                       Pa 170
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     215 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  60 of 467




      103. Mickens stated that "I told detectives Cimino and McNeshy that I

missed my girlfriend Judy Faust. I was given an hour and a half private visit with

her in an interview room in the police headquarters so that we could have sex.

Declaration of Robert Mickens, April 18, 2016 (Exhibit "D").

      104. The period of time that Mickens states Judy Faust was permitted to

visit him corresponds to the length of Denise Certain's visit on December 14, 1983.

      105. No information about the wrongful sexual incentives provided to

Claitt and Mickens was disclosed to Tillery by the Commonwealth.


      6.     The October 20, 1976 Meeting, at Which Petitioner Allegedly Said
             "Hollis Would Have to Die", Never Happened
      106. At trial, Claitt testifed about an alleged meeting on the night of

October 20, 1976 at the home of Dana Goodman, at 59th and Woodbine Streets, at

which Alfred Clark got into an argument with Hollis and Pickens and was pistol-

whipped by Hollis, leading Tillery to state that "Hollis would have to die for what

he did."

      107. This meeting never happened. Claitt states that "I was not at any such

meeting and I didn't have any personal knowledge of this supposed argument and




                                         50


                                      Pa 171
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     216 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  61 of 467




threat made by Major Tillery." Declaration of Emanuel Claitt, May 4, 2016

(Exhibit "A").


      7.    The Conversation Between Alfred Clark and Sylvester White,
            Setting Up the October 22, 1976 Meeting, Never Happened
      108. At trial, Claitt testified that a group consisting of Alfred Clark,

Sylvester White, Emanuel Claitt, Fred Rainey, James Ravenell and Petitioner met

at a mosque in North Philadelphia and drove a few blocks to Franklin's poolroom.

At the poolroom, Clark accused White of setting up the earlier pistol-whipping and

demanded a meeting on October 22, 1976 at the poolroom.

      109. This meeting never happened. Claitt states: "None of this testimony

[concerning the meeting at the mosque] was true. I had no involvement, if any of

this actually happened." Declaration of Claitt, May 4, 2016 (Exhibit "A").


      8.    Emanuel Claitt Was Not Present During the Shooting on October
            22, 1976
      110. Claitt states that his entire testimony concerning his presence at the

scene of the shooting was false:

      "I falsely testified that on October 22, 1976, I was standing by the door
      inside the pool hall during the meeting to prevent anyone from entering or
      leaving and that both Franklin and Pickens were in the pool hall.

      I lied when I testified I heard gunshots in the pool hall, saw Pickens and
      Hollins [sic] shot and that Major Tillery and Franklin were in the pool hall


                                         51

                                       Pa 172
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     217 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  62 of 467




      and that they were the shooters."

      - Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").

      111. Claitt was not present at the shooting. The shooting did not transpire

the way he described at trial, and Claitt certainly had no idea whether Petitioner

was present at the poolhall on October 22, 1976.


      9.     Robert Mickens Was Not Present During the Shooting on October
             22, 1976
      112. Mickens states that his entire testimony concerning his presence at the

scene of the shooting was false: "At trial I falsely testified that I was a look-out

during the shooting of John Hollis [sic] and John Pickens. That was totally false.

My entire testimony was scripted and rehearsed by ADA Barbara Christie."

Declaration of Mickens, April 18, 2016 (emphasis added) (Exhibit "D").

      113. On September 26, 1984, Mickens gave a written statement in which

he stated that he ran into Alfred Clark, Major Tillery and William Franklin on the

steps of the poolroom on the night of the shooting. As previously noted, Mickens

states that the entirety of his September 26, 1984 statement (as corrected under

ADA Christie's direction in April 1985), along with the entirety of his trial

testimony, was fabricated by the Commonwealth. Mickens was not asked to be a



                                          52


                                        Pa 173
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     218 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  63 of 467




lookout near the poolroom by Major Tillery, Alfred Clark, William Franklin or

anybody else at all. He was not even present at the poolroom on October 22, 1976,

and certainly did not hear any shots ring out in the poolroom.

        114. The Commonwealth knew, at trial, that Mickens' testimony was false.

ADA Barbara Christie created the perjured testimony that Mickens would provide

at trial.


        10.   The Commonwealth Solicited Perjured Testimony Concerning
              Petitioner's Involvement in the Firebombing of Frank
              Henderson's House
        115. Claitt states that he "falsely accused Major Tillery of placing a fire

bomb on the front porch of Frank Henderson on Church Lane." Declaration of

Emanuel Claitt, May 4, 2016 (Exhibit "A"). He states that "it was a lie, known to

ADAs Ross, Christie, King that Major Tillery and George Rose were involved in

bombing/firebombing in 1979 and 1980 and that I testified to in August 1985."

Declaration of Emanuel Claitt, June 3, 2016 (Exhibit "B").




                                           53

                                        Pa 174
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     219 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  64 of 467




      11.    The Commonwealth Solicited Perjured Testimony Concerning
             Petitioner's Attack on Claitt in 1982
      116. At trial, Claitt testified that, after testifying in William Franklin's trial,

he was released on parole. Following his release, he alleged that Tillery attempted

to shoot him in 1982:

      "Q.    Okay. And under what circumstances did you run into Mister Tillery
             or he into you on that occasion?
      A.     Well, I had come to the intersection of - of Kimball and Nedro
             Avenue

             ...

             And I was going there to meet a gentleman by the name of Donald
             Lattimere who was an associate of mine in the drug world.
             Upon my arrival there, I had a female in a 1981 Fleetwood of mine
             and when I pulled up on the corner near the telephone booth, I left my
             car running and as I got out to meet Donald on the corner, a friend of
             mine sig - signalled me to go back.

             [Tillery counsel objected on hearsay grounds.]

      Q.    Without telling us, interpreting the signal, what if anything did you
            then do or see?
      A.    Well, in the direction that he waved his - this person waved their hand,
            I looked in that direction, to - to see Tillery getting - getting out his
            car and he was running in a gesture where - where he had a gun in his
            hand but down, pointed down and he was, like, trying to creep up on
            me from across the street near Church Lane.

      Q.    And so, what if anything did you do about this sighting that you made?
      A.    Well, when - when I see that, by that time, I had got in my car and I
            had left my car running and I just proceeded to just get away from


                                          54


                                        Pa 175
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     220 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  65 of 467




             where Tillery was coming. And as I was driving off, which I - I
             pushed down on the accelerator very hard because I realized that he
             had a gun in his hand and I realized that I - he had knowledge of my
             testimony against him on a murder charge at a preliminary hearing
             against his codefendant but -"

       - Direct examination of Emanuel Claitt, NT 14:90-92


       117. Claitt now admits that "It was also a total fabrication that Major

Tillery pulled a gun on me and threatened to shoot me in Philadelphia in early

1983." 5 The incident was invented to depict Tillery supposedly retaliating against

Claitt after the conviction of William Franklin.


       12.   The Commonwealth Misrepresented the Grounds for the
             Protective Order Concealing Mickens' Identity
       118. When Tillery's counsel was first made aware that Robert Mickens was

going to be a prosecution witness, immediately prior to Mickens testifying, Judge

John A. Geisz held a hearing in chambers to hear objections to the protective order

under then-Pennsylvania Rule of Criminal Procedure 305(F). During that hearing,

Assistant District Attorney Barbara Christie represented that Robert Mickens

feared retaliation from Tillery for providing testimony against him.




   5
      At trial Claitt claimed this attack took place in 1982. NT 14:90. In his
declaration, he states "early 1983".


                                         55

                                       Pa 176
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     221 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  66 of 467




      119. During trial, Mickens testified on cross-examination that "[w]hen I

was in prison I told [Major Tillery] I was going to do it [testify as an alibi witness

for Tillery] because I was in fear of my life." NT 21:58.

      120. In his declaration, Mickens states that the protective order was based

on false grounds:

      "My identity as a prosecution witness was kept from Major Tillery and his
      lawyer before I was called as a witness at the trial on the false grounds that I
      needed a protective order to protect me from Major Tillery.

      That was not true. I had told Major Tillery that I would be a witness for him
      at the murder trial of John Hollis [sic]. He had no reason to think I would be
      a witness against him. I had no contact with Major Tillery once I was sent to
      Northampton County Prison. I did not fear him or ask for protection from
      Major Tillery."

      - Declaration of Robert Mickens, April 18, 2016 (Exhibit "D")

      121. Assistant District Attorney Barbara Christie affirmatively and

knowingly misrepresented that Mickens feared retaliation from Tillery at trial.

ADA Christie also misrepresented that Mickens feared retaliation at the Rule

305(F) hearing.

      122. The Commonwealth also knew, at the time Mickens testified, that he

did not actually fear retaliation from Tillery, and that this was a pretext for the

protective order. The Commonwealth did not correct Mickens' testimony.


                                           56


                                        Pa 177
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     222 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  67 of 467




      13.    The Commonwealth Knew That Neither Claitt Nor Mickens Had
             Direct Knowledge of the Shooting
      123. The Commonwealth actively coached Claitt and Mickens to provide

false testimony inculpating Tillery. This included both their substantive testimony

and testimony concerning plea deals and inducements offered to Claitt and

Mickens.

      124. Claitt states that:

      "My testimony was made up while questioned by homicide detectives
      Gerrard and Gilbert and being prepped by ADAs Ross, Christie and King to
      testify against Major Tillery and William Franklin.

      Detectives Larry Gerrard, Ernest Gilbert and ADAs Barbara Christie, Len
      Ross and Roger King interviewed me, and worked over my testimony to
      make sure Major Tillery and William Franklin were convicted of murder and
      attempted murder."

      - Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").

      x.     He later clarified the content of these meetings:

       "The police detectives and prosecutors I met with knew I didn't have any
      personal knowledge that Major Tillery and William Franklin were involved
      or part of those shootings. They manufactured the lies I gave against Tillery
      and Franklin and coached me before the trials.

       It was clear they knew I didn't have any direct knowledge about the
      shootings at the poolroom on October 22, 1976, that I wasn't there then or at
      the argument at Dana Goodman's house or meetings before the October 22,
      1976 shootings. For example, in our meeting I said ["]you know I wasn't
      there - you have to fill in the blanks.["] Detectives Gerrard, Gilbert, Det.
      Lubiejewski and ADA Lynn Ross would tell me - "you've got to say it this


                                         57

                                       Pa 178
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     223 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  68 of 467




      way." I was told - "we've got to bring him down - you've got to help us."
      That meant I should lie. Barbara Christie told me, "Your the best. You
      should have been a lawyer." That meant I knew how to lie."

      - Declaration of Emanuel Claitt, June 3, 2016 (emphasis added) (Exhibit
      "B").

      125. Mickens states that "My entire testimony was scripted and rehearsed

by ADA Barbara Christie." Declaration of Robert Mickens, April 18, 2016

(Exhibit "D").

      126. Claitt further states that "It was also a lie, known to ADAs Ross,

Christie, King that Major Tillery and George Rose were involved in

bombing/firebombing in 1979 and 1980 that I testified to in August 1985."

Declaration of Emanuel Claitt, June 3, 2016 (Exhibit "B").

      127. Claitt relates that he was instructed to lie about his plea deals:

      "ADA Christie coached me how to answer the defense attorney's questions
      about whether I had plea deals or any agreements for leniency in sentencing
      for all the charges I faced back in 1980 when I first gave a statement about
      the shootings of Hollis and Pickens and since then. ADA Christie coached
      me on this like ADA Lynn Ross did before I testified against William
      Franklin.

      Back in 1980 when I testified at Franklin trial I lie when I said that the only
      plea agreement was that my sentences on three cases would run concurrently.
      But I had been promised the DA's recommendation to receive no more than
      10 years. In fact I got one and a half-years. When I was questioned about
      this at Major Tillery's case I repeated the lie that I had no plea deal about
      length of sentencing. ADA Christie knew that wasn't true.

                                         58


                                       Pa 179
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     224 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  69 of 467




       I was scheduled to go to trial on my robbery case soon after the Tillery trial
       was over. ADA Christie coached me to stick to saying that the robbery case
       was "open" and that there were no agreements about leniency and sentencing.
       She coached me to just say I knew the judge would be told about my
       cooperation in Major Tillery's case and other cases. That's what I stuck to.
       But my testimony that there was no plea deal was a lie and ADA Christie
       knew that. She told me the robbery charges & other charges would be
       nolle prossed. And they were."

       - Declaration of Emanuel Claitt, June 3, 2016 (emphasis added) (Exhibit
       "B").

G.     Plea Agreements and Open Charges Suppressed by the Commonwealth
       128. As the discussion below explains, the Commonwealth intentionally

concealed the plea deals which it made with Claitt and Mickens and coached them

to testify falsely about those deals. It also intentionally concealed the very

existence of charges which undermined Claitt's credibility.

       129. Claitt testified, and Assistant District Attorney Barbara Christie

repeatedly emphasized, that when Claitt spoke to police in April/May 1980, and

gave his written statement to police on May 20, 1980, he had no expectation of

favorable treatment. ADA Christie stated during her closing argument, and

repeated during hearings, that Claitt had "no deal," and no expectation of any deal,

up to the time of Tillery's trial.

       130. In fact, the Commonwealth made the following deals with Claitt:



                                          59

                                        Pa 180
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     225 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  70 of 467




     The Commonwealth completely suppressed disclosure of robbery

      charges ("May 1980 robbery charges") for conduct which took place

      immediately prior to Claitt's incarceration in 1980 for a parole

      violation. The arrest for these charges took place immediately prior to

      Claitt's written statement inculpating Tillery, and the complaint was

      filed immediately prior to William Franklin's trial. After Tillery's trial,

      all these charges were nolle prossed. The Commonwealth suppressed

      both the charges themselves and the agreement with Claitt to dismiss

      the charges.

     The Commonwealth suppressed disclosure of its agreement with

      Claitt to nolle pross a second set of robbery charges ("1983 robbery

      charges"). Claitt and ADA Christie represented that there was "no

      deal" on these robbery charges and that Claitt would have to go to trial.

      In fact, after Tillery's trial, the Commonwealth nolle prossed these

      robbery charges.

     Claitt testified that he had made an "open plea", with no

      recommendation, on three charges from a group of five separate cases

      ("1978-1980 charges"). The judge in that case, who was aware of


                                   60


                                 Pa 181
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     226 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  71 of 467




             Claitt's informant status, gave Claitt a 1 1/2 year minimum sentence

             on charges for which Claitt faced 25-50 years, pursuant to an

             agreement Claitt made with the Commonwealth.


       1.    Emanuel Claitt
       Relevant extracts from the trial record are reproduced below, showing the

assertions made by Claitt and ADA Barbara Christie with respect to the deals Claitt

had.

       "Q. Mister Claitt - according - this incident [the shooting] happened in
           1976, is that correct?
       A.  Right. October 19 - 22nd, 1976.

       Q.    And I think yesterday you told us that for 4 years after this incident
             you never told the police anything about it, is that correct?
       A.    Yes, sir.

       Q.    And in [April/May] 1980, when you finally mentioned something to
             the police, you were in prison, correct?
       A.    Yes, sir.

       Q.    And at that time you had 8 open cases, didn't you?
       A.    I don't think it was 8. I'm not sure, not the count.

       Q.    Now, Judge, excuse me. This is going to have to be a little difficult
             because I have to search through but would the Court indulge me.

             (Pause.)

       Q.    Now, you testified in this matter once before, did you not, in the trial
             of William Franklin?


                                         61

                                       Pa 182
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     227 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  72 of 467




A.    Yes, I did.

Q.    And you remember at that time being asked certain questions by a
      lawyer?
A.    Yeah, I recall.

Q.    Something like this where you testified and answered questions?
A.    I answered many questions, yes, sir.

Q.    And that was what, a couple years ago, wasn't it?
A.    1980. That would be 4 to 5 years ago, right.

Q.    And do you think that your member was a little better about 1980 and
      about 1978 and 1976, was better then than it is now or do you think it
      was - it's better now?
A.    Well, I would think as time goes by my memory might be a little off
      as far as specifics but, you know, I remember things that occured back
      then.

Q.    Right. But you say your memory is probably a little sharper back then.
      Is that correct?
A.    I didn't - I didn't say that.

Q.    Well, you think your memory is - would be a little better today?
A.    No. I said as time goes on -

Q.    You get fuzzier. So if you get fuzzier as time goes on, 4 years ago it
      had to be a little sharper than it is today, correct?
A.    Yes. Somewhat.

Q.    And at that time do you remember - this is on Chapter 3 or Volume 3
      on Page 88. You were asked a question - this is the top of the page.
      And you had 8 open charges on you. Isn't that right? Answer:
      That's right. Do you remember that question and answer?




                                  62


                                Pa 183
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     228 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  73 of 467




      A.     No. I don't recall - I recall the question but as far as the answer to the
             exact number of times, I don't recall that I said 8.

      Q.     Well, you didn't lie then. Were you lying?
      A.     Well - no, I didn't - I didn't lie. I told you when you asked me the
             question that you said 8 and I said well, I don't know the exact number.

      Q.     So if you said 8 then it probably was 8, correct?

             Miss Christie: Your Honor, objection to probabilities.

      Q.     Well, it was 8 then, wasn't it?

             The Court: Objection overruled.

      A.     If I said 8 back then, then I was - then it must - would have - must
             have been."

      - Cross-examination of Emanuel Claitt, NT 15:3-6 (emphasis added).


      131. Emanuel Claitt actually did not have "8 open charges" in May 1980,

when he allegedly decided to speak to police because he "felt kind of bad" about

the murder of Samuel Goodwin.

      132. In May 1980, Emanuel Claitt had twenty-eight open charges.

      133. He lied about his twenty-eight charges at Franklin's trial. Under cross-

examination, he repeated the lie in Tillery's trial.

      134. Claitt and ADA Barbara Christie also lied about his plea agreements

with the Commonwealth:



                                           63

                                         Pa 184
 Case:2:20-cv-02675-PBT
Case    20-1941 Document: 1-1 Page:
                        Document     229 06/05/20
                                 2-1 Filed Date Filed: 05/07/2020
                                                    Page  74 of 467




"Q. . . . At some point after [1982], did you have occasion to be returned
to custody for any reason?
A.     Yes.

Q.    Okay. And when, approximately, and under what circumstances were
you -
A.    April 21st, 1983, for charges of robbery and aggravated assault.

Q.   All right. And are those charges outsanding today?
A.   Those charges are pending before Judge Chiovero in Courtroom
453.

Q.    All right.
A.    His open charges that I have yet to be tried for.

Q.    All right. And do you have any agreement or understanding with any
      member of the Commonwealth concerning - or District Attorney's
      office, concerning the disposition of those open charges?
A.    Well, as to agreement, they - the District Attorney merely mentioned
      that they had did all the - all they were going to do for me at that point
      but they would do is make Judge Chiovero aware - in the event I got
      convicted of the charge, they would make him aware of my
      cooperation with the District Attorney's office in reference to the trials
      I have testified and the trials have yet still to testify in the very near
      future."

- Direct examination of Emanuel Claitt, NT 14:93-94 (emphasis added).


" . . . The witness has to testify to his understanding of the agreement.

And now the witness has indicated that there is no agreement, hasn't been
any agreement with regard to sentencing on the open robbery. There is no
agreement. He goes to trial on that.

And his understanding of any agreement he has with the Commonwealth is

                                   64


                                 Pa 185
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     230 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  75 of 467




      that the Commonwealth will make the Parole Board aware of his
      cooperation in this and the other cases."

      - Barbara Christie, sidebar conference in chambers, NT 14:96 (emphasis
      added).


      ". . . Claitt talked to the police in May of 1980, with no deal but with a great
      desire, great desire for protection for himself and his family, particularly
      after he went public in court and testified in June of 1980 at a preliminary
      hearing December of 1980 at the Franklin trial.

      Yes, Claitt was in and out of custody. He pled guilty to 3 crimes. He stood
      trial on 2 and he awaits trial on a third."

      - Closing Statement of Barbara Christie, NT 28:90-91 (emphasis added).


      135. In fact, Claitt never went to trial on the robbery charges discussed

above (the 1983 robbery charges), on which he allegedly awaited trial with no

agreement regarding sentencing. The Commonwealth nolle prossed all those

charges on December 16, 1987.

      136. Furthermore, the Commonwealth completely suppressed the existence

of 13 open charges (the May 1980 robbery charges) for conspiracy, aggravated

assault, robbery and firearms offenses (among other charges) for which Claitt was

arrested on May 16, 1980: four days before Claitt provided his written statement

to police inculpating Tillery and Franklin on May 20, 1980. Claitt was charged for

this robbery in November 1980, the month of Franklin's trial.


                                         65

                                       Pa 186
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     231 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  76 of 467




      137.    These thirteen charges were never mentioned, in any form, by

Claitt, never mentioned by ADA Barbara Christie during trial, and never

disclosed to the defense.

      138. The defense thus did not know, at trial, that Claitt had been arrested

on thirteen felony charges four days before he gave his written statement to police

inculpating Tillery, and for which he was charged during the month of Franklin's

trial. Tillery's counsel was forced to cross-examine Claitt and accuse him of

making a deal for leniency using solely Claitt's testimony that he made "open

pleas" to his existing charges, with no expectation of consideration, and with only

knowledge of the robbery charges (the 1983 robbery charges) that Claitt testified to,

as opposed to the second, separate set of robbery charges (the May 1980 robbery

charges) which the Commonwealth also nolle prossed, but which also closely track

the dates of Claitt's involvement in Tillery and Franklin's trials.

      139. The Commonwealth nolle prossed all thirteen charges (the May 1980

robbery charges) shortly after Franklin's sentencing, on April 13, 1982.

      140. The Commonwealth suppressed the very existence of charges whose

timing would have undermined Claitt's credibility and wrecked the cases against




                                          66


                                        Pa 187
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     232 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  77 of 467




Franklin and Tillery. The Commonwealth also suppressed its deal with Claitt to

dismiss those charges.

      141. The Commonwealth knowingly permitted perjured testimony

concerning the number and nature of Claitt's charges, and the plea deals Claitt had,

to be presented to the jury. The Commonwealth affirmatively represented that all

of Claitt's charges had been accounted for in its closing statement. Assistant

District Attorney Barbara Christie intentionally, affirmatively and repeatedly

represented that Claitt "had no deal". This was completely false.

      142. Petitioner now documents Claitt's criminal charges which are relevant

to this case, cross-referenced with the relevant testimony, corroborating evidence,

and the actual disposition of the charges.




                                         67

                                       Pa 188
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     233 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  78 of 467




Overview of Claitt's Charges

      143. The charges against Claitt which are relevant to Tillery's trial are

below, with significant dates inserted.

Arrest or  Docket Nos.                No.     Summary of                Judge
Event Date                            Charges Offenses / Event
5/8/1975   CP-51-CR-1222231-          6       Firearms offenses         Kubacki
           1975
11/30/1978 CP-51-CR-0810671-          2            Drug charges         Katz
4/7/1979   1980                                    Auto theft
1/5/1980   CP-51-CR-0813281-                       Drugs/Firearms
5/2/1980   1980                                    Auto theft
8/8/1980   CP-51-CR-0813281-                       Firebombing
           1980
           CP-51-CR-0510241-
           1980
           CP-51-CR-0820931-
           1980
April 1980                                         Incarcerated for     Kubacki
                                                   probation violation
5/16/1980     CP-51-CR-1107131- 13                 Robbery, aggravated Anderson
              1980                                 assault, firearms
                                                   offenses
                                                   (UNDISCLOSED)
5/20/1980                                          Claitt gives written
                                                   statement
                                                   inculpating Tillery
6/4/1980                                           Franklin's
                                                   preliminary
                                                   hearing
7/9/1980                                           Montgomery County
                                                   auto theft charges



                                           68


                                          Pa 189
      Case:2:20-cv-02675-PBT
     Case    20-1941 Document: 1-1 Page:
                             Document     234 06/05/20
                                      2-1 Filed Date Filed: 05/07/2020
                                                         Page  79 of 467




Arrest or  Docket Nos.      No.             Summary of             Judge
Event Date                  Charges         Offenses / Event
9/10/1980 CP-51-CR-0916561- 3               Assault                Ivanoski
           1980
11/7/1980                                   Anderson complaint
                                            filed
                                            (UNDISCLOSED)
November                                    Franklin's trial
1980
1/5/1981                                    ADA Ross letter to
                                            Judge Katz
9/17/1981                                   Sentencing on Katz     Katz
                                            charges
                                            (UNDISCLOSED)
4/13/1982                                   Anderson charges
                                            nolle prossed
                                            (UNDISCLOSED)
11/22/1982                                  Claitt released on     Katz
                                            parole
4/13/1983    CP-51-CR-0537641- 8            Robbery                Chiovero
             1983
4/13/1983                                   Incarceration for      Katz
                                            probation violation
1/31/1984                                   Gordon letter to
                                            Parole Board
2/18/1984                                   DA Rendell letter to
                                            Judge Chiovero
2/29/1984                                   Tillery's
                                            preliminary
                                            hearing; Claitt
                                            released on parole
9/19/1984                                   Claitt incarcerated
                                            for parole violation
10/25/1984                                  Brodkin letter to
                                            Parole Board



                                     69

                                   Pa 190
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     235 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  80 of 467




Arrest or  Docket Nos.           No.     Summary of                      Judge
Event Date                       Charges Offenses / Event
12/16/1987                               Chiovero charges
                                         nolle prossed
                                         (UNDISCLOSED)
9/10/1989      CP-51-CR-0513651- 8       Robbery                         Guarino
               1989


       144. A summary of Claitt's charges, along with the available docket sheets,

are attached to this petition. Exhibit "J". Some docket sheets are unavailable, and

will require discovery to obtain.

       145. In May 1980, the charges for arrest dates 4/7/1979, 1/6/1980,

5/2/1980 and 5/16/1980 were open, for a total of twenty-eight open charges.6

       146. Claitt accumulated nineteen extra charges between May 1980 and

Tillery's trial in May 1985, for a total of forty-seven charges.

       147. Claitt was arrested on thirteen charges, including robbery, on May 16,

1980 (Docket No. CP-51-CR-1107131-1980). These charges were never disclosed

to the defense at all.




   6
       The count of charges on the Claitt's summary sheet shows 26 open charges,
but there are an additional two charges for the arrest on 1/5/1980. Docket No. MC-
51-CR-1234881-1979 (Exhibit "J").


                                          70


                                        Pa 191
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     236 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  81 of 467




      148. Claitt was arrested on eight charges, including robbery, on April 13,

1983 (Docket No. CP-51-CR-0537641-1983). These charges were nolle prossed,

despite the Commonwealth's representation that Claitt would stand trial on them.



May 8, 1975: Firearms Offenses (Judge Kubacki)
      149. Claitt was arrested on May 8, 1975 and charged with possession of

firearms by a felon, carrying firearms without a license, carrying firearms in a

public street or place, providing a firearm to a minor, possessing instruments of

crime and possessing a prohibited offensive weapon.7 Exhibit "J".

      150. Claitt pled guilty to possession of firearms by a felon and carrying

firearms in a public street or place on July 12, 1976. The Hon. Stanley L. Kubacki

sentenced Claitt to 5 years' probation. Docket No. CP-51-CR-1222231-1975

(Exhibit "J").

      151. At trial, Claitt stated that he "was incarcerated for a probation

violation," presumably on this 5 year probation, and "was visited by a homicide

detective" in April 1980. NT 14:8. Claitt testified that was still incarcerated for a

probation violation on this charge in June 1980. NT 14:79.




                                          71

                                        Pa 192
        Case:2:20-cv-02675-PBT
       Case    20-1941 Document: 1-1 Page:
                               Document     237 06/05/20
                                        2-1 Filed Date Filed: 05/07/2020
                                                           Page  82 of 467




       152. Claitt testified that on June 4, 1980 - immediately following the

preliminary hearing in William Franklin's trial - the Commonwealth appeared

before Judge Kubacki, following which Claitt's detainer was lifted. NT 14:81,

15:15. Claitt was released on his own recognizance, on $11,000 bail.

       153. Claitt testified that, in April and May 1980, at the time he gave his

initial statement to the police, he had no agreement with the police. NT 14:10-11,

78; 15:11.

       154. Claitt later testified that the understanding "that I had [with the

Commonwealth] was that I was being released, you know, only on - on bail but I

would have to go and, you know, fight the cases on my own with me and my

attorney, with no - no helping from the District Attorney's office." NT 14:82-83.

       155. ADA Barbara Christie stated in her closing statement that Claitt had

given his statement "with no deal but with a great desire" for protection. She stated

that even after Claitt had testified at the preliminary hearing and at trial in the

Franklin case, in 1980, there was no deal. NT 28:90-91.

       156. ADA Barbara Christie stated in chambers that "[Claitt's]



   7
       Claitt's summary sheet shows that there was only one charge, but there were
actually three. Docket No. MC-51-CR-0505311-1975 (Exhibit "J").

                                           72


                                        Pa 193
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     238 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  83 of 467




understanding of any agreement he has with the Commonwealth [in Tillery's case]

is that the Commonwealth will make the Parole Board aware of his cooperation in

this and the other cases." NT 14:96.

      157. ADA Christie affirmatively stated that there was "no deal" for Claitt's

testimony in Tillery's trial. She also affirmatively stated that Claitt's deal was only

limited to the Commonwealth informing the Parole Board of his cooperation.


November 30, 1978 Drug Charges; April 7, 1979 Auto Theft; January 5, 1980
Drug Charges; May 2, 1980 Auto Theft; August 8, 1980 Firebombing Charges
(Judge Katz)


      158.    Claitt was arrested on November 30, 1978 for two charges, for drug

possession and manufacture, including a sale of heroin to a DEA agent. Charges

were filed on March 31, 1979. Docket No. CP-51-CR-0810671-1980 (Exhibit "J").

      159. On April 7, 1979, Claitt was arrested and charged with theft, receiving

stolen property and unauthorized use of an automobile (3 charges).8 Exhibit "J".

      160. On January 5, 1980, Claitt was arrested and charged with drug

possession, drug possession with intent to manufacture, criminal conspiracy,

possessing instruments of crime, prohibited offensive weapons, carrying firearms




                                          73

                                        Pa 194
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     239 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  84 of 467




without a license, and carrying firearms in a public place (7 charges).9 Docket No.

CP-51-CR-0813281-1980 (Exhibit "J").

        161. On May 2, 1980, Claitt was arrested and charged with three charges of

auto theft.10 Docket No. CP-51-CR-0510241-1980 (Exhibit "J").

        162. On August 8, 1980, Claitt was arrested and charged with 8 charges

including attempted arson, criminal mischief, firearms offenses, risking catastrophe

and criminal conspiracy, for his alleged participation in a firebombing case in

which Tillery was a codefendant. Docket No. CP-51-CR-0820931-1980 (Exhibit

"J").

        163. With respect to the firebombing charges, Claitt now states "I . . .

falsely accused Major Tillery of placing a fire bomb on the front porch of Frank

Henderson on Church Lane," and that "[i]t was also a lie, known to ADAs Ross,

Christie, King that Major Tillery and George Rose were involved in



   8
     Petitioner has been unable to locate the Common Pleas docket sheet, Docket
No. CP-51-CR-0408091-1979. It is likely archived.
   9
       Claitt's summary sheet shows that there were five charges, but there were
actually seven. Docket No. MC-51-CR-1234881-1979 (Exhibit "J").
   10
       Petitioner has been unable to obtain the docket sheet. It is listed as archived
in Claitt's court summary.

                                          74


                                        Pa 195
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     240 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  85 of 467




bombing/firebombing that I testified to in August 1985." Declaration of Claitt,

May 4, 2016 and June 3, 2016 (Exhibits "A", "B").

        164.   Claitt pled guilty to the two drug charges (Docket No. CP-51-CR-

0810671-1980) and one charge of drug possession (Docket No. CP-51-CR-

0813281-1980) on November 28, 1980 before the Hon. Leon Katz. NT 14:83.

        165. On January 5, 1981, Assistant District Attorney Leonard Ross wrote a

letter to Judge Katz, describing Claitt's role as an informant in six separate

homicides, along with his providing "background information" concerning the

"drug traffic in Philadelphia." Exhibit "J".

        166. The sentencing hearing before Judge Katz took place on September 17,

1981. The sentencing involved five docket numbers: the November 30, 1978 drug

charges (2 charges - Docket Nos. CP-51-CR-0810671-1980 and MC-51-CR-

0330461-1979), the April 7, 1979 auto theft charges (3 charges - Docket No. CP-

51-CR-0408091-1979 ), the January 6, 1980 firearms charges (7 charges - Docket

Nos. CP-51-CR-0813281-1980 and MC-51-CR-1234881-1979), the May 2, 1980

auto theft charges (3 charges - Docket No. CP-51-CR-0510241-1980) and the

August 8, 1980 firebombing charges (8 charges - Docket No. CP-51-CR-0820931-

1980)




                                          75

                                        Pa 196
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     241 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  86 of 467




      167. ADA Ross explicitly stated, at this hearing, that the charges before

Judge Katz were all the charges pending against Claitt in Pennsylvania County.

Sentencing Hearing Transcript, Sept. 17, 1981, p. 5 (Exhibit "L"). This was false.

See Docket No. CP-51-CR-1107131-1980 (the May 1980 robbery charges, which

were open at the time).

      168. ADA Ross represented at the hearing that "Mr. Cliatt [sic] has

continued his cooperation." Sentencing Hearing Transcript, Sept. 17, 1981, p. 6

(Exhibit "L"). The court stated:

      "The recommendation of the pre-sentence investigator is incarceration. And,
      if it were not, if it were not for the cooperation extended to the
      Commonwealth, I would think that full justification that this defendant
      should receive a maximum sentence of seven and a half to fifteen years on
      the drug charge, namely 1067, manufacture sale, and delivery of drugs. Not
      that I'm minimizing the other changes, such as the conspiracy to fire bomb
      the house and the possession of the drugs.

      However, I'm taking that into consideration because I think, in the field of
      law enforcement, that there are many times when we cannot prosecute career
      criminals or criminals who commit acts of violence without the cooperation
      of either co-defendants or others who have information. And that's, I think,
      what is present in this case."

       - Sentencing Hearing Transcript, Sept. 17, 1981, p. 31 (emphasis added)
      (Exhibit "L").

      169. Judge Katz took Claitt's cooperation "into consideration" in making

his sentence. Later, Claitt testified at Tillary's trial that this was an "open plea". NT

                                           76


                                         Pa 197
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     242 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  87 of 467




14:5, 86. He testified that Leonard Ross's only request was for the court to impose

concurrent sentences. NT 14:6.

      170. Claitt was sentenced on three charges: 1 1/2 - 7 years and 6-12 months

sentences on the two drug charges he pled to on November 28, 1980, and 1-5 years

for attempted arson. The sentences ran concurrently. Sentencing Hearing

Transcript, Sept. 17, 1981, p. 36 (Exhibit "L"). He received a one and a half year

minimum sentence for charges on which he faced 25-50 years.

      171. All other charges from Claitt's arrests, including all the auto theft and

firearms charges, were nolle prossed by the Commonwealth.

      172. Even though his sentence was supposed to be 1 1/2 years, Claitt was

released on parole on November 22, 1982, a little more than a year after sentencing.

NT 14:89.

       173. Claitt now states:

       "ADA Christie coached me how to answer the defense attorney's questions
      about whether I had plea deals or any agreements for leniency in sentencing
      for all the charges I faced back in 1980 when I first gave a statement about
      the shootings of Hollis and Pickens . . . Back in 1980 when I testified at
      Franklin's trial I lied when I said that the only plea agreement was that my
      sentences on three cases would run concurrently. But I had been promised
      the DA's recommendation to receive no more than 10 years. In fact I got
      one and a half-years. When I was questioned about this at Major Tillery's
      case I repeated the lie that I had no plea deal about length of sentencing.
      ADA Christie knew that wasn't true."



                                         77

                                      Pa 198
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     243 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  88 of 467




      - Declaration of Emanuel Claitt, June 3, 2016 (emphasis added) (Exhibit
      "B").

      174. On June 6, 2014, the Commonwealth filed a motion to vacate the bail

judgment in this case.

      175. In his declaration, Claitt states "[i]n 2014 I was given help by the

prosecution in getting all my bond judgments dismissed for cases going back over

23 years." Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").


May 16, 1980: Robbery, Assault, Firearms Offenses (Judge Anderson)
      176. Claitt was arrested on May 16, 1980 and charged on November 7,

1980 with 13 charges including robbery, aggravated assault, reckless

endangerment, terroristic threats, criminal conspiracy, carrying firearms without a

license, carrying firearms in a public place and possessing instruments of crime

before the Hon. Levy Anderson. Docket No. CP-51-CR-1107131-1980; Exhibit "J".

      177. May 16, 1980, the arrest date on the docket, was four days before

Claitt gave his written statement to police inculpating Franklin and Tillery.

      178. The date that the offenses occurred was April 5, 1980 - immediately

prior to the period which Claitt states he was incarcerated on his parole violation,

April 1980, for the firearms charges originally before Judge Kubacki. NT 14:8, 79.


                                         78


                                       Pa 199
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     244 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  89 of 467




        179. November 1980, the date on the docket when the complaint was filed,

was the month of Franklin's trial. Following the appearance of Assistant District

Attorney Leonard Ross before Judge Anderson, Claitt made bail and signed his

own bond. Claitt testified in Franklin's trial as the main witness on December 3,

1980.

        180. Assistant District Attorney Leonard Ross is the same prosecutor who

appeared before Judge Katz at Claitt's sentencing hearing the next year, on

September 17, 1981 and falsely represented to Judge Katz that "all the cases

pending against [Claitt] are completed in Philadelphia County" as a result of Katz's

sentencing. Sentencing Hearing Transcript, Sept. 17, 1981, p. 5; Exhibit "L".

        181. These 13 charges before Judge Anderson were never disclosed to the

defense, despite the fact that their timing closely corresponds to the important

dates in this case, particularly the date of Claitt's initial written statement on

May 20, 1980.

        182. All 13 charges were nolle prossed by the Commonwealth on April 13,

1982.

        183. Claitt testified that, in April and May 1980, at the time he gave his

initial written statement to the police, he had no agreement with the police. NT

14:10-11, 78; 15:11.


                                          79

                                        Pa 200
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     245 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  90 of 467




      184. Claitt later testified that the understanding "that I had [with the

Commonwealth] was that I was being released, you know, only on - on bail but I

would have to go and, you know, fight the cases on my own with me and my

attorney, with no - no helping from the District Attorney's office." NT 14:82-83.

      185. Claitt now states "[i]n exchange for my false testimony many of my

cases were not prosecuted. I got probation. I was sentenced to just 18 months for

fire bombing and was protected when I was arrested between the time of Franklin's

and Tillery's trials . . . I was promised no state time for crimes I did commit if I

lied." Declaration of Claitt, May 4, 2016. "[ADA Christie] told me the robbery

charges and other charges would be nolle prossed. And they were." Declaration of

Emanuel Claitt, June 3, 2016 (emphasis added) (Exhibit "B").

      186. During the cross-examination of Claitt, Tillery's counsel stated:

      "So all these things that happened to you, people kill people in front of you,
      people confess murders to you, and you keep on going to court to testify,
      right? It's easy. Commit a crime, go to jail, tell on somebody, get out.
      Commit a crime, go back to jail . . . tell on somebody, get out."

      - Cross-examination of Emanuel Claitt, NT 15:26

      187. Petitioner's counsel was unable, at trial, to cite Claitt's deal with the

Commonwealth to nolle pross these 13 robbery charges, four days after his arrest,




                                           80


                                        Pa 201
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     246 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  91 of 467




as an example of how Claitt would "[c]ommit a crime, go to jail, tell on somebody,

get out. Commit a crime, go back to jail . . . tell on somebody, get out."

      188. ADA Barbara Christie stated in her closing statement that Claitt had

given his statement "with no deal but with a great desire" for protection. She stated

that even after Claitt testified at the preliminary hearing and at trial in the Franklin

case, in 1980, there was no deal. NT 28:90-91.

      189. In fact, Claitt did have a deal. The deal was that his robbery charges

would be dismissed in exchange for his perjured testimony in the cases of Franklin

and Tillery - a deal which was actually fulfilled after Franklin's trial.

      190. These offenses took place immediately prior to Claitt's incarceration.

The arrest took place immediately before he gave his written statement. The

complaint was filed immediately before he testified in William Franklin's trial. The

charges were then dismissed after the trial ended. These charges could never have

been disclosed to the defense without completely undermining the

Commonwealth's case.

      191. On June 6, 2014, the Commonwealth filed a motion to vacate the bail

judgment in this case.




                                           81

                                        Pa 202
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     247 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  92 of 467




        192. In his declaration, Claitt states "[i]n 2014 I was given help by the

prosecution in getting all my bond judgments dismissed for cases going back over

23 years." Declaration of Emanuel Claitt, May 4, 2016; Exhibit "A".


July 9, 1980: Montgomery County Auto Theft Charges

        193. On July 9, 1980, a month after William Franklin's preliminary hearing

and a month after the Commonwealth obtained Claitt's release on bail on June 4,

1980, Claitt was arrested and incarcerated again in Montgomery County for auto

theft, on a separate set of charges from his two auto theft cases in Philadelphia

County. NT 14:81.


September 10, 1980: Assault (Judge Ivanoski)

        194. On September 10, 1980, Claitt was arrested and charged with five

charges of assault and reckless endangerment before the Hon. Leonard A.

Ivanoski.11 Docket Nos. CP-51-CR-0916561-1980, MC-51-CR-0910651-1980;




   11
       Petitioner has been unable to locate docket no. CP-51-CR-0916561-1980.
Claitt's summary sheet shows three charges, but there were actually five. Docket
No. MC-51-CR-0910651-1980 (Exhibit "J").


                                          82


                                        Pa 203
         Case:2:20-cv-02675-PBT
        Case    20-1941 Document: 1-1 Page:
                                Document     248 06/05/20
                                         2-1 Filed Date Filed: 05/07/2020
                                                            Page  93 of 467




(Exhibit "J").

        195. Claitt was found not guilty on these charges on December 5, 1980.


April 13, 1983: Robbery (Judge Chiovero)
        196. On April 13, 1983, Claitt was arrested and charged on April 21, 1983

with 8 charges including robbery, criminal conspiracy and firearms offenses before

the Hon. John J. Chiovero.12 Docket No. CP-51-CR-0537641-1983 (Exhibit "J").

        197. The robbery arrest caused him to be in violation of parole from the

pleas before Judge Katz, so Claitt was incarcerated again. NT 14:93.

        198. On April 13, 1983, Claitt was arrested and charged with robbery,

aggravated assault and firearms offenses (8 charges - Docket No. CP-15-CR-

0537641-1983). He was charged on April 21, 1983. NT 14:93.

        199. On January 31, 1984, Arnold Gordon, the Chief of the Philadelphia

District Attorney Homicide Unit, wrote a letter to the Parole Board requesting that

the Board lift Claitt's detainer. Gordon stated that "Mr. Claitt will not be available

as a witness" in Tillery's preliminary hearing unless he was released on bail, and




   12
     Petitioner has been unable to locate these docket numbers. CP-51-CR-
0537641-1983 is listed as archived in Claitt's case summary.


                                          83

                                        Pa 204
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     249 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  94 of 467




stated "[h]e does not seek any promises or consideration with respect to his open

charges." (emphasis in original) (Exhibit "M").

      200. On February 18, 1984, Edward Rendell, the District Attorney of

Philadelphia, wrote a letter to Judge Chiovero concerning Claitt's bail in his

robbery case, for which he had been arrested on April 13, 1982. Rendell requested

that Judge Chiovero permit Claitt's release on bail. Exhibit "N".

      201. On February 29, 1984 - immediately after Tillery's preliminary

hearing - Claitt was released despite his parole violation. He signed his own bond.

      202. On September 19, 1984, Claitt was re-incarcerated for a parole

violation. ADA Barbara Christie stated in chambers that Claitt reported to his

parole officer with a knife in his sock. NT 14:97.

      203. On October 25, 1984, Jeffrey Brodkin, Assistant Chief of the

Philadelphia District Attorney Homicide Unit, wrote to the Parole Board

requesting that Claitt's parole be continued. Exhibit "O". Claitt was scheduled for a

hearing on his parole violation on November 3, 1984.

      204. At trial, Claitt testified that at his sentencing hearing before Judge

Katz, on September 17, 1981, "we worked an agreement whereas I pled guilty to

the 3 charges and all open indictments I would have to face in court alone - to fight


                                         84


                                       Pa 205
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     250 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  95 of 467




the case alone." NT 14:7. He testified that he "would have to go and, you know,

fight the cases on my own with me and my attorney, with no - no helping from the

District Attorney's office." NT 14:83.

      205. Claitt testified that, specifically with respect to the charges before

Judge Chiovero, "I have no agreement at all." He testified that "[t]he case is still

pending[,]" and that he "[expected] to be tried by a jury." NT 14:7.

      206. Claitt then proceeded to contradict his previous testimony, stating:

      "Well, as to agreement, they - the District Attorney merely mentioned that
      they had did all the - all they were going to do for me at that point but they
      would do is make Judge Chiovero aware - in the event I got convicted of the
      charge, they would make him aware of my cooperation with the District
      Attorney's office in reference to the trials I have testified and the trials that
      have yet still to testify in the very near future."

      - Direct Examination of Emanuel Claitt, NT 14:94.

      207. In chambers, Assistant District Attorney Barbara Christie then stated

that "there is no agreement, hasn't been any agreement with regard to sentencing on

the open robbery. There is no agreement. He goes to trial on that." NT 14:94

(emphasis added). She then stated that "[Claitt's] understanding of any agreement

he has with the Commonwealth is that the Commonwealth will make the Parole

Board aware of his cooperation in this and the other cases." Id.




                                          85

                                         Pa 206
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     251 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  96 of 467




      208. Claitt never went to trial on this robbery case at all. The

Commonwealth nolle prossed all eight charges on December 16, 1987.

      209. Claitt now states "[i]n exchange for my false testimony many of my

cases were not prosecuted. I got probation. I was sentenced to just 18 months for

fire bombing and was protected when I was arrested between the time of Franklin's

and Tillery's trials." Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").

      210. Claitt further states:

      " I was scheduled to go to trial on my robbery case soon after the Tillery trial
      was over. ADA Christie coached me to stick to saying that the robbery case
      was 'open' and that there were no agreements about leniency and sentencing.

      She coached me to just say I knew the judge would be told about my
      cooperation in Major Tillery's case and other cases. That's what I stuck to.
      But my testimony that there was no plea deal was a lie and ADA Christie
      knew that. She told me the robbery charge and other charges would be nolle
      prossed. And they were."

       -Declaration of Emanuel Claitt, June 3, 2016 (emphasis added) (Exhibit
      "B").

      211. The Commonwealth instructed Claitt to lie about its agreement with

him to nolle pross his robbery charges.




                                          86


                                       Pa 207
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     252 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  97 of 467




May 1, 1989: Robbery (Judge Guarino)
      212. After Tillery's trial, Claitt was arrested on May 1, 1989 and charged

with 8 charges including robbery, reckless endangerment, weapons charges, assault

and criminal conspiracy. Docket No. CP-51-CR-0513651-1989 (Exhibit "J").

      213. Claitt pled guilty to robbery, the weapons charges and criminal

conspiracy on October 23, 1991. He received 1-2 years on the weapons charges, 5-

10 years on the robbery and 1-2 years on the criminal conspiracy.

      214. Claitt states "[a]fter Major Tillery's trial I was told I hadn't done good

enough, that I 'straddled the fence'. In 1989 I was convicted of felony charges and

spent 13 1/2 years in prison . . ." Declaration of Emanuel Claitt, May 4, 2016

(Exhibit "A").


      2.     Letters Written on Behalf of Emanuel Claitt
      215. Petitioner summarizes here, for clarity, the various known letters

written on behalf of Claitt by the Commonwealth. Tillery anticipates that discovery

will reveal additional letters.

      216. On January 5, 1981, Assistant District Attorney Leonard Ross wrote a

letter to Judge Katz, describing Claitt's role as an informant in six separate

homicides, along with his providing "background information" concerning the

"drug traffic in Philadelphia." Exhibit "K".


                                          87

                                        Pa 208
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     253 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  98 of 467




      217. As noted by Claitt, this letter was written shortly following the trial of

William Franklin. During this period, Claitt "tried to recant but Lt. Shelton

threatened me and said I would be framed on another murder." Declaration of

Emanuel Claitt, May 4, 2016 (Exhibit "A").

      218. By way of explaining Claitt's value to the Commonwealth to the

Judge Katz, the letter from ADA Ross mentions that Claitt provided "information

regarding other homicides," including homicides allegedly committed by Robert

Lark and George Rose, as well the homicide of Philadelphia police officer Ernest

Davis, as well as Claitt's participation as a witness in the preliminary hearings of

George Rose and James Brand for firebombing.

      219. Judge Katz also took the cooperation detailed in Ross' letter into

account during Claitt's sentencing hearing on September 17, 1981. Sentencing

Hearing Transcript, Sept. 17, 1981, p. 6 (Exhibit "L").

      220. On January 31, 1984, Arnold Gordon, the Chief of the Philadelphia

District Attorney Homicide Unit, wrote a letter to the Parole Board requesting that

the Board lift Claitt's detainer. Gordon stated that "Mr. Claitt will not be available

as a witness" in Tillery's preliminary hearing unless he was released on bail, and

stated "[h]e does not seek any promises or consideration with respect to his open


                                          88


                                        Pa 209
       Case:2:20-cv-02675-PBT
      Case    20-1941 Document: 1-1 Page:
                              Document     254 06/05/20
                                       2-1 Filed Date Filed: 05/07/2020
                                                          Page  99 of 467




charges." (emphasis in original) (Exhibit "M").

      221. On February 18, 1984, Edward Rendell, the District Attorney of

Philadelphia, wrote a letter to Judge Chiovero concerning Claitt's bail in his

robbery case, for which he had been arrested on April 13, 1982. Rendell requested

that Judge Chiovero permit Claitt's release on bail. Exhibit "N".

      222. On October 25, 1984, Jeffrey Brodkin, Assistant Chief of the

Philadelphia District Attorney Homicide Unit, wrote to the Parole Board

requesting that Claitt's parole be continued. Exhibit "O". Claitt was scheduled for a

hearing on his parole violation on November 3, 1984.


      3.     Robert Mickens
      223. In February 1984, Robert Mickens was arrested on rape, assault and

robbery charges and remained incarcerated through Tillery's trial in May 1985. NT

21:23, 54.

      224. On May 16, 1985, Mickens pled guilty to criminal conspiracy and

rape before the Hon. Eugene Clarke, Jr. He was scheduled to be sentenced on July

18, 1985. NT 21:24.

      225. Mickens testified that it was an "open plea" with no plea bargaining.

NT 21:24. He testified that his sentence would be up to the judge. NT 21:25.




                                         89

                                       Pa 210
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      255 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              100 of 467




      226. Mickens was advised that he could get 10-20 years on the rape charge,

5-10 years for conspiracy and that his sentences could run concurrently or

consecutively. NT 21:26.

      227. Mickens testified that his only "understanding" with the

Commonwealth was that the Commonwealth would let Judge Clark know about

his cooperation, and that his other charges would be nolle prossed. NT 21:26.

      228. In her closing statement, Assistant District Attorney Barbara Christie

stated that Mickens "awaits sentence on a guilty plea to a rape charge and

conspiracy. That could net him 15 to 30 years at the decision and discretion of the

sentencing judge." NT 28:91.

      229. In fact, Mickens now states that "ADA Christie told me that if I

'worked with [her] on the Major Tillery case' she 'guaranteed' I wouldn't be sent

upstate on my robbery and rape case and would be 'protected." He states that "I

agree to give . . . false testimony because I was . . . promised no prison time on the

rape and robbery charges and that I would be protected by the prosecution."

Declaration of Robert Mickens, April 18, 2016.

      230. Mickens pled guilty and was sentenced before Judge Clark on October

10, 1985, after Tillery's trial. He received probation.


                                          90


                                        Pa 211
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      256 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               101 of 467




       231. The deal between Mickens and the Commonwealth was not disclosed

to Tillery.

                          VI.    CLAIMS FOR RELIEF


       232. The above quoted declarations, along with the corroborating evidence,

show that Major Tillery is an innocent man. They show that Tillery was the victim

of gross prosecutorial misconduct. The Commonwealth suppressed exculpatory

evidence, knowingly permitted perjured testimony to stand uncorrected, and,

indeed, intentionally fabricated the entirety of the eyewitness testimony in his case.

       233. The following claims for relief represent constitutional challenges to

Petitioner's conviction which have been fairly presented to and exhausted in the

state courts. They were presented in Tillery's third PCRA petition in 2016, for

which the Supreme Court of Pennsylvania denied allocatur on February 6, 2019.

Commonwealth v. Tillery, 201 A.3d 729 (Pa. 2019).




                                         91

                                       Pa 212
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      257 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              102 of 467




                                      CLAIM I

   PETITIONER IS FACTUALLY INNOCENT OF THIS OFFENSE. HIS
   CONVICTION AND SENTENCE REPRESENT A FUNDAMENTAL
   MISCARRIAGE OF JUSTICE AND ARE THE RESULT OF GROSS
   PROSECUTORIAL MISCONDUCT. AT A MINIMUM, HIS SHOWING
   OF INNOCENCE PERMITS REVIEW OF OTHERWISE
   PROCEDURALLY BARRED CLAIMS.

      234. Petitioner was framed for murder by the Commonwealth. In order to

secure Tillery's conviction for a murder which took place nine years prior to his

trial, and in which there was no physical evidence linking Tillery to the shooting,

the Commonwealth manufactured a false narrative to be delivered by Emanuel

Claitt, a serial, professional jailhouse informant.

      235. Claitt was the only direct eyewitness to the shooting. In order to

increase the apparent credibility of his account, the Commonwealth instructed

Claitt to testify falsely about additional events allegedly inculpating Tillery. These

included Tillery's participation in a meeting which purportedly took place on

October 20, 1976, two days before the shooting, Tillery's involvement in setting up

the meeting at the poolhall on October 22, 1976, and Tillery's attack on Claitt in

1982, supposedly in retaliation for Claitt's testimony in the trial of William

Franklin.




                                          92


                                        Pa 213
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      258 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              103 of 467




      236. Sometime in 1980, Claitt was incarcerated for a parole violation on

firearms charges to which he had pled guilty in July 12, 1976. NT 14:79; Docket

Nos. CP-51-CR-1222231-1975, MC-51-CR-0505311-1975 (Exhibit "J").

      237. While he was incarcerated on the parole violation, Claitt was

approached by Detectives Larry Gerrard and Ernest Gilbert, who threatened to

charge him with the murder of Samuel Goodwin. The detectives "really wanted

information to get Major Tillery for murder." Declaration of Emanuel Claitt, May

4, 2016 (Exhibit "A").

      238. To put extra pressure on Claitt, the Commonwealth arrested him for

robbery on May 16, 1980, based on conduct which took place immediately prior to

his incarceration in April, 1980 (the May 1980 robbery charges). Docket No. CP-

51-CR-1107131-1980 (Exhibit "J").

      239. Claitt was also approached by Assistant District Attorneys Leonard

Ross and Barbara Christie. They promised Claitt leniency on his twenty-eight open

cases. They also threatened him with charges in the murder of Samuel Goodwin.

Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A").

      240. Four days after his arrest, on May 20, 1980, Claitt gave a written

statement inculpating Tillery and Franklin.




                                        93

                                      Pa 214
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      259 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 104 of 467




        241. The Commonwealth manufactured Claitt's entire statement and

subsequent testimony. Claitt told ADA Christie "you know I wasn't there - you

have to fill in the blanks." Declaration of Emanuel Claitt, June 3, 2016 (Exhibit

"B").

        242. In exchange for his perjured testimony, Claitt received:

        1)    An agreement from the Comonwealth to nolle pross the 13 robbery

charges from May 16, 1980 (the May 1980 robbery charges), whose existence was

never disclosed to the defense at all;

        2)    An agreement from the Commonwealth to nolle pross the 8 robbery

charges from April 13, 1983 (the 1983 robbery charges);

        3)    An agreement from the Commonwealth for reduced sentencing, on

September 17, 1981, on the charges Claitt pled guilty to (the 1978-1980 charges).

        243. As an added inducement to testify falsely, the Commonwealth

permitted Claitt to receive visits for sex in the Police Administration Building

(PAB) interview rooms and in hotel rooms with Barbara Claitt, Helen Ellis and

Denise Certain, as well as other women.




                                          94


                                         Pa 215
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      260 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              105 of 467




      244. Following William Franklin's trial in November 1980, Claitt

attempted to recant his testimony, but was threatened with being charged with

murder by Lt. Bill Shelton.

      245. Robert Mickens was arrested on February 28, 1984 on charges of

robbery and rape, and faced twenty-five years of imprisonment if convicted.

      246. Following his arrest on February 28, 1984, Mickens met with ADA

Barbara Christie. Christie promised him leniency on his charges if he agreed to be

a witness against Tillery.

      247. On September 26, 1984, Mickens gave a statement to police

inculpating Tillery and William Franklin. He subsequently modified this statement,

at ADA Christie's direction, to further inculpate Tillery by ascribing statements by

Alfred Clark, instructing Mickens to act as a lookout, to Tillery instead.

      248. Mickens was also permitted visits for sex by the Commonwealth in

exchange for his perjured testimony.

      249. Prior to Tillery's trial, at the Commonwealth's direction, Claitt was

placed in a police van with Mickens. The van drove back and forth between the

police station and the county prison on State Street, while Claitt pressured Mickens

and told him that he had no choice but to testify against Tillery.




                                          95

                                       Pa 216
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      261 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               106 of 467




       250. In exchange for his perjured testimony, Mickens received an

agreement that he would do no jail time on his robbery and rape charges. He pled

guilty and received probation on October 10, 1985.

       251. There was no physical evidence, of any sort, indicating Tillery's role

in the shooting on October 22, 1976.

       252. The entirety of the testimony inculpating Tillery was manufactured by

the Commonwealth.

       253. Petitioner re-alleges and incorporates herein by reference each and

every allegation in the Introduction, Statement of Facts and other Claims for Relief

in this Petition.


       A.     Petitioner Is Entitled to Habeas Corpus Relief Because He Is
              Innocent
       254. Innocence constitutes a substantive ground upon which to relieve

Tillery of his unconstitutional incarceration. See, e.g., House v. Bell, 547 U.S. 518

(2006) (remanding capital case for evidentiary development on whether petitioner

was actually innocent; the petitioner was subsequently exonerated); Kuhlman v.

Wilson, 477 U.S. 436, 452 (1986) ("a prisoner retains a powerful and legitimate

interest in obtaining his release from custody if he is innocent of the charge for



                                          96


                                       Pa 217
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      262 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               107 of 467




which he was incarcerated."); In re Winship, 397 U.S. 358, 364 (1970) ("It is

critical that the moral force of the criminal law not be diluted by a standard of

proof that leaves people in doubt whether innocent men are being condemned."),

but see, McQuiggin v. Perkins, 589 U.S. 383, 392 (2013).

       255. Chief Justice Rehnquist, writing for the plurality in Herrera v. Collins,

506 U.S. 390 (1993), stated that the showing required to obtain habeas relief in

actual innocence claims is a "truly persuasive demonstration of innocence." Id. at

417. Such a showing would require an "extraordinarily high burden." Id. See also

House, 547 U.S. at 554.

       256. As demonstrated above, Tillery has proven his actual innocence to

this demanding standard. The declarations of Claitt and Mickens demonstrate that

the entirety of the evidence produced at trial against Tillery was false, and in point

of fact, that there is no evidence showing Tillery was present during the events of

the shooting, or that he was involved in any of the events leading up to the

shooting at all. In accordance with the Fourteenth Amendment's guarantee of Due

Process, Tillery's convictions and sentence must be vacated. At a minimum, Tillery

has made a sufficient showing of his innocence to obtain an evidentiary hearing on

this issue.




                                          97

                                        Pa 218
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      263 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              108 of 467




                                     CLAIM II

   THE COMMONWEALTH MANUFACTURED FALSE INCULPATORY
   EVIDENCE AND SUPPRESSED MATERIAL, EXCULPATORY
   EVIDENCE IN VIOLATION OF DUE PROCESS
      257. The Commonwealth violated Tillery's constitutional right to due

process, right to a fair trial, and the right to present a defense by withholding from

him and his counsel material, exculpatory evidence, including impeachment

evidence, in violation of his rights as guaranteed by the Fourteenth Amendment to

the United States Constitution. Furthermore, the Commonwealth manufactured the

substantive content of Claitt and Mickens' testimony, and allowed the perjured,

scripted testimony thus produced to stand uncorrected.

      258. The suppression of material exculpatory or impeachment evidence

violates due process. Giglio v. United States, 405 U.S. 150, 154 (1972) (citing

Brady v. Maryland, 373 U.S. 83 (1963)). The suppression of favorable, material

evidence, by itself and regardless of good faith or bad faith of the prosecution, is a

Brady violation. Id. at 153. However, the rule of Brady encompasses two separate

scenarios, with different standards of materiality. The first involves cases where

the government merely fails to disclose exculpatory or impeachment evidence. The

second, involving a greater degree of wrongdoing, involves cases "where



                                          98


                                        Pa 219
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      264 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               109 of 467




previously undisclosed evidence reveal[s] that the prosecution introduced trial

testimony that it knew or should have known was perjured . . ." Kyles v. Whitley,

514 U.S. 419, 433 (1995) (citing United States v. Agurs, 427 U.S. 97 (1976)).

       259. A "stricter standard of materiality" applies to Brady claims involving

the knowing use of perjured testimony, also known as a Napue claim. United

States v. Agurs, 427 U.S. 97, 103 (1976) (citing Napue v. Illinois, 360 U.S. 264

(1959)).

       260. Petitioner re-alleges and incorporates herein by reference each and

every allegation in the Introduction, Statement of Facts and other Claims for Relief

in this Petition.


       A.     The Commonwealth Manufactured False Inculpatory Evidence
              and Knowingly Used Perjured Testimony to Secure a Conviction
       261. The Supreme Court has long held that a conviction obtained through

use of false evidence, known to be false by government representatives, violates

the Fourteenth Amendment. Mooney v. Holohan, 294 U.S. 103 (1935). Such

claims fall within the ambit of Brady. United States v. Agurs, 427 U.S. 97, 103

(1976). However, because a conviction obtained by the knowing use of perjured

testimony is fundamentally unfair, and because such claims involve prosecutorial

misconduct, a "strict standard of materiality" applies, and the conviction "must be


                                         99

                                      Pa 220
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      265 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              110 of 467




set aside if there is any reasonable likelihood that the false testimony could have

affected the judgment of the jury." Id. (citing Giglio v. United States, 405 U.S. 150

(1972); Napue v. Illinois, 360 U.S. 264, 271 (1959)) (emphasis added).

      262. This materiality standard differs from the standard when exculpatory

evidence is merely suppressed. "[T]he materiality standard for false testimony is

lower, more favorable to the defendant, and hostile to the prosecution as compared

to the standard for a general Brady withholding violation." Haskell v.

Superintendent Greene SCI, 866 F.3d 139, 152 (3d Cir. 2017) (quoting United

States v. Clay, 720 F.3d 1021, 1026 (8th Cir. 2013)).

      263. In the Third Circuit, to make out a constitutional violation based on

the knowing use of perjured testimony, the petitioner must show that 1) the

testimony was perjured; 2) the government knew or should have known of the

perjury; 3) the testimony stood uncorrected; and 4) there is any reasonable

likelihood that the false testimony could have affected the verdict. Lambert v.

Blackwell, 387 F.3d 210, 242 (3d Cir. 2004). But see Haskell v. Superintendent

Greene SCI, 866 F.3d 139, 146 (3d Cir. 2017) (citing Lambert) (". . . any

reasonable likelihood that the false testimony could have affected the judgment of

the jury.") (emphasis added).


                                         100


                                       Pa 221
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      266 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               111 of 467




      264. Due diligence, on the petitioner's part, plays no part in the analysis of

a Brady claim. Banks v. Dretke, 540 U.S. 668 (2004); Dennis v. Sec'y, Pa. Dep't of

Corr., 834 F.3d 263, 289-93 (3d Cir. 2016).


      1.     The Testimony of Claitt and Mickens Was Perjured
      265. As detailed above, newly discovered evidence shows that the entirety

of the substantive evidence against Tillery was false. Tillery was never at the

poolhall on October 22, 1976, nor was he involved in any of the events leading up

to the shooting, as described by Claitt and Mickens.

      266. Mickens' written statement of September 26, 1984 was entirely

fabricated, as were his corrections to the statement in April 1984, which were made

to further inculpate Tillery.

      267. The Commonwealth manufactured Claitt's account of Tillery

attempting to shoot him in 1982 in retaliation for Claitt's testimony in the trial of

William Franklin.

      268. Claitt's account of how he came to give a statement inculpating Tillery

was false. Claitt did not spontaneously give his statement; he was threatened by the

Commonwealth with being charged in the murder of Samuel Goodwin as well as

other charges. All this was completely undisclosed to the defense.




                                          101

                                        Pa 222
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      267 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              112 of 467




      269. Neither Claitt nor Mickens testified at trial that they had told the

Commonwealth they were not actually present at the poolhall on October 22, 1976.

      270. Claitt testified that he had "no deal" on the April 13, 1983 robbery

charges (the 1983 robbery charges) and that he had an "open plea" on the charges

for which he was sentenced on September 17, 1981 (the 1978-1980 charges). This

was false. He had a deal to have the 1983 robbery charges dismissed, and a deal for

reduced time on the 1978-1980 charges.

      271. Neither Claitt nor the Commonwealth disclosed that Claitt had a deal

to have the May 16, 1980 robbery charges (the May 1980 robbery charges)

dismissed. In fact, neither Claitt nor the Commonwealth disclosed the existence of

the May 1980 at all.

      272. Mickens testified that he had an "open plea" on the rape and robbery

charges to which he pled guilty on May 16, 1985. This was false. Mickens had an

agreement that he would receive zero jail time.

      273. Claitt testified, falsely, to Tillery's involvement in the firebombing of

Frank Henderson's home.

      274. Mickens testified, falsely, that he feared retaliation from Tillery for

testifying against him.


                                        102


                                      Pa 223
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      268 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              113 of 467




      275. Neither Claitt nor Mickens testified that, at the behest of the

Commonwealth, Claitt had been placed in a police van to influence and coerce

Mickens.

      276. Neither Claitt nor Mickens testified that, as an inducement to testify

falsely, the Commonwealth permitted both sexual liaisons in the Police

Administration Building (PAB) homicide interview rooms and in hotel rooms.


      2.     The Commonwealth Knew, or Should Have Known, of the
             Perjury
      277. The central claim of this Petition is that the Commonwealth fabricated

the entirety of the case against Tillery. Both Claitt and Mickens state that their

testimony was scripted by the Commonwealth.

      278. In his declaration, Claitt stated, "prosecutors ADA Leonard Ross and

Barbara Christie promised if I said that Major Tillery and William Franklin were

the shooters in the 1976 murder of Joseph Hollis and the attempted murder of John

Pickens I wouldn't get state time in my many pending criminal charges and I

wouldn't be charged in the murder of Samuel Goodwin . . ." Declaration of

Emanuel Claitt, May 4, 2016 (Exhibit "A").

      279. The Commonwealth knew that Claitt's testimony was false, since it

manufactured the testimony. ADAs Barbara Christie, Lynn Ross and Roger King


                                         103

                                        Pa 224
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      269 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              114 of 467




coached Claitt on what to say during the trial. Claitt stated, during those meetings,

"you know I wasn't there - you have to fill in the blanks." Declaration of Emanuel

Claitt, June 3, 2016 (Exhibit "B").

      280. Mickens likewise stated, "At trial I falsely testified that I was a look-

out during the shooting of John Hollis [sic] and John Pickens. That was totally

false. My entire testimony was scripted and rehearsed by ADA Barbara Christie."

Declaration of Mickens, April 18, 2016 (emphasis added) (Exhibit "D").

      281. Both Claitt and Mickens state that the Commonwealth instructed them

both on the content of their substantive testimony, as well as how to testify, falsely,

regarding their agreements for leniency with the Commonwealth.


      3.     The Perjured Testimony Stood Uncorrected
      282. The lies told by Claitt and Mickens were not corrected at trial.

Assistant District Attorney Barbara Christie made no attempt to correct any of the

substantive testimony of Claitt or Mickens, or their testimony regarding their

agreements for leniency with the Commonwealth, her meetings with them, or the

coercion and incentives they received.

      283. Furthermore, Assistant District Attorney Barbara Christie repeated

these lies and vouched for them, both at sidebar and in her closing statement. She


                                          104


                                         Pa 225
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      270 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              115 of 467




stated that there was "no deal" with Claitt, beyond securing his release on bail and

intervening with the Parole Board. NT 14:96, 28:90-91. This was false. Although

ADA Christie represented that Claitt would go to trial on the April 13, 1983

robbery charges, the Commonwealth had an agreement that Claitt would do no

time. ADA Christie also had a deal with Claitt that he would do no time on the

May 16, 1980 robbery charges. The existence of those charges was never disclosed

to the defense at all. Id. Finally, ADA Christie represented that Claitt made an

"open plea" on September 17, 1981 (the 1978-1980 charges), when in fact there

was an agreement that Claitt would receive no more than 10 years. Id.

      284. ADA Christie stated in closing that Mickens also made an "open plea"

on his rape and robbery charges. This was not true; Mickens had an agreement that

he would receive zero jail time.


      4.     The False Testimony Affected the Judgment of the Jury
      285. As noted previously, the central claim of this Petition is that the

Commonwealth fabricated the entirety of the testimony used to convict Tillery.

There was no physical evidence inculpating Tillery. Without the false testimony of

Claitt and Mickens, there would have been no evidence to convict at all.

      286. Petitioner emphasizes here that disclosure of any of the falsehoods




                                        105

                                       Pa 226
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      271 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              116 of 467




enumerated by Claitt and Mickens, standing alone, would have been sufficient to

"affect the judgment of the jury", to the standard of Napue. Given that the

constitutional standard is whether there was "any reasonable likelihood that the

false testimony could have affected the judgment of the jury," United States v.

Agurs, 427 U.S. 97, 103 (1976) (citations omitted) (emphasis added), it is clear that

"affecting the verdict" cannot mean that the perjured testimony would have

compelled a different result, since that would be a more demanding standard than

even a regular Brady claim, whereas the Supreme Court has made clear that a

Napue claim is evaluated to a less demanding standard. Id. at 104; see also

Haskell v. Superintendent Greene SCI, 866 F.3d at 151 (". . . the First and Sixth

Circuits note that . . . perjured testimony faces a lower bar than suppression claims.

[citations omitted]. But to us that seems to be a feature, not a bug.")

      287. Regardless of the governing standard, the Third Circuit has explained

that when a key witness testifies, falsely, that they received no consideration for

their testimony, this alone suffices to make out a Napue claim. Haskell v.

Superintendent Greene SCI, 866 F.3d 139, 145-47 (3d Cir. 2017) (citing Napue

and Giglio v. United States, 405 U.S. 150 (1972)).

      288. This case is on all fours with Haskell. And if it could be on all fours


                                         106


                                        Pa 227
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      272 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              117 of 467




twice it would be, because the perjury here far surpasses Haskell in scope. Exactly

like the petitioner in Haskell, Claitt denied that he received any consideration for

his perjured testimony beyond release on bail. NT 14:82-83. He was extensively

cross-examined on this point, and consistently denied any consideration. NT 15:3-

26. And like in Haskell, the prosecutor vouched for Claitt in the closing argument,

stating explicitly that Claitt gave his testimony "with no deal but with a great desire,

great desire for protection for himself and his family." NT 28:90-91. Lastly, Claitt

was not one key witness out of a cavalcade of supporting witnesses who provided

ambiguous, but arguably supportive, direct testimony: here, Claitt was the only fact

witness who directly implicated Tillery.

      289. The failure to disclosure that, contrary to his testimony, Claitt actually

gave his testimony in exchange for zero prison time on open robbery charges -

either the May 1980 or 1983 robbery charges - standing alone, compels reversal.

Likewise, failing to disclose Claitt's deal on 1978-1980 charges, standing alone,

compels reversal. Finally, the complete and intentional failure to disclose the very

existence of the May 1980 robbery charges, whose dates closely track the relevant

dates in this case, by itself compels reversal. Haskell, 866 F.3d at 145-147; Napue,

360 U.S. at 264-67 (key witness falsely testified they received no consideration for

their testimony); Giglio, 405 U.S. at 152-155 (same).


                                         107

                                        Pa 228
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      273 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              118 of 467




      290. Likewise, the leniency promised to Mickens and the fact that he

received zero prison time, the fact that the Commonwealth was in communication

with him seven months prior to the date he gave his written statement, and the

misrepresentations of the Commonwealth with respect to Mickens' protective order,

by themselves, are sufficient to compel reversal.

      291. The revelation of the sex-for-false-testimony inducements organized

by Detectives Gerrard and Gilbert, standing alone, are also sufficient to compel

reversal. See also Commonwealth v. Lester, 572 A.2d 694 (Pa. Super. 1990)

(reversal and new trial).

      292. Over and above all the aforementioned grounds, the falsification of

the substantive testimony of Claitt and Mickens is far greater in scope than the

mere non-disclosure of a plea deal for testimony. It involves the conscious

manufacture of the substantive content of the testimony: the scenario the Supreme

Court resolved in Mooney v. Holohan, 294 U.S. 103 (1935). Each element of the

perjured substantive testimony, standing alone, compels reversal.




                                        108


                                       Pa 229
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      274 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              119 of 467




      B.     The Commonwealth Suppressed Material Exculpatory and
             Impeachment Evidence
      293. Even in cases in which the prosecution did not know of perjury being

committed by a witness, due process requires the prosecution to disclose evidence

favorable to the defense. Banks v. Dretke, 540 U.S. 668 (2004). The suppression of

exculpatory or impeachment evidence by the prosecution, by itself, with or without

a request from the defense, constitutes a violation of due process. United States v.

Agurs, 427 U.S. 97, 104-108 (1976) (citing Brady v. Maryland, 373 U.S. 83

(1963)).

      294. There are three elements to the establishment of a Brady claim

involving prosecutorial misconduct: 1) The evidence must be favorable to the

accused, either because it is exculpatory, or because it is impeaching; 2) The

evidence must have been suppressed by the state, either willfully or inadvertently;

and 3) Prejudice must have resulted. Banks, 540 U.S. at 691. For purposes of this

analysis, "prejudice" requires a finding of Brady materiality. Id. at 698. Thus,

under Banks, the analysis of a Brady claim which does not involve the knowing

use of perjured testimony by the prosecution involves an analysis of Brady

materiality, as opposed to the "strict standard of materiality" of Napue.




                                         109

                                       Pa 230
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      275 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              120 of 467




      295. The allegations in this Petition closely track Banks. In Banks, a

witness' trial testimony had been "intensively coached by prosecutors and law

enforcement officers", and a police informant "testified, untruthfully, that he never

gave the police any statement and, indeed, had not talked to any police officer

about the case until a few days before the trial." Id. at 675. The Supreme Court

held in Banks that "[a] rule thus declaring 'prosecutor may hide, defendant must

seek,' is not tenable in a system constitutionally bound to accord defendants due

process." Id. at 696.

      296. Similarly, in this case, both Claitt and Mickens were intensively

coached by prosecutors and police, and both witnesses lied about the extent and

nature of their contacts with prosecutors, Claitt going as far as to deny that he had

previously met with ADA Christie. NT 16:101-102.

      297. For purposes of establishing the elements above, the first two,

favorability to the accused and suppression by the state, are covered by the Napue

analysis above. Tillery discusses the prejudice/materiality element separately

below.




                                         110


                                       Pa 231
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      276 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              121 of 467




      1.     The Cumulative Improperly Withheld Evidence Would Have
             Resulted in a Different Outcome at Trial
      298. For a Brady claim which does not implicate Napue, "favorable

evidence is material, and constitutional error results from its suppression by the

government, 'if there is a reasonable probability that, had the evidence been

disclosed to the defense, the result of the proceeding would have been different.'"

Kyles v. Whitley, 514 U.S. 419 (1995) (quoting United States v. Bagley, 473 U.S.

667, 682 (1985)). This is a more difficult standard to meet than a Napue claim.

Agurs, 427 U.S. at 103.

      299. In assessing materiality, the court considers how effective counsel

could have proceeded in the absence of the due process violations both at the trial

and in pre-trial investigation. Kyles, 514 U.S. at 441-49 (reviewing ways in which

competent counsel could have used and developed withheld information to

impeach prosecution witnesses and undercut police investigation); Bagley, 473 U.S.

at 676 (materiality analysis considers whether suppressed information, "if

disclosed and used effectively" by the defense, would have made a difference); id.

at 683 (materiality inquiry considers "any adverse effect that the [suppression]

might have had on the preparation or presentation of the defendant's case" and "the




                                         111

                                       Pa 232
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      277 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              122 of 467




course that the defense at the trial would have taken had the defense not been

misled").

      300. It is not necessary to show by a preponderance of the evidence that a

different verdict would have resulted; the petitioner need only show that the new

evidence "put[s] the whole case in such a different light as to undermine

confidence in the verdict." Kyles, 514 U.S. at 435.

      301. When considering whether evidence that has improperly been

withheld from the defense is material and requires vacation of a conviction, a court

must consider all of the evidence as a whole. The evidence must be considered not

only on its own merits, but in terms of what the evidence would have meant for the

investigation of the case and preparation for trial. Even if withheld evidence might

have been deemed inadmissible, it may still have had value in leading to other

admissible evidence, supporting a discovery request or in finding additional

witnesses. Id. at 421 (materiality "turns on the cumulative effect of all such

evidence suppressed by the government").

      302. There is no doubt that the falsity of the substantive testimony at trial,

if disclosed, would have compelled a different verdict, since there would have been

no evidence to convict if the falsity of the testimony was known.


                                         112


                                       Pa 233
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      278 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               123 of 467




       303. Claitt's agreements for leniency with the Commonwealth would also,

by themselves, have been powerful impeachment evidence, sufficient to undermine

confidence in the verdict. Tillery's counsel was unable, at trial, to refute Claitt's

claim that he was required to go to trial on the April 13, 1983 robbery charges. The

disclosure of the Commonwealth's agreement to dismiss the charges would have

undermined Claitt's story that he gave his statement to police on May 20, 1980

without any inducement to testify falsely, and that he did so only "out of a great

desire for protection for himself and his family." Closing Statement of Barbara

Christie, NT 28:90-91.

       304. Likewise, the disclosure of the May 16, 1980 charges would have

destroyed Claitt's credibility as a witness, if the defense had been aware of them.

The Commonwealth hid these charges for good reason - they closely track the

dates of Claitt's participation in Franklin's trial.

       305. The details of Claitt's open plea on the 1978-1980 charges, Mickens'

agreement for the Commonwealth, the Commonwealth's placing Claitt in a police

van with Mickens to pressure him and the sex-for-false testimony inducements

organized by Detectives Gerrard and Gilbert, each standing alone, would also be

sufficient to show that Claitt and Mickens' original statements were not

spontaneous, undermining confidence in the verdict.


                                            113

                                          Pa 234
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      279 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 124 of 467




        306. The Commonwealth manufactured and knowingly used perjured

testimony in Tillery's trial. Each allegation of perjured testimony, collectively and

standing alone, satisfies the "strict standard of materiality" of Napue. These

allegations would also have refuted the key contentions of the Commonwealth,

which were that Claitt and Mickens testified without promises of leniency, out of a

fear of retaliation from Tillery and a desire for protection from him. They place the

case in a different light, and are sufficient to undermine confidence in the verdict.



                                 VII. ARGUMENT

   A.         PETITIONER HAS NEVER RECEIVED ANY HEARING ON
              THE MERITS OF THESE CLAIMS
        307. The claims in this Petition are identical to those in Tillery's third, 2016

PCRA petition, which was also based on the declarations of Emanuel Claitt and

Robert Mickens, and was filed within 60 days following the declaration of Robert

Mickens, as required by the PCRA. 42 Pa. Cons. Stat. § 9545(b)(2) (2016)

(amended eff. Dec. 24, 2018 to change the filing period to 1 year).

        308. Petitioner's 2016 PCRA petition was dismissed on timeliness grounds

by the Court of Common Pleas. On appeal, the Superior Court of Pennsylvania

affirmed the dismissal. Commonwealth v. Tillery, 193 A.3d 1063 (Pa. Super. 2018)


                                          114


                                         Pa 235
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      280 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               125 of 467




(unpublished memorandum); Id., Court of Common Pleas Opinion Under Pa. R.

App. P. 1925(a) (Exhibits "Y", "Z").

       309. Under Pennsylvania law, the timeliness requirements of the PCRA are

jurisdictional, and are questions of law which are reviewed de novo.

Commonwealth v. Fahy, 959 A. 2d 312, 316 (Pa. 2008). A court "may not address

the merits of the issues raised in a petition if it is not timely filed." Commonwealth

v. Abu-Jamal, 941 A.2d.1263, 1267-68 (Pa. 2008) (citation omitted). If a PCRA

court does hold a hearing on the merits, deference may be given to the PCRA court

on purely factual issues, but any finding requiring the application of law to facts is

still reviewed de novo. Fahy, at 316 (citing Commonwealth v. Reaves, 923 A.2d

1119, 1124 (Pa. 2007)).

       310. Tillery's PCRA petition was summarily dismissed by the PCRA court

on timeliness grounds under Pa. R. Crim. P. Rule 907. Not only was there no

determination of the merits of his claim; there has been no factfinding, of any sort,

on his petition at all.

       311. Petitioner's alleged co-defendant, William Franklin, initially suffered

the same fate. His petition, which was based on the same evidence as Tillery's, was




                                         115

                                        Pa 236
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      281 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 126 of 467




dismissed by the PCRA court on timeliness grounds on September 12, 2017.13 The

PCRA court also made credibility determinations, finding that "the claims of

misconduct were so 'outlandish' and 'unreliable' as to permit a credibility based

dismissal with an evidentiary hearing." Commonwealth v. Franklin, 201 A.3d 854,

p. 8 (Pa. Super. 2018) (unpublished memorandum) (Exhibit "AA").

        312. Despite this, the Superior Court of Pennsylvania reversed and

remanded for an evidentiary hearing. Commonwealth v. Franklin, 201 A.3d 854

(Pa. Super. 2018) (unpublished memorandum) (Exhibit "AA").

        313. There is no further backstop if Tillery is not permitted to present the

merits of his claims to this Court. Tillery has consistently maintained his innocence

from the date of his conviction. Below, Tillery briefly discusses the dismissal of

his 2016 PCRA petition.


        1.    The Dismissal of Petitioner's 2016 PCRA Petition
        314. Petitioner recognizes that "a state court's interpretation of state law . . .

binds a federal court sitting in habeas corpus." Bradshaw v Richey, 546 U.S. 74, 76




   13
       Robert Mickens was not a witness at Franklin's trial. Thus, Franklin's PCRA
petition was entirely based on the declaration of Emanuel Claitt, and he received
relief on Claitt's declaration alone.

                                           116


                                          Pa 237
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      282 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              127 of 467




(2005). However, in order to explain that Franklin's PCRA raised exactly the same

arguments, Tillery briefly describes the dismissal of his PCRA petition.

      315. Petitioner raised both the "governmental interference" and "newly

discovered fact" exceptions to the timeliness bar. In support of those exceptions, he

made two arguments that his PCRA petition was timely.

      316. First, Tillery argued that Commonwealth v. Medina, 92 A.3d 1210 (Pa.

Super. 2014), Commonwealth v. Davis, 86 A.3d 883 (Pa. Super. 2014),

Commonwealth v. Loner, 836 A.2d 125 (Pa. Super. 2003) and Commonwealth v.

McCracken, 659 A.2d 541 (Pa. 1995) stood for the proposition that due diligence

does not require a petitioner to investigate and contact known, lying witnesses,

even if the petitioner knows the witnesses are lying because of petitioner's

innocence. In particular, Tillery relied on Medina, 92 A.3d at 1217-19:

      ". . . we note that in Commonwealth v. Loner [citation omitted], this Court
      explicitly rejected the Commonwealth's argument that recantation testimony
      could have been discovered through the exercise of due diligence where a
      defendant was not present at the scene of the crime, and thus, had reason to
      believe a witness testifying to the contrary was lying. Id. at 137 n.5 (stating,
      'we reject the Commonwealth's assertion that the victim's recantation in this
      case is not truly after-discovered evidence because [the a]ppellant knew
      prior to trial that the victim was not telling the truth[]")."

      - Id. at 1217 (emphasis added).




                                         117

                                        Pa 238
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      283 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               128 of 467




      317. The Superior Court in Medina went on to conclude that because the

witness testified and inculpated the petitioner "consistently and unequivocally at

trial," neither defense counsel nor the petitioner, without any supporting factual

basis, should have expected to change the witness' testimony, either at trial or

afterwards. Id. at 1217-18 (citing, inter alia, Commonwealth v. McCracken, 659

A.2d 541, 545 (Pa. 1995)). Under Commonwealth v. Bennett, 593 Pa. 382 (Pa.

2007), the content of (the new facts revealed through) a later recantation is an

after-discovered fact providing an exception to the PCRA timeliness bar,

independent of the petitioner's knowledge of the perjury at the time of trial. Medina

holds that due diligence does not require a petitioner to investigate known, lying

witnesses to discover such recantations if the Commonwealth represents that those

witnesses are telling the truth.

      318. Secondly, Tillery argued that Commonwealth v. Burton, 121 A.3d

1063 (Pa. Super. 2015) stood for the proposition that due diligence for incarcerated

petitioners without representation is fact-specific, and that a less strict diligence

standard applies.

      319. The PCRA court in Tillery's appeal distinguished Medina and Davis

by arguing that "[i]n both Davis and Medina, the Superior Court's due diligence


                                          118


                                        Pa 239
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      284 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              129 of 467




analysis centered on the fact that neither Davis nor Medina had reason to believe

they could elicit exculpatory information from the respective witnesses." Court of

Common Pleas Opinion Under Pa. R. App. P. 1925(a), p. 6 (Exhibit "Y"). This

statement was correct, but it deliberately elides the point.

      320. The Superior Court in Medina did hold that the petitioner had no

reason to believe he could obtain exculpatory information from the witnesses at his

trial. However, this was so even though Medina knew that the witnesses were lying,

because he knew he was innocent. Despite this, the petitioner was not required to

investigate the lying witnesses. That is the whole point of the case.

      321. The Superior Court of Pennsylvania affirmed the PCRA court without

comment on Davis or Medina. On the second, Burton issue, it held that "[t]he

Pennsylvania Supreme Court previously evaluated the argument that prison

conditions constitute a timeliness exception to the PCRA, and rejected it."

Commonwealth v. Tillery, 193 A.3d 1063, p. 5 (Pa. Super. 2018) (citing

Commonwealth v. Albrecht, 994 A.2d 1091, 1095 (Pa. 2010)) (unpublished

memorandum) (Exhibit "Z").

      322. Franklin's PCRA petition was also denied on timeliness grounds. On

appeal, he raised identical arguments to Tillery in the Superior Court, which

reversed. The relevant portion of the Superior Court's opinion bears repeating here:


                                         119

                                        Pa 240
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      285 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              130 of 467




      "In its Pa.R.A.P. 1925(a) opinion, the PCRA court found that Claitt's
      favorable treatment in pending cases was thoroughly explored at trial.
      Furthermore, it characterized the recantation claim as 'garden variety', and
      found that Appellant had not exercised due diligence as he failed to contact
      Claitt in three decades. [Citation omitted]. Moreover, the court maintained
      that the claims of misconduct were so 'outlandish' and 'unreliable' as to
      permit a credibility-based dismissal without an evidentiary hearing.
      [Footnote and citation omitted]. The court distinguished Medina and [Davis]
      as 'extremely fact specific, presenting unique circumstances.' [Citation
      omitted].

      We find that Appellant properly pled exceptions to the time-bar . . . Our
      decisions in Medina and Davis are instructive in this regard. In Medina . . .
      this Court concluded that the petitioner had no way of knowing that the two
      children had lied at trial because a detective had threatened them.
      Furthermore, we found that a reasonable investigation could not have
      revealed these circumstances . . .

      In Davis . . . due diligence did not require the petitioner to assume that
      the witnesses were committing perjury sanctioned by the
      Commonwealth."

      - Commonwealth v. Franklin, 201 A.3d 854, pp. 9-11 (Pa. Super. 2018)
      (unpublished memorandum) (emphasis added) (Exhibit "AA").

      323. On the Burton issue, the Superior Court sanctioned Burton's holding

that "due diligence requires neither perfect vigilance nor punctilious care, but

rather it requires reasonable efforts by a petitioner, based on the particular

circumstances, to uncover facts that may support a claim for collateral relief."

Commonwealth v. Franklin, 201 A.3d 854, p. 11 (Pa. Super. 2018) (citing Burton,

121 A.3d at 1071) (unpublished memorandum) (Exhibit "AA").

                                          120


                                        Pa 241
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      286 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              131 of 467




      324. The Superior Court's decision in Franklin's appeal was actually over a

stronger lower court decision than Tillery's, since the PCRA court made credibility

determinations in Franklin's appeal. Despite this, the Superior Court saw fit to

reverse.

      325. The decisions denying Tillery an evidentiary hearing in the

Pennsylvania courts were manifestly incorrect. Tillery respectfully submits that, on

identical facts, citing exactly the same cases, and making the same arguments,

Tillery's co-defendant has been granted the relief which Tillery is rightfully entitled

to: a determination of the merits of the grave allegations of prosecutorial

misconduct and the constitutional violations he raises here for the first time.


      2.     Petitioner's Pro Se 2007 PCRA Petition
      326. The Superior Court of Pennsylvania, in denying Tillery a hearing on

timeliness grounds, also approved the PCRA court's declaration that the claims in

this petition were previously raised in Tillery's second, 2007 pro se PCRA petition.

Commonwealth v. Tillery, 193 A.3d 1063, p. 5 (Pa. Super. 2018). For purposes of

clarity, Tillery describes his 2007 PCRA petition below.

      327. The factual predicate of Tillery's pro se 2007 PCRA petition (Exhibit

"U") was that Claitt was offered a sentence of “less than ten years” as a plea deal




                                         121

                                       Pa 242
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      287 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              132 of 467




on the 1978-1980 charges and that Mickens had obtained parole assistance,

contradicting their trial testimony that they had no deals.

      328. Exhibit "M", Arnold Gordon's January 31, 1984, letter to the Parole

Board and Exhibit "K", Assistant District Attorney Leonard Ross's letter to Judge

Katz on January 5, 1981 were attached as exhibits to Tillery's 2007 PCRA petition.

The other exhibits referenced in Tillery's 2016 PCRA petition (as well as this

Petition) are new, and were not available in 2007.

      329. There was no documentation in the available records at that time to

support the new facts, as now revealed in Claitt’s and Mickens’ declarations, that

their testimony was manufactured and coached by the Commonwealth. Nor were

the specific plea deals known, which included dismissals of open charges -

including entire sets of charges which were never disclosed at trial - along with

other inducements offered to Claitt and Mickens, such as arranging for sex with

girlfriends in homicide interview rooms.

      330. The 1983 log records of the Police Administration Building (PAB)

homicide interview rooms, which corroborate the assertions of sexual liaisons in

exchange for false testimony, are not public records and could not have been




                                         122


                                       Pa 243
        Case:
       Case   20-1941 Document:
            2:20-cv-02675-PBT    1-1 Page:
                              Document      288 06/05/20
                                       2-1 Filed  Date Filed:
                                                          Page05/07/2020
                                                                133 of 467




discovered by Tillery through a records search. They were provided to Tillery by a

prisoner, Andre Harvey, who obtained them through a private investigator.

        331. Based on the trial testimony of Claitt and Mickens, who stated at trial

that they were witnesses to or in some way involved in the shootings, Tillery had

always assumed that Claitt and Mickens were uncharged accessories to the October

22, 1976 shooting. This did not change until he discovered, through Claitt's and

Mickens' declarations, that neither had been at the poolhall on October 22, 1976 at

all.

       332. Although the 2007 PCRA petition alleges Claitt's deal with

prosecutors for the 1978-1980 charges, it did not include Claitt's admission that he

had a deal with the Commonwealth, since that was not available at the time.

       333. More significantly, it did not include the claim that the

Commonwealth completely concealed the existence of the May 16, 1980 robbery

charges and its agreement to dismiss those charges - prosecutorial misconduct

which alone should merit reversal.

       334. The 2007 PCRA petition also did not include the Commonwealth's

agreement with Claitt to dismiss the April 13, 1983 charges (the 1983 robbery

charges).




                                         123

                                       Pa 244
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      289 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              134 of 467




      335. Although it alleges the existence of an agreement between Mickens

and the Commonwealth, the 2007 PCRA petition does not include an allegation

that Mickens had a deal to receive zero prison time. Nor was the 2007 petition

supported by an admission, from Mickens, that such a deal existed.

      336. The existence of the sex-for-testimony arrangement between Claitt,

Mickens and the Commonwealth was also not alleged in the 2007 PCRA petition.

      337. Petitioner has consistently maintained his innocence from the date of

his conviction. The claims in this Petition were not alleged in 2007 for the simple

reason that there was no evidence at the time to support them.

      338. Tillery's 2016 PCRA petition contains substantively different claims

from his 2007 PCRA. The 2016 PCRA also contains entirely different, and far

more serious, factual allegations regarding the specific content of the perjured

testimony - the entirety of Claitt and Mickens' testimony - supported by newly

discovered evidence.




                                        124


                                       Pa 245
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      290 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 135 of 467




   B.          PETITIONER MEETS THE REQUIREMENTS OF
               28 U.S.C. § 2244 (b)(2)
        339. In order to file a successive petition for writ of habeas corpus, a

petitioner must demonstrate that his petition satisfies the requirements of §

2244(b)(2), which states:

        (i)    The factual predicate for the claim could not have been discovered
               previously through the exercise of due diligence; and

        (ii)   The facts underlying the claim, if proven and viewed in light of the
               evidence as a whole, would be sufficient to establish by clear and
               convincing evidence that, but for constitutional error, no reasonable
               factfinder would have found the applicant guilty of the underlying
               offense.

        - 28 U.S.C § 2244(b)(2)(B).


        1.     The Factual Predicate of These Claims Could Not Have Been
               Discovered Previously Through the Exercise of Due Diligence
        340. An important, even primary, consideration in evaluating Tillery's

exercise of due diligence is the extent and impact of the evidence which has been

suppressed by the Commonwealth. This Petition does not allege that a potentially

exculpatory piece of documentary evidence was suppressed, or that a single,

secondary witness subsequently recanted their testimony. The primary eyewitness

has now stated that his testimony was entirely perjured, and every eyewitness so

states. Furthermore, the Commonwealth deliberately suppressed the existence of



                                          125

                                        Pa 246
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      291 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               136 of 467




robbery charges (the May 1980 robbery charges) and its deal with Claitt on those

charges, in addition to deals on other charges (the 1983 robbery charges and the

1978-1980 charges), the revelation of which would undoubtedly have compelled a

different verdict at trial.

       341. As discussed below, the factual predicate is not that Claitt and

Mickens lied in inculpating Tillery: that is not a new fact. Tillery was well aware

of this, and has always maintained that he is factually innocent.

       342. The following acts of misconduct by the Commonwealth were

previously unknown to Tillery:

       (a)    The fact that prosecution witnesses Claitt and Mickens were not on

              the scene of the shootings at all, and that the entirety of their

              testimony concerning Tillery was false, was known to the

              Commonwealth, which used threats and promises of favorable

              treatment as an inducement for that false testimony;

       (b)    Threatening prosecution witnesses Claitt and Mickens with false

              murder charges unless they agreed to provide false testimony against

              Tillery;




                                           126


                                         Pa 247
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      292 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         137 of 467




(c)   Arranging private meetings for sexual liaisons involving Claitt and

      Mickens, while they were in custody, by named detectives, with

      named women;

(d)   Manufacturing Claitt’s and Mickens’ false statements and testimony

      inculpating Tillery;

(e)   Arranging a meeting of Claitt with Mickens, while they were in

      custody, for Claitt to convince Mickens to falsely testify against

      Tillery;

(f)   Granting multiple undisclosed plea deals to Claitt and Mickens,

      including dismissal of charges, minimal sentences, bail arrangements

      and release from jail despite detainers;

(g)   Concealing the existence of a set of charges (the May 16, 1980

      robbery charges) from the defense, on which the Commonwealth had

      an agreement to dismiss the charges entirely;

(h)   Prompting Claitt and Mickens to testify falsely denying those same

      plea deals and bail and parole agreements; and

(i)   Vouching at trial for the truthfulness and lack of ulterior motive for

      Claitt’s and Mickens’ false testimony, and failing to correct that

      perjured testimony.


                                  127

                                Pa 248
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      293 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              138 of 467




      343. The Supreme Court has held that a stricter standard of materiality

applies in cases where the prosecution intentionally solicits perjured testimony.

United States v. Agurs, 427 U.S. 97, 103 (1976). In the Brady context, the Third

Circuit has also definitively rejected the proposition that a due diligence

requirement should be imposed on a petitioner. Dennis v. Sec'y, Pa. Dep't of Corr.,

834 F.3d 263 (3rd Cir. 2016). In doing so, the Third Circuit noted:

       "[Brady's] focus on disclosure by the prosecutor, not diligence by defense,
      is reiterated in the Supreme Court's approval of the shift in the traditional
      adversarial system Brady imposes . . . That the government may be burdened
      by the Brady rule does not undercut its need to comply with it. The
      imposition of an affirmative due diligence requirement on defense counsel
      would erode the prosecutor's obligation under, and the basis for, Brady
      itself."

       - Dennis, 834 F.3d at 290

      344. The exculpatory evidence considered in Dennis was a receipt in the

possession of the Commonwealth which, the Commonwealth asserted, could have

been obtained by the defense through public records searches, but was not

discovered until many years later. The wrongdoing documented in this Petition is

far more egregious: it undermines the entirety of the evidence actually presented at

trial. Furthermore, it was not available through public records, and was actively

suppressed by the Commonwealth.


                                         128


                                       Pa 249
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      294 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              139 of 467




      345. In fact, as noted previously, the allegations in this Petition closely

track Banks v. Dretke, 540 U.S. 668 (2004), on which Dennis relied. In Banks, a

witness' trial testimony had been "intensively coached by prosecutors and law

enforcement officers", and a police informant "testified, untruthfully, that he never

gave the police any statement and, indeed, had not talked to any police officer

about the case until a few days before the trial." Id. at 675. In rejecting a due

diligence requirement for a Brady claim alleging prosecutorial misconduct, the

Supreme Court held in Banks that "[a] rule thus declaring 'prosecutor may hide,

defendant must seek,' is not tenable in a system constitutionally bound to accord

defendants due process." Id. at 696.

      346. Although a due diligence requirement for a Brady claim is analytically

distinct from the gatekeeping inquiry here, the Third Circuit's opinion in Dennis,

which involved facts far less egregious than those in Tillery's Petition, should

weigh heavily in this Court's assessment of whether Tillery makes a showing of

due diligence.

      347. The Third Circuit has explained that the "reasonable diligence"

standard does not require extreme or exceptional diligence. Wilson v. Beard, 426

F.3d 653, 660 (citing Schuleter v. Varner, 384 F.3d 69, 74 (3d Cir. 2004) (". . . to

satisfy § 2244(d)(1)(D)'s 'due diligence' standard, a prisoner must exercise


                                          129

                                        Pa 250
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      295 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              140 of 467




'reasonable diligence in the circumstances.'"); Lacava v. Kyler, 398 F.3d 271, 277

(3d Cir. 2005) (reasonable diligence does not require 'the maximum feasible

diligence.'). The standard does not require "perfection" in the conduct of the

litigation. Urcinoli v. Cathel, 546 F.3d 269, 277 (3d Cir. 2008). The Third Circuit

also recognizes that a long period of incarceration bears on the due diligence

inquiry, and that "physical confinement can limit a litigant's ability to exercise due

diligence." Schuleter v. Varner, 384 F.3d at 75 (citing Moore v. Knight, 368 F.3d

936, 940 (7th Cir. 2004)).

      348. Petitioner has consistently maintained his innocence. He was aware at

trial that the testimony against him was perjured. Following his conviction, despite

the lack of legal representation, he steadily conducted research on Claitt and

Mickens and investigated avenues through which he could prove his innocence.

This included obtaining a large number of external documents and public records

through the Pennsyvlania Right-to-Know Law, which were used to support his

second PCRA petition in 2007.

      349. Petitioner's pro se 2007 PCRA petition, his second, was the result of

these diligent and extensive efforts. The factual predicate of that petition was that

Claitt was offered a sentence of “less than ten years” as a plea deal and Mickens


                                         130


                                        Pa 251
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      296 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              141 of 467




had obtained parole assistance, contradicting their trial testimony that they had no

deals.

         350. In this regard it should also be noted that public access to

Pennsylvania Criminal County criminal docket sheets only became available on

September 18, 2006, shortly before Tillery filed his 2007 PCRA. Prior to that date,

Tillery was unable to obtain comprehensive lists of Claitt and Mickens' docket

sheets.

         351. The 2007 PCRA petition shows that Tillery has consistently and

patiently sought, within the constraints imposed upon him by his more than 37-

year incarceration (of which approximately 20 years were spent in solitary

confinement) to uncover information on Claitt and Mickens and prove his

innocence.

         352. There was no documentation in the available records at that time to

support the new facts, as now revealed in Claitt’s and Mickens’ declarations, that

their testimony was manufactured and coached by the Commonwealth. Nor were

the specific plea deals known, which included dismissals of open charges -

including entire sets of charges which were never disclosed at trial - along with

other inducements offered to Claitt and Mickens, such as arranging for sex with

girlfriends in homicide interview rooms.


                                           131

                                         Pa 252
        Case:
       Case   20-1941 Document:
            2:20-cv-02675-PBT    1-1 Page:
                              Document      297 06/05/20
                                       2-1 Filed  Date Filed:
                                                          Page05/07/2020
                                                                142 of 467




       353. Based on the trial testimony of Claitt and Mickens, who stated at trial

that they were witnesses to or in some way involved in the shootings, Tillery had

always assumed that Claitt and Mickens were uncharged accessories to the October

22, 1976 shooting. This did not change until he discovered, through Claitt's and

Mickens' declarations, that neither had been at the poolhall on October 22, 1976 at

all.

       354. Petitioner did not previously attempt to contact Claitt or Mickens. He

did not do so in the preparation for his 2007 PCRA, or afterwards, until Claitt and

Mickens themselves came forward in 2016. It is not that doing so never occurred to

him. The reason he did not previously seek to contact either witness is because the

Commonwealth maintained, falsely, that Claitt and Mickens had been threatened

by him.

       355. At trial, Claitt falsely maintained that Tillery had attempted to shoot

him in 1982 in retaliation for his testimony. The Commonwealth also obtained a

protective order at trial to conceal Mickens' identity from the defense, on the false

grounds that Mickens feared retaliation. Because of the prosecutorial misconduct

in this case, any attempt to contact Claitt or Mickens would have prompted

immediate retaliation from prosecutors. Claitt states that, as recently as 2014, he


                                         132


                                       Pa 253
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      298 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 143 of 467




was still receiving favorable treatment from the Philadelphia District Attorney's

office. Declaration of Emanuel Claitt, May 4, 2016 (Exhibit "A"). Both Claitt and

Mickens state that they did not previously come forward due to fear of retaliation if

they did so.

        356. To more clearly explain the consequences for him if he had attempted

to contact either witness earlier, Tillery briefly summarizes the circumstances of

his incarceration.

        357. Following his conviction, Tillery was identified in prison as a leader

in the prison population and - falsely - as a former leader in the Philadelphia Black

Mafia. After riots broke out at Camp Hill in October 1989, Tillery was shipped out

of Pennsylvania and transferred into the federal system, into maximum security

and solitary confinement at Leavenworth and then the super-max isolation prison

at Marion, Ill. His prison jacket falsely stated that he was a participant in the Camp

Hill riot and that he had "gang involvement". These allegations were plainly

incorrect, since Tillery was not even incarcerated at Camp Hill when the riots

happened, and could not have been a participant.14



   14
      The errors in Tillery's record were not corrected until twenty years after his
conviction, in 2007-2009, when Tillery participated in a class action lawsuit
challenging the grounds for his solitary confinement in the New Jersey State


                                         133

                                        Pa 254
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      299 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              144 of 467




      358. Over three decades of incarceration, during which he spent more than

twenty years in solitary confinement,15 Tillery had zero misconducts based on gang

affiliations or prisoner organizing, belying his alleged affiliation with the "Black

Mafia". He was released from solitary confinement in 2014 after eleven years

without a misconduct - only two years before Claitt and Mickens made their

declarations.

      359. Furthermore, both Claitt and Mickens explicitly state that they feared,

and continue to fear, retaliation for revealing the Commonwealth's solicitation of

perjured testimony and exercise of coercion upon them.

      360. The conditions of Tillery's thirty year confinement are relevant to this

Court's due diligence inquiry. Schuleter v. Varner, 384 F.3d at 75. Despite the

conditions of his incarceration, Tillery utilized available public records to research




Management Control Unit (MCU). Although the action was dismissed on summary
judgment, the twenty-year error in his record concerning his presence at Camp Hill
during the riots was corrected during the lawsuit. Tillery v. Hayman, No. 3:07-cv-
02662-MLC-LHG (D.N.J. Mar. 31, 2011).


                                         134


                                        Pa 255
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      300 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 145 of 467




and file his second PCRA petition in 2007. The records underpinning this Petition -

the declarations of Claitt and Mickens, and the PAB log sheets provided by Andre

Harvey - were not public records. Tillery could not have located Claitt and

Mickens safely until they themselves came forth. Furthermore, the witnesses who

have now come forward state explicitly that they feared, and continue to fear,

retaliation for doing so.

        361. Petitioner has exercised reasonable diligence in pursuing avenues for

relief. Reasonable diligence is fact-specific, and takes into account the conditions

of a petitioner's confinement. Due diligence cannot include a requirement for a

petitioner to affirmatively take steps to contact known, lying witnesses who

represented that they feared retaliation from the petitioner, who actually testified

that they were attacked by the petitioner at trial, and with respect to whom the

petitioner would have faced retaliation for attempting to contact.

        362. "In Banks [v. Dretke], the Supreme Court explicitly rejected the

notion that 'the prosecution can lie and conceal and the prisoner still has the burden




   15
      Over the course of his thirty year incarceration, Tillery has been transferred
to more than ten different prisons. In addition to solitary confinement at
Leavenworth and Marion, Tillery spent five years in the New Jersey State
Management Control Unit (MCU) in Trenton, four years in solitary at SCI Retreat,


                                         135

                                       Pa 256
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      301 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              146 of 467




to . . . discover the evidence, so long as the potential existence of a prosecutorial

misconduct claim might have been detected." Dennis v. Sec'y, Pa. Dep't of Corr.,

834 F.3d 263, 291 (3d Cir. 2016) (quoting Banks, 540 U.S. at 696). The Supreme

Court has made it clear that the Commonwealth's conduct, as described in this

Petition, is the very sort of government interference with the truth-seeking process

that cannot be tolerated. Under Banks, "a defendant is 'entitled to treat the

prosecutor's submissions as truthful.' Banks, 540 U.S. at 698; see also id. at 696

(counsel is entitled to "'presume that [the Commonwealth has] properly discharges

[its] official duties'") (citation omitted); Berger v. United States, 295 U.S. 78, 88

(1935).

      363. Although Dennis' rejection of a due diligence requirement for the

substantive component of a Brady claim is analytically distinct from the due

diligence inquiry of 28 U.S.C. § 2244(b)(2), Tillery respectfully submits to this

Court that concerns regarding prosecutorial misconduct, as well as the corruption

of the truth-seeking process by the intentional procurement of perjured testimony,

should weigh heavily in its consideration of due diligence for a successive petition.



SCI Pittsburgh and SCI Forest, and four months in solitary at SCI Frackville, for a
total of approximately 20 years in solitary confinement.

                                          136


                                        Pa 257
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      302 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              147 of 467




      2.     With the Facts Underlying This Petition, No Reasonable
             Factfinder Could Have Found Tillery Guilty of the Underlying
             Offense
      364. The two witnesses on whose testimony Tillery's conviction depended

state that their substantive testimony was entirely false. They recount

circumstances in which their perjured testimony was extorted from them through

threats of prison time. Inducements were provided, including promises of leniency

and sexual inducements. Those promises of leniency were, actually, fulfilled. None

of this was disclosed to Tillery.

      365. The declarations of Emanuel Claitt and Robert Mickens undermine

the entirety of the Commonwealth's case. Both state their testimony - all the

evidence inculpating Tillery - was manufactured by the Commonwealth.

      366. In addition to this, the Commonwealth suppressed evidence of deals

to dismiss a set of robbery charges, to receive reduced time on charges which Claitt

pled guilty to, and also completely concealed the existence of a separate set of

robbery charges for which Claitt was arrested four days before his statement to

police inculpating Tillery.

       367. This Court has explained that if a key witness testifies, falsely, that

they received no consideration for their testimony, this alone suffices to make out a

Napue claim. Haskell v. Superintendent Greene SCI, 866 F.3d 139, 145-47 (3d Cir.


                                         137

                                       Pa 258
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      303 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 148 of 467




2017) (citations omitted). Taking these facts "in light of the evidence as a whole" -

a review which should include in its purview the paucity of direct evidence against

Tillery at trial - this Court should conclude, to a clear and convincing (or indeed, to

any) standard, that no reasonable factfinder who was aware of this evidence could

have found Tillery guilty.


   C.         PETITIONER SATISFIES AN EQUITABLE EXCEPTION TO
              28 U.S.C. § 2244(d)

        1.    Legal Standard
        368. "A 1-year period of limitation shall apply to an application for a writ

of habeas corpus by a person in custody pursuant to the judgment of a State court."

28 U.S.C. § 2244(d)(1). As relevant here, the limitations period begins anew on

"the date on which the factual predicate of the claim or claims presented could

have been discovered through the exercise of due diligence." 28 U.S.C. §

2244(d)(1)(D).

        369. AEDPA's limitation period "does not set forth 'an inflexible rule

requiring dismissal whenever' its 'clock has run'." Holland v. Florida, 560 U.S. 631,

645 (2010) (quoting Day v. McDonough, 547 U.S. 198, 208 (2006)). The Supreme

Court has held that AEDPA's limitation period is not jursidictional. Id. (citing Day,



                                         138


                                        Pa 259
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      304 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 149 of 467




547 U.S. at 205); see also Miller v. N.J. State Dep't of Corr., 145 F.3d 616, 617 (3d

Cir. 1998). Instead, the limitation period is subject to both statutory and equitable

tolling.16 Munchinski v. Wilson, 694 F.3d 308, 327-29 (3d Cir. 2012).

        370. In addition to tolling, "to prevent a 'fundamental miscarriage of

justice', an untimely petition is not barred when a petition makes a 'credible

showing of actual innocence' . . . " Reeves v. Fayette SCI, 897 F.3d 154, 160 (3d

Cir. 2018) (quoting McQuiggin v. Perkins, 569 U.S. 383, 392 (2013)).


        2.    Petitioner's Innocence Provides a Gateway Through the Statute of
              Limitations
        371. Petitioner's showing of innocence allows him to overcome procedural

default and to obtain a ruling on the merits of any procedurally defaulted claim.

The Supreme Court recently reiterated the significance of such a showing of

innocence to obtaining review of otherwise procedurally-defaulted claims:

        "Decisions of this Court support Perkins' view of the significance of a
        convincing actual-innocence claim . . . We have recognized . . . that a
        prisoner 'otherwise subject to defense of abusive or successive use of the
        writ [of habeas corpus] may have his federal constitutional claim considered
        on the merits if he makes a proper showing of actual innocence.' Id., at 404


   16
      Because the Pennsylvania courts rejected Tillery's PCRA petition as
untimely, it was not "properly filed" within the meaning of 28 U.S.C. § 2244(d)(2),
and he was not entitled to statutory tolling, per Pace v. DiGuglielmo, 544 U.S. 408,
417 (2005).


                                         139

                                        Pa 260
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      305 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              150 of 467




      (citing Sawyer v. Whitley, 505 U.S. 333 (1992)). See also Murray v. Carrier,
      477 U.S. 478, 496 (1986) ('[w]e think that in an extraordinary case, where a
      constitutional violation has probably resulted in the conviction of one who is
      actually innocent, a federal habeas court may grant the writ even in the
      absence of a showing of cause for the procedural default.'). In other words, a
      credible showing of actual innocence may allow a prisoner to pursue his
      constitutional claims (here, ineffective assistance of counsel) on the merits
      notwithstanding the existence of a procedural bar to relief. 'This rule, or
      fundamental miscarriage of justice exception, is grounded in the "equitable
      discretion" of habeas courts to see that federal constitutional errors do not
      result in the incarceration of innocent persons.' Herrera, 506 U.S. at 404.

      We have applied the miscarriage of justice exception to overcome various
      procedural defaults. These include 'successive' petitions asserting previously
      rejected claims, see Kuhlmann v. Wilson, 477 U.S. 436, 454 (1986)
      (plurality opinion), 'abusive' petitions asserting in a second petition claims
      that could have been raised in a first petition, see McCleskey v. Zant, 499
      U.S. 467, 494-495 (1991), failure to develop facts in state court, see Keeney
      v. Tamayo-Reyes, 504 U.S. 1, 11-12 (1992), and failure to observe state
      procedural rules, including filing deadlines, see Coleman v. Thompson, 501
      U.S. 722, 750 (1991); Carrier, 477 U.S. 495-496."

      - McQuiggin v. Perkins, 569 U.S. 383, 392-393 (2013).

      372. Thus, when a petitioner presents a claim of innocence and a

fundamental miscarriage of justice, concepts of cause and prejudice "must yield to

the imperative of correcting a fundamentally unjust incarceration." Murray v.

Carrier, 477 U.S. 478, 496 (1986) (quoting Engle v. Isaac, 456 U.S. 107, 135

(1982)). The "miscarriage of justice" exception applies to cases of "probable

innocence", Schlup v. Delo, 513 U.S. 298, 317, 324-25, 326-27 & n. 42 (1995).


                                        140


                                      Pa 261
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      306 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              151 of 467




      373. AEDPA's statute of limitations is a federal procedural default, to

which a gateway claim of actual innocence provides an equitable exception.

McQuiggin, 569 U.S. at 394.

      374. The claim in Schlup was not itself a constitutional claim, but a

gateway through which the petitioner could pass in order to obtain review of

otherwise barred claims. Id. at 315-16. Consequently, Schlup carried less of a

burden of proof than Herrera. Id. at 316. A petitioner need not show that he is

actually innocent of the crime he was convicted of, but only that in light of the new

evidence "a court cannot have confidence in the outcome of the trial." Id. This

standard is significantly easier to meet than the standard for a sufficiency of the

evidence challenge under Jackson v. Virginia, 443 U.S. 307 (1979). Schlup, 513

U.S. at 327, 330.

      375. A court determining whether a gateway claim of actual innocence has

been proven engages in a "probabilistic determination" regarding whether it is

"more likely than not" that no reasonable juror, in light of the new evidence, would

have found the petitioner guilty. Id. at 315-16. The Supreme Court has also

described this standard as whether it is "more likely than not any reasonable juror

would have reasonable doubt . . ." House v. Bell, 547 U.S. 518, 538 (2006)

(emphasis added).


                                         141

                                        Pa 262
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      307 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               152 of 467




      376. A reviewing court does not exercise "independent judgment as to

whether reasonable doubt exists." Instead, it makes an evaluation "about what

reasonable, properly instructed jurors would do." This inquiry is "[focused] . . . on

the likely behavior of the trier of fact." Schlup, 513 U.S. at 329-30; Reeves v.

Fayette SCI, 897 F.3d 154, 160-61 (3d Cir. 2018). "Because a Schlup claim

involves evidence the jury did not have before it, the inquiry requires the federal

court to assess how reasonable jurors would react to the overall newly

supplemented record." House, 547 U.S. at 555. "The Schlup inquiry . . . requires a

holistic judgment about all the evidence, and its likely effect on reasonable jurors

applying the reasonable doubt standard." Id.

      377. Evidence that casts doubt upon the reliability of the proof of guilt,

including impeachment evidence, but which does not affirmatively prove

innocence, can be enough to pass through the Schlup gateway. See Schlup, 513 U.S.

at 327 ("[U]nder the gateway standard . . . , the newly presented evidence may

indeed call into question the credibility of the witnesses presented at trial.");

Carriger v. Stewart, 132 F.3d 463, 478 (9th Cir. 1997).

      378. Here, Tillery has pled facts that establish a "miscarriage of justice".

The evidence against Tillery at his trial was already questionable. There was no


                                          142


                                        Pa 263
         Case:
        Case   20-1941 Document:
             2:20-cv-02675-PBT    1-1 Page:
                               Document      308 06/05/20
                                        2-1 Filed  Date Filed:
                                                           Page05/07/2020
                                                                 153 of 467




physical evidence, and the case rested entirely on the testimony of Emanuel Claitt.

The new exculpatory evidence described above undermines the entirety of the

evidence against Tillery, and in light of this evidence - particularly Claitt's

statements that the Commonwealth manufactured his testimony - it is more likely

than not that no reasonable juror would vote to convict him. Other courts have

found a Schlup claim on similar proof. They have also found a Schlup claim to be

made out when less than all the eyewitnesses declared their testimony was false.17

In this case, every fact witness has declared that their testimony was not only false

or inaccurate, but manufactured by the Commonwealth.




   17
       See, e.g., Finch v. McKoy, 914 F.3d 292 (4th Cir. 2019) (no physical
evidence; recantation of secondary eyewitness who did not give perjured testimony,
but who was pressured by police and prosecutors into testifying, cast doubt on
primary eyewitness and met Schlup standard); Teleguz v. Pearson, 689 F.3d 322
(4th Cir. 2012) (recantations of two out of three eyewitnesses, who had been
threatened by police and prosecutors, met Schlup standard); Fairman v. Anderson,
188 F.3d 635 (5th Cir. 1999) (recantation of sole witness, who testified under
threatened charges by police; court held the recantation met Schlup standard,
granted the writ and reversed conviction); Arnold v. Dittman, 901 F.3d 830 (7th
Cir. 2018) (sexual assault of a child; recantation of key eyewitness, standing alone,
required remand for an evidentiary hearing on Schlup claim); Amrine v. Bowersox,
128 F.3d 1222 (8th Cir. 1997) (no physical evidence; three direct eyewitnesses all
recanted, stating they were pressured into testifying and had open charges
dismissed; remand to consider Schlup claim); Carriger v. Stewart, 132 F.3d 463
(9th Cir. 1997) (chief prosecution witness recanted; court granted the writ).


                                          143

                                        Pa 264
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      309 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               154 of 467




      379. At a minimum, Tillery is entitled to show his actual innocence at an

evidentiary hearing. "Actual innocence" is fact-dependent. As Schlup found, "[t]he

fact-intensive nature of this inquiry, together with the District Court's ability to

take testimony from the key witnesses if it deems that course advisable, convinces

us that the most expeditious procedure is to . . . remand[] to the District Court for

further proceedings consistent with this opinion." Schlup, 513 U.S. at 332.

      380. Accordingly, as to his allegations that his innocence acts as a gateway

to review of defaulted claims, this Court should either: 1) find that Tillery has met

the Schlup standard and review any claims found to be procedurally defaulted on

their merits; or 2) grant him an evidentiary hearing to show his actual innocence as

a gateway to review of any such defaulted substantive claims. Such a hearing

would also be required to permit him to demonstrate his entitlement to relief based

on his innocence as a free-standing claim for relief.

      381. The requirements of 28 U.S.C. § 2254(e)(2) do not apply to any

evidentiary hearing on a Schlup claim. Cristin v. Brennan, 281 F.3d 404, 417 (3d

Cir. 2002) (28 U.S.C. § 2254(e)(2) does not apply to "hearings on excuses for

procedural defaults"); Holloway v. Horn, 355 F.3d 707, 716 (3d Cir. 2004) (same,

for cause to excuse a procedural default).


                                          144


                                        Pa 265
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      310 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              155 of 467




      2.     Petitioner Qualifies for Equitable Tolling
      382. The AEDPA statute of limitations is also subject to equitable tolling.

Holland v. Florida, 560 U.S. 631 (2010). ". . . equitable tolling is appropriate when

'principles of equity would make the rigid application of a limitation period

unfair." Munchinski v. Wilson, 694 F.3d 308, 328-329 (3d Cir. 2002) (quoting

Miller v. N.J. State Dep't of Corr., 145 F.3d 616, 618 (3d Cir. 1998)). For equitable

tolling to apply, a petitioner must show that he has been diligently pursuing his

rights and that an extraordinary circumstance prevented him from filing his petition

on time. Holland, 560 U.S. at 649.

      383. As discussed previously, Tillery has shown reasonable diligence in

pursuing his petition. He submits that his lack of access to legal resources during

his incarceration, including the destruction of his legal files in 2011 at SCI

Pittsburgh, constitutes extraordinary circumstances. Miller v. N.J. State Dep't of

Corr., 145 F.3d 616 (3d Cir. 1998).




                                         145

                                        Pa 266
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      311 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               156 of 467




                   CONCLUSION AND REQUEST FOR RELIEF

       Wherefore, Petitioner, Major G. Tillery, prays this Honorable Court, for all

of the aforementioned reasons, including the attached affidavits and exhibits, and

in the interests of justice, to:

              1)     Grant him an evidentiary hearing and discovery;

              2)     Reverse his conviction;

              3)     Bar re-trial, and

              4)     Issue a writ of habeas corpus and order his immediate release.




       Dated: _____________________             Respectfully Submitted,




                                                ___________________________
                                                MAJOR G. TILLERY
                                                Petitioner Pro Se
                                                SCI Chester
                                                500 E. 4th Street
                                                Chester, PA 19013




                                          146


                                         Pa 267
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      312 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              157 of 467




                          INDEX TO EXHIBITS

Exhibit No.      Title

Exhibit A        Verified Declaration of Emanuel Claitt, May 4, 2016

Exhibit B        Verified Declaration of Emanuel Claitt, June 3, 2016

Exhibit C        Transcript - Videotaped Statement of Emanuel Claitt, August 3,
                 2016

Exhibit D        Verified Declaration of Robert Mickens, April 18, 2016

Exhibit E        Statement of John Pickens, October 22, 1976

Exhibit F        Declaration of Rachel Wolkenstein, September 6, 2016

Exhibit G        Philadelphia Police Administration Log Book for December 14,
                 1983 (Excerpt)

Exhibit H        Right-to-Know Law Requests for Police Administration
                 Building Log Books and Transportation Records of Emanuel
                 Claitt and Robert Mickens

Exhibit I        Written Statement of Robert Mickens, September 26, 1984

Exhibit J        Summary of Charges and Docket Sheets, Emanuel Claitt

Exhibit K        Letter From Assistant District Attorney Leonard Ross to Judge
                 Leon Katz, January 5, 1981

Exhibit L        Transcript of Emanuel Claitt's Sentencing Hearing Before
                 Judge Leon Katz, September 17, 1981 (Excerpts)

Exhibit M        Letter From Homicide Unit Chief Arnold Gordon to Parole
                 Board, January 31, 1984




                                   Pa 268
        Case:
       Case   20-1941 Document:
            2:20-cv-02675-PBT    1-1 Page:
                              Document      313 06/05/20
                                       2-1 Filed  Date Filed:
                                                          Page05/07/2020
                                                                158 of 467




Exhibit No.          Title

Exhibit N            Letter From District Attorney Edward Rendell to Judge John L.
                     Chiovero, February 18, 1984

Exhibit O            Letter From Homicide Unit Assistant Chief Jeffrey A. Brodkin
                     to Parole Board, October 25, 1984

Exhibit P            Commonwealth v. Tillery, No. 3297 Philadelphia 1986, 563
                     A.2d 195 (Pa. Super. 1989) (unpublished memorandum)

Exhibit Q            Petitioner's 1996 PCRA Petition, September 20, 1996

Exhibit R            Commonwealth v. Tillery, No. 523 Philadelphia 1998, 742 A.2d
                     1055 (Pa. Super. 1999) (unpublished memorandum)

Exhibit S            District Court's Order Denying Petitioner's First Petition for
                     Habeas Corpus, July 30, 2003

Exhibit T            Opinion of the Court of Appeals, Tillery v. Horn, 142 F.App'x
                     66 (3d Cir. 2005) (No. 03-3616)

Exhibit U            Petitioner's 2007 PCRA Petition, August 13, 2007

Exhibit V            Commonwealth v. Tillery, 981 A.2d 937 (Pa. Super. 2009)
                     (unpublished memorandum)

Exhibit W            Petitioner's 2016 PCRA Petition, June 16, 20161




   1
       The exhibits to the 2016 PCRA Petition are duplicative of other exhibits in this
petition. To avoid multiple sets of exhibits, they have not been included.




                                         Pa 269
        Case:
       Case   20-1941 Document:
            2:20-cv-02675-PBT    1-1 Page:
                              Document      314 06/05/20
                                       2-1 Filed  Date Filed:
                                                          Page05/07/2020
                                                                159 of 467




Exhibit No.          Title

Exhibit X            Petitioner's 2016 Supplemental PCRA Petition, September 7,
                     20162

Exhibit Y            Court of Common Pleas Opinion Under Pa. R. App. P. 1925(a),
                     Commonwealth v. Tillery, 3270 EDA 2016, 193 A.3d 1063 (Pa.
                     Super. 2018)

Exhibit Z            Commonwealth v. Tillery, 3270 EDA 2016, 193 A.3d 1063 (Pa.
                     Super. 2018) (unpublished memorandum)

Exhibit AA           Commonwealth v. Franklin, 201 A.3d 854 (Pa. Super. 2018) |
                     (unpublished memorandum)




   2
       The exhibits to the 2016 Supplemental PCRA Petition are duplicative of other
exhibits in this petition. To avoid multiple sets of exhibits, they have not been included.




                                          Pa 270
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      315 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         160 of 467




                           Exhibit A
 Verified Declaration of Emanuel Claitt, May 4, 2016




                              Pa 271
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      316 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         161 of 467




                              Pa 272
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      317 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         162 of 467




                              Pa 273
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      318 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         163 of 467




                              Pa 274
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      319 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         164 of 467




                              Pa 275
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      320 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         165 of 467




                              Pa 276
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      321 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         166 of 467




                              Pa 277
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      322 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         167 of 467




                           Exhibit B
 Verified Declaration of Emanuel Claitt, June 3, 2016




                              Pa 278
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      323 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         168 of 467




                              Pa 279
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      324 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         169 of 467




                              Pa 280
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      325 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         170 of 467




                              Pa 281
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      326 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         171 of 467




                              Pa 282
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      327 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            172 of 467




                              Exhibit C
Transcript - Videotaped Statement of Emanuel Claitt, August 3,
                             2016




                                 Pa 283
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      328 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           173 of 467




      Transcript – Video Taped Statement of Emanuel Claitt,
                          August 3, 2016

Emanuel Claitt:

I am Emanuel Claitt and I affirm the truthfulness of my verified declarations
dated May 4, 2016 and June 3, 2016.
      I lied when I testified at the trials of William Franklin in November
1980 and of Major Tillery in 1985 for the murder of Joseph Hollis and
attempted murder of John Pickens on October 22, 1976.
      I wasn’t in the pool hall when Joseph Hollis was shot and killed and
John Pickens shot and injured. I wasn’t anywhere near Joseph Hollis and
John Pickens when they were shot.
      I lied when I testified that Major Tillery and William Franklin were in
the pool hall and shot Hollis and Pickens.
      Everything I testified to at Major Tillery’s trial and William
Franklin’s trial about witnessing an argument between Alfred Clark and
Joseph Hollis, threats made by Major Tillery against John Pickens and the
shootings at the pool hall a few days later was false.
      My testimony was made up while being questioned by homicide
detectives Larry Gerrard, Ernest Gilbert and Lt. Bill Shelton and being
prepped by ADAs Ross, Christie and King to testify against Major Tillery
and William Franklin.
      They worked over my testimony to make sure Major Tillery and
William Franklin were convicted of murder and attempted murder.
      I was in prison in 1980 on serious charges and I had a lot of open
cases. At least three of them were felonies with a lot of years of prison time.



                                       1
                                    Pa 284
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      329 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           174 of 467




      Detectives and prosecutors ADA Lynn Ross and Barbara Christie
promised if I said that Major Tillery and William Franklin were the shooters
in the 1976 murder of Joseph Hollis and the attempted murder of John
Pickens I wouldn’t get state time in my many pending criminal charges and I
wouldn’t be charged in the murder of Samuel Goodwin, that I had nothing to
do with.
      I was threatened that I would get maximum prison time if I didn’t
cooperate to get Tillery and Franklin.
      The detectives with the knowledge and direction of ADAs Lynn Ross,
Barbara Christie and Roger King promised me leniency, threatened me and
allowed me private time for sex with girlfriends in the homicide interview
rooms and hotel rooms.
      After Franklin’s trial I tried to recant but Lt. Shelton threatened me
and said I would be framed on another murder.
      None of my testimony was true. I falsely testified that on October 22,
1976, I was standing by the door inside the pool hall during the meeting to
prevent anyone from entering or leaving and that both Franklin and Pickens
were in the pool hall.
      I lied when I testified I saw Major Tillery and William Franklin shoot
Pickens and Hollins.
      Before Major Tillery’s trial, detectives instructed me to persuade
Robert Mickens to become a witness against Major Tillery.
      I was put in a police van to ride alone with Mickens back and forth
from homicide up to the county holding prison on State Road, to make it
clear to Mickens that he really had no choice, except to testify against Major
Tillery.



                                         2
                                   Pa 285
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      330 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           175 of 467




      It was also a lie, known to ADAs Ross, Christie, King that Major
Tillery and George Rose were involved in bombing -firebombings in 1979
and 1980 that I testified to that in August 1985.
      It was also a total fabrication that Major Tillery pulled a gun on me
and threatened to shoot me in Philadelphia in early 1983.
      The police detectives and prosecutors I met with knew I didn’t have
any personal knowledge that Major Tillery and William Franklin were
involved or part of those shootings. They manufactured the lies I gave
against Tillery and Franklin and coached me before the trials.
      I was coached by ADA Barbara Christie before Major Tillery’s trial.
She was worried about my first statement that John Pickens had gone
through a glass door. She coached me to testify about a second door leading
out of the poolroom and that it had been a glass door.
      ADA Christie coached me how to answer the defense attorney’s
questions about whether I had plea deals or any agreements for leniency in
sentencing for all the charges I faced back in 1980 when I first gave a
statement about the shootings of Hollis and Pickens and since then.
      ADA Christie coached me on this like ADA Lynn Ross did before I
testified against William Franklin.
      Back in 1980 when I testified at Franklin’s trial I lied when I said that
the only plea agreement was that my sentences on three cases would run
concurrently. In fact I got one and a half-years.
      In exchange for my false testimony many of my cases were not
prosecuted. I got probation. I was sentenced to just 18 months for fire
bombing and was protected when I was arrested between the time of
Franklin’s and Tillery’s trials.



                                        3
                                      Pa 286
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      331 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           176 of 467




      At Major Tillery’s trial I testified that there was no plea deal. That
was a lie and ADA Christie knew that. She told me the robbery charge and
other charges would be nolle prossed. And they were.
      At Major Tillery’s trial I was forced by ADA Barbara Christie to
testify about the “black mafia” and that they were run by Black Muslims in
Philadelphia.
      After Major Tillery’s trial I was told I hadn’t done good enough, that I
“straddled the fence.” In 1989 I was convicted of felony charges and spent
13 ½ years in prison for something I didn’t do and framed by the ADA.
      In 2014 I was given help by the prosecution in getting all my bond
judgments dismissed on cases going back over 23 years.
      I testified falsely against Major Tillery and William Franklin because
I was threatened by the police and prosecutors with a murder prosecution for
a crime I didn’t commit. I was promised no state time for crimes I did
commit if I lied.
      I wasn’t willing to tell the truth about the lies I testified to at these
trials and that my false testimony was manufactured by the ADAs and police
until now.
      I gave my verified declarations because I want to free my conscience.
I need to be able to live with myself.
      It has taken me all these years to be willing and able to deal with my
conscience and put aside my fears of retaliation by the police and
prosecution for telling what really happened at those trials.
      I am now ready and willing to testify in court for Major Tillery and
William Franklin and tell the truth, the whole truth, that I lied against them
at their trials, coerced by police and prosecutors. That is the end of the
statement.

                                         4
                                     Pa 287
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      332 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           177 of 467




Emanuel Claitt: I get so much energy talking to you and knowing that you
are the one that is going to fight the beat to get them out. They deserve to be
out. They didn’t do that crime and I didn’t do the crime that they said I
committed. The same thing I did to them the DA did to me—and got
somebody to lie and I did 13½ years in prison and I lost a lot of time away
from my family. Tillery and Franklin done did triple the time I did and I just
think that they need to be free.
      If right is right, right gonna prevail because the DA knows that they
lied and got me to lie. I want to free my conscience. I can’t live with myself
knowing that I did that.


Transcript checked against Video Taped Statement
By Rachel Wolkenstein




                                       5
                                    Pa 288
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      333 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         178 of 467




                           Exhibit D
Verified Declaration of Robert Mickens, April 18, 2016




                              Pa 289
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      334 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         179 of 467




                              Pa 290
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      335 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         180 of 467




                              Pa 291
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      336 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         181 of 467




                              Pa 292
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      337 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         182 of 467




                              Pa 293
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      338 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         183 of 467




                           Exhibit E
      Statement of John Pickens, October 22, 1976




                              Pa 294
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      339 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         184 of 467




                              Pa 295
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      340 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         185 of 467




                              Pa 296
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      341 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         186 of 467




                              Pa 297
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      342 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         187 of 467




                              Pa 298
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      343 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         188 of 467




                              Pa 299
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      344 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         189 of 467




                              Pa 300
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      345 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          190 of 467




                            Exhibit F
Declaration of Rachel Wolkenstein, September 6, 2016




                               Pa 301
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      346 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         191 of 467




                              Pa 302
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      347 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         192 of 467




                              Pa 303
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      348 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         193 of 467




                              Pa 304
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      349 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         194 of 467




                              Pa 305
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      350 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         195 of 467




                              Pa 306
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      351 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            196 of 467




                              Exhibit G
Philadelphia Police Administration Log Book for December 14,
                       1983 (Excerpt)




                                 Pa 307
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      352 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         197 of 467




                              Pa 308
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      353 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         198 of 467




                              Pa 309
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      354 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         199 of 467




                              Pa 310
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      355 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         200 of 467




                              Pa 311
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      356 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           201 of 467




                             Exhibit H
  Right-to-Know Law Requests for Police Administration
Building Log Books and Transportation Records of Emanuel
               Claitt and Robert Mickens




                                Pa 312
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      357 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         202 of 467




                              Pa 313
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      358 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         203 of 467




                              Pa 314
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      359 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         204 of 467




                              Pa 315
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      360 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         205 of 467




                              Pa 316
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      361 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         206 of 467




                              Pa 317
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      362 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         207 of 467




                              Pa 318
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      363 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         208 of 467




                              Pa 319
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      364 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         209 of 467




                              Pa 320
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      365 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          210 of 467




                             Exhibit I
Written Statement of Robert Mickens, September 26, 1984




                               Pa 321
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      366 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         211 of 467




                              Pa 322
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      367 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         212 of 467




                              Pa 323
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      368 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         213 of 467




                              Pa 324
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      369 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         214 of 467




                              Pa 325
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      370 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         215 of 467




                              Pa 326
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      371 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         216 of 467




                              Pa 327
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      372 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         217 of 467




                            Exhibit J
Summary of Charges and Docket Sheets, Emanuel Claitt




                              Pa 328
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      373 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         218 of 467




                              Pa 329
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      374 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         219 of 467




                              Pa 330
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      375 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         220 of 467




                              Pa 331
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      376 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         221 of 467




                              Pa 332
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      377 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         222 of 467




                              Pa 333
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      378 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              223 of 467

                                MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: MC-51-CR-0505311-1975
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 3
                                                                            v.
                                                                      Emanual Claitt
                                                                   CASE INFORMATION
Cross Court Docket Nos: CP-51-CR-1222231-1975
Judge Assigned: Caesar, Berel                                                     Date Filed: 05/08/1975                  Initiation Date: 05/08/1975
OTN: Z 475865-5                       LOTN:                                       Originating Docket No:
Initial Issuing Authority:                                                        Final Issuing Authority: Berel Caesar
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Police Incident Number                                                          7514026970
       District Control Number                                                         7514026970
       Legacy Docket Number                                                            M7505053111
                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       05/08/1975
                                               12/01/1975               Completed
                                               05/08/1975               Migrated Case (Active)

                                                                                                                                    Complaint Date:         05/08/1975
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              CLAITT, EMANUAL

                                                                             CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   1             1                        18 § 6105                      POSSESSION ARMS-CONV CRIME OF                            05/08/1975         Z 475865-5
                                                                         VIOLENCE
   2             2                        18 § 6106                      CARRYING FIREARMS WITHOUT LICENSE                        05/08/1975         Z 475865-5


CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 334
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      379 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              224 of 467

                                 MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                           Docket Number: MC-51-CR-0505311-1975
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                            Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                               Page 2 of 3
                                                                             v.
                                                                       Emanual Claitt
                                                                        CHARGES
   Seq.         Orig Seq.      Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   3             3                         18 § 6108                      CARRYING FIRE ARMS/PUBLIC STREET                         05/08/1975         Z 475865-5
                                                                          OR PLACE
   4             4                         18 § 6110                      VUFA DEL TO MINOR-DRUG ADDICT ETC                        05/08/1975         Z 475865-5
   5             5                         18 § 907                       POSSESSING INSTRUMENTS OF CRIME                          05/08/1975         Z 475865-5
                                                                          WEAPON
   6             6                         18 § 908.1                     PROHIBITED OFFENSIVE WEAPONS                             05/08/1975         Z 475865-5
                                                           DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                                Disposition Date                               Final Disposition
    Sequence/Description                                                       Offense Disposition                             Grade       Section
         Sentencing Judge                                                        Sentence Date                                      Credit For Time Served
           Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                Sentence Conditions

Guilty               Defendant Was Not Present
  Migrated Dispositional Event                                              12/01/1975                                     Final Disposition
    1 / POSSESSION ARMS-CONV CRIME OF VIOLENCE                                Guilty                                                         18 § 6105
         Caesar, Berel                                                            12/01/1975
           Probation                                                                5.00 Years

    2 / CARRYING FIREARMS WITHOUT LICENSE                                      Demurrer Sustained                                            18 § 6106
         Caesar, Berel                                                            12/01/1975
    3 / CARRYING FIRE ARMS/PUBLIC STREET OR                                    Guilty                                                        18 § 6108
    PLACE
       Caesar, Berel                                                              12/01/1975
           Probation                                                                5.00 Years

    4 / VUFA DEL TO MINOR-DRUG ADDICT ETC                                      Dismissed                                                     18 § 6110
         Caesar, Berel                                                            12/01/1975
    5 / POSSESSING INSTRUMENTS OF CRIME WEAPON                                 Dismissed                                                     18 § 907
         Caesar, Berel                                                            12/01/1975
    6 / PROHIBITED OFFENSIVE WEAPONS                                           Dismissed                                                     18 § 908.1
         Caesar, Berel                                                            12/01/1975




CPCMS 9082                                                                                                                                                Printed: 04/13/2020

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                               Pa 335
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      380 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               225 of 467

                                  MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                            Docket Number: MC-51-CR-0505311-1975
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                  Commonwealth of Pennsylvania
                                                                                                                                                                Page 3 of 3
                                                                              v.
                                                                        Emanual Claitt
    COMMONWEALTH INFORMATION                                                  ATTORNEY INFORMATION
    Name:             Philadelphia County District Attorney's                        Name:          Myron H. Deutsch
                      Office                                                                        Private
                      Prosecutor                                                     Supreme Court No:      012362
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                         Address:
        3 South Penn Square                                                                Deutsch, Larrimore & Farnish
        Philadelphia, PA 19107                                                             2100 Arch Street 5th Floor
                                                                                           Philadelphia, PA 19103
                                                                                     Representing: CLAITT, EMANUAL


                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 05/08/1975
    PARS Transfer


1                                 12/01/1975
    Migrated Automatic Registry Entry (Disposition) Text


2                                 12/01/1975
    Migrated Sentence




CPCMS 9082                                                                                                                                                 Printed: 04/13/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 336
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      381 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              226 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-1222231-1975
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 3
                                                                            v.
                                                                      Emanual Claitt
                                                                   CASE INFORMATION
Judge Assigned: Kubacki, Stanley L.                                               Date Filed: 12/29/1975                  Initiation Date: 12/29/1975
OTN: Z 475865-5                       LOTN:                                       Originating Docket No: MC-51-CR-0505311-1975
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       District Control Number                                                         7514026970
       PSI Microfilm Number                                                            761141
       Police Incident Number                                                          7514026970
       Legacy Microfilm Number                                                         76021081
       Legacy Docket Number                                                            C7512222311
                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       05/08/1975
                                               07/12/1976               Completed
                                               12/29/1975               Migrated Case (Active)

                                                                                                                                    Complaint Date:         12/29/1975
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              CLAITT, EMANUAL

                                                                             CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   1             1                        18 § 6108                      CARRYING FIRE ARMS/PUBLIC STREET                         05/08/1975         Z 475865-5
                                                                         OR PLACE


CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 337
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                        Case:
                       Case   20-1941 Document:
                            2:20-cv-02675-PBT    1-1 Page:
                                              Document      382 06/05/20
                                                       2-1 Filed  Date Filed:
                                                                          Page05/07/2020
                                                                                227 of 467

                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                                DOCKET
                                                                                                             Docket Number: CP-51-CR-1222231-1975
                                                                                                                                   CRIMINAL DOCKET
                                                                                                                                                              Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                                 Page 2 of 3
                                                                             v.
                                                                        Emanual Claitt
                                                             DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                                  Disposition Date                                Final Disposition
    Sequence/Description                                                        Offense Disposition                               Grade       Section
        Sentencing Judge                                                          Sentence Date                                       Credit For Time Served
             Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                  Sentence Conditions

Migrated Disposition
    Migrated Dispositional Event                                              07/12/1976                                      Final Disposition
      1 / CARRYING FIRE ARMS/PUBLIC STREET OR                                   Guilty                                                         18 § 6108
      PLACE
         Kubacki, Stanley L.                                                        07/12/1976
             Probation                                                                5.00 Years

    COMMONWEALTH INFORMATION                                                          ATTORNEY INFORMATION
    Name:               Philadelphia County District Attorney's                       Name:          Myron H. Deutsch
                        Office                                                                       Private
                        Prosecutor                                                    Supreme Court No:      012362
    Supreme Court No:                                                                 Rep. Status:                   Active
    Phone Number(s):                                                                  Phone Number(s):
        215-686-8000             (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                          Address:
         3 South Penn Square                                                                Deutsch, Larrimore & Farnish
         Philadelphia, PA 19107                                                             2100 Arch Street 5th Floor
                                                                                            Philadelphia, PA 19103
                                                                                      Representing: CLAITT, EMANUAL


                                                                                 ENTRIES
Sequence Number                    CP Filed Date                     Document Date                                  Filed By

1                                  12/29/1975                                                                       Unknown Filer
    Appeal


1                                  07/12/1976                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                  07/12/1976                                                                       Migrated, Filer
    Disposition Filed


3                                  07/12/1976                                                                       Migrated, Filer
    Migrated Sentence



CPCMS 9082                                                                                                                                                  Printed: 04/13/2020

              Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
              System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
             data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                 Pa 338
             only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                            Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                    Case:
                   Case   20-1941 Document:
                        2:20-cv-02675-PBT    1-1 Page:
                                          Document      383 06/05/20
                                                   2-1 Filed  Date Filed:
                                                                      Page05/07/2020
                                                                            228 of 467

                    COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                            DOCKET
                                                                                                         Docket Number: CP-51-CR-1222231-1975
                                                                                                                               CRIMINAL DOCKET
                                                                                                                                                          Court Case


                                                               Commonwealth of Pennsylvania
                                                                                                                                                             Page 3 of 3
                                                                           v.
                                                                     Emanual Claitt




CPCMS 9082                                                                                                                                              Printed: 04/13/2020

          Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
          System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
         data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                             Pa 339
         only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                        Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      384 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              229 of 467

                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0810671-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 4
                                                                            v.
                                                                     Emanuel M Claitt
                                                                   CASE INFORMATION
Judge Assigned: Katz, Leon                                                        Date Filed: 08/12/1980                  Initiation Date: 08/12/1980
OTN:                                  LOTN:                                       Originating Docket No: MC-51-CR-0330461-1979
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Legacy Microfilm Number                                                         81026823
       PSI Microfilm Number                                                            801557
       PSI Microfilm Number                                                            811899
       Police Incident Number                                                          7935020793
       District Control Number                                                         7935020793
       Legacy Docket Number                                                            C8008106711
                                                                     STATUS INFORMATION
Case Status:        Closed                     Status Date              Processing Status                                                Arrest Date:       03/31/1979
                                               09/17/1981               Completed
                                               08/12/1980               Migrated Case (Active)

                                                                                                                                    Complaint Date:         08/12/1980

                                                                        CALENDAR EVENTS
 Case Calendar                  Schedule          Start             Room                           Judge Name                                    Schedule
 Event Type                     Start Date        Time                                                                                           Status
 Bail Forfeiture- Filed         06/06/2014         9:00 am                                                                                       Scheduled
 Bail Forfeiture-               06/30/2014         9:00 am                                                                                       Scheduled
 Review
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry




CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 340
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                     Case:
                    Case   20-1941 Document:
                         2:20-cv-02675-PBT    1-1 Page:
                                           Document      385 06/05/20
                                                    2-1 Filed  Date Filed:
                                                                       Page05/07/2020
                                                                             230 of 467

                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0810671-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 2 of 4
                                                                            v.
                                                                     Emanuel M Claitt
                                                                   CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emanuel M.

                                                                             CHARGES
   Seq.        Orig Seq.      Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   1            1                         35 § 780-113 §§ A16            KNOWING/INTENTIONALLY POSS                               11/30/1978
                                                                         CONTROLLED SUBST
   2            2                         35 § 780-113 §§ A30            MFG/DEL/ OR POSS W/I MFG OR DEL                          11/30/1978
                                                                         CONTRL SUBS
                                                          DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                                Final Disposition
    Sequence/Description                                                      Offense Disposition                              Grade       Section
       Sentencing Judge                                                         Sentence Date                                      Credit For Time Served
          Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
               Sentence Conditions

Migrated Disposition
  Migrated Dispositional Event                                             09/17/1981                                      Final Disposition
    1 / KNOWING/INTENTIONALLY POSS CONTROLLED                                Guilty Plea                                                    35 § 780-113 §§ A16
    SUBST
       Katz, Leon                                                                09/17/1981
          Confinement                                                              Min of 1.50 Years

    2 / MFG/DEL/ OR POSS W/I MFG OR DEL CONTRL                                Guilty Plea                                                   35 § 780-113 §§ A30
    SUBS
       Katz, Leon                                                                09/17/1981
          Confinement                                                              Min of 1.50 Years

  COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
  Name:             Philadelphia County District Attorney's                        Name:          Myron H. Deutsch
                    Office                                                                        Private
                    Prosecutor                                                     Supreme Court No:      012362
  Supreme Court No:                                                                Rep. Status:                   Active
  Phone Number(s):                                                                 Phone Number(s):
      215-686-8000            (Phone)                                                  215-567-2693               (Phone)
  Address:                                                                         Address:
       3 South Penn Square                                                               Deutsch, Larrimore & Farnish
       Philadelphia, PA 19107                                                            2100 Arch Street 5th Floor
                                                                                         Philadelphia, PA 19103
                                                                                   Representing: Claitt, Emanuel M.


                                                                              ENTRIES

CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 341
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      386 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              231 of 467

                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                           Docket Number: CP-51-CR-0810671-1980
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                            Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                               Page 3 of 4
                                                                             v.
                                                                      Emanuel M Claitt
                                                                        ENTRIES
Sequence Number                  CP Filed Date                     Document Date                                  Filed By

1                                08/12/1980                                                                       Unknown Filer
    Held for Court


1                                09/17/1981                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                09/17/1981                                                                       Migrated, Filer
    Disposition Filed


3                                09/17/1981                                                                       Migrated, Filer
    Migrated Sentence


1                                11/16/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                11/30/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                02/02/2011                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Delinquency Notice Filed - 52 Days Overdue


1                                06/06/2014                                                                       Claitt, Emanuel M.
    Motion to Vacate Bail Judgment Filed


1                                07/24/2014                                                                       Bozzacco, Glenn
    Order Granting Motion to Vacate Bail Judgment Filed




CPCMS 9082                                                                                                                                                Printed: 04/13/2020

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                               Pa 342
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                     Case:
                    Case   20-1941 Document:
                         2:20-cv-02675-PBT    1-1 Page:
                                           Document      387 06/05/20
                                                    2-1 Filed  Date Filed:
                                                                       Page05/07/2020
                                                                             232 of 467

                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0810671-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                               Commonwealth of Pennsylvania
                                                                                                                                                              Page 4 of 4
                                                                           v.
                                                                     Emanuel M Claitt
                                                              CASE FINANCIAL INFORMATION
                    Last Payment Date:                                                                                                Total of Last Payment:
   Claitt, Emanuel M.                                           Assessment                Payments            Adjustments          Non Monetary                    Total
      Defendant                                                                                                                       Payments
   Costs/Fees
   Bail Assessment (Philadelphia) (UDS)                             $900.00                   $0.00               ($900.00)                 $0.00                 $0.00
   Bail Forfeiture - Municipality                                   $900.00                   $0.00               ($900.00)                 $0.00                 $0.00
   Bail Judgment (Philadelphia)                                     $900.00                   $0.00               ($900.00)                 $0.00                 $0.00

                                    Costs/Fees Totals:            $2,700.00                   $0.00            ($2,700.00)                  $0.00                 $0.00

                                        Grand Totals:             $2,700.00                   $0.00            ($2,700.00)                  $0.00                 $0.00

      ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 343
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      388 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              233 of 467

                                MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: MC-51-CR-1234881-1979
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 3
                                                                            v.
                                                                      Emanuel Claitt
                                                                   CASE INFORMATION
Cross Court Docket Nos: CP-51-CR-0813281-1980
Judge Assigned: Colins, James                                                     Date Filed: 01/06/1980                  Initiation Date: 01/06/1980
OTN:                                  LOTN:                                       Originating Docket No:
Initial Issuing Authority:                                                        Final Issuing Authority: James Colins
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Legacy Docket Number                                                            M7912348811
       District Control Number                                                         8014000991
       Police Incident Number                                                          8014000991
                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       01/06/1980
                                               08/11/1980               Completed
                                               01/06/1980               Migrated Case (Active)

                                                                                                                                    Complaint Date:         01/06/1980
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emanuel

                                                                             CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   1             1                        35 § 780-113 §§ A16            KNOWING/INTENTIONALLY POSS                               01/05/1980
                                                                         CONTROLLED SUBST
   2             2                        35 § 780-113 §§ A30            MFG/DEL/ OR POSS W/I MFG OR DEL                          01/05/1980
                                                                         CONTRL SUBS

CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 344
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      389 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              234 of 467

                                MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: MC-51-CR-1234881-1979
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 2 of 3
                                                                            v.
                                                                      Emanuel Claitt
                                                                       CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   3             3                        18 § 903                       CRIMINAL CONSPIRACY                                      01/05/1980
   4             4                        18 § 907                       POSSESSING INSTRUMENTS OF CRIME                          01/05/1980
                                                                         WEAPON
   5             5                        18 § 908.1                     PROHIBITED OFFENSIVE WEAPONS                             01/05/1980
   6             6                        18 § 6106                      CARRYING FIREARMS WITHOUT LICENSE                        01/05/1980
   7             7                        18 § 6108                      CARRYING FIRE ARMS/PUBLIC STREET                         01/05/1980
                                                                         OR PLACE
                                                          DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                               Final Disposition
    Sequence/Description                                                      Offense Disposition                             Grade       Section
       Sentencing Judge                                                         Sentence Date                                      Credit For Time Served
          Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                 Sentence Conditions

Held for Court               Defendant Was Not Present
  Migrated Dispositional Event                                             08/11/1980                                     Final Disposition
    1 / KNOWING/INTENTIONALLY POSS CONTROLLED                                Held for Court                                                 35 § 780-113 §§ A16
    SUBST
       Colins, James                                                             08/11/1980
    2 / MFG/DEL/ OR POSS W/I MFG OR DEL CONTRL                                Held for Court                                                35 § 780-113 §§ A30
    SUBS
       Colins, James                                                             08/11/1980
    3 / CRIMINAL CONSPIRACY                                                   Held for Court                                                18 § 903
       Colins, James                                                             08/11/1980
    4 / POSSESSING INSTRUMENTS OF CRIME WEAPON                                Held for Court                                                18 § 907
       Colins, James                                                             08/11/1980
    5 / PROHIBITED OFFENSIVE WEAPONS                                          Held for Court                                                18 § 908.1
       Colins, James                                                             08/11/1980
    6 / CARRYING FIREARMS WITHOUT LICENSE                                     Held for Court                                                18 § 6106
       Colins, James                                                             08/11/1980
    7 / CARRYING FIRE ARMS/PUBLIC STREET OR                                   Held for Court                                                18 § 6108
    PLACE
       Colins, James                                                             08/11/1980




CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 345
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      390 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               235 of 467

                                  MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                           Docket Number: MC-51-CR-1234881-1979
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                  Commonwealth of Pennsylvania
                                                                                                                                                                Page 3 of 3
                                                                              v.
                                                                        Emanuel Claitt
    COMMONWEALTH INFORMATION                                                  ATTORNEY INFORMATION
    Name:             Philadelphia County District Attorney's                        Name:          Myron H. Deutsch
                      Office                                                                        Private
                      Prosecutor                                                     Supreme Court No:      012362
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                         Address:
        3 South Penn Square                                                                Deutsch, Larrimore & Farnish
        Philadelphia, PA 19107                                                             2100 Arch Street 5th Floor
                                                                                           Philadelphia, PA 19103
                                                                                     Representing: Claitt, Emanuel


                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 01/06/1980
    PARS Transfer


1                                 08/11/1980
    Migrated Automatic Registry Entry (Disposition) Text


2                                 08/11/1980
    Migrated Sentence




CPCMS 9082                                                                                                                                                 Printed: 04/13/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 346
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      391 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              236 of 467

                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0813281-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 3
                                                                            v.
                                                                      Emanuel Claitt
                                                                   CASE INFORMATION
Judge Assigned: Katz, Leon                                                        Date Filed: 08/14/1980                  Initiation Date: 08/14/1980
OTN:                                  LOTN:                                       Originating Docket No: MC-51-CR-1234881-1979
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Legacy Microfilm Number                                                         81026824
       Police Incident Number                                                          8014000991
       District Control Number                                                         8014000991
       Legacy Docket Number                                                            C8008132811
                                                                     STATUS INFORMATION
Case Status:        Closed                     Status Date              Processing Status                                                Arrest Date:       01/06/1980
                                               09/17/1981               Completed
                                               08/14/1980               Migrated Case (Active)

                                                                                                                                    Complaint Date:         08/14/1980

                                                                        CALENDAR EVENTS
 Case Calendar                  Schedule          Start             Room                           Judge Name                                    Schedule
 Event Type                     Start Date        Time                                                                                           Status
 Bail Forfeiture- Filed         06/06/2014         9:00 am                                                                                       Scheduled
 Bail Forfeiture-               06/30/2014         9:00 am                                                                                       Scheduled
 Review
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emanuel

CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 347
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      392 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               237 of 467

                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                            Docket Number: CP-51-CR-0813281-1980
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                  Commonwealth of Pennsylvania
                                                                                                                                                                Page 2 of 3
                                                                              v.
                                                                        Emanuel Claitt
                                                                         CHARGES
     Seq.        Orig Seq.       Grade      Statute                        Statute Description                                       Offense Dt.       OTN
     3            3                         35 § 780-113 §§ A16            KNOWING/INTENTIONALLY POSS                                01/05/1980
                                                                           CONTROLLED SUBST
                                                            DISPOSITION SENTENCING/PENALTIES
Disposition
    Case Event                                                               Disposition Date                                Final Disposition
      Sequence/Description                                                     Offense Disposition                               Grade       Section
         Sentencing Judge                                                        Sentence Date                                       Credit For Time Served
            Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                 Sentence Conditions

Migrated Disposition
    Migrated Dispositional Event                                             09/17/1981                                      Final Disposition
      3 / KNOWING/INTENTIONALLY POSS CONTROLLED                                Guilty Plea                                                    35 § 780-113 §§ A16
      SUBST
         Katz, Leon                                                                09/17/1981
            Confinement

    COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
    Name:               Philadelphia County District Attorney's                      Name:          Myron H. Deutsch
                        Office                                                                      Private
                        Prosecutor                                                   Supreme Court No:      012362
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                         Address:
         3 South Penn Square                                                               Deutsch, Larrimore & Farnish
         Philadelphia, PA 19107                                                            2100 Arch Street 5th Floor
                                                                                           Philadelphia, PA 19103
                                                                                     Representing: Claitt, Emanuel


                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 08/14/1980                                                                       Unknown Filer
    Held for Court


1                                 09/17/1981                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                 09/17/1981                                                                       Migrated, Filer
    Disposition Filed

CPCMS 9082                                                                                                                                                 Printed: 04/13/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 348
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      393 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              238 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                           Docket Number: CP-51-CR-0813281-1980
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                            Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                               Page 3 of 3
                                                                             v.
                                                                       Emanuel Claitt
                                                                        ENTRIES
Sequence Number                  CP Filed Date                     Document Date                                  Filed By


3                                09/17/1981                                                                       Migrated, Filer
    Migrated Sentence


1                                06/06/2014                                                                       Claitt, Emanuel
    Motion to Vacate Bail Judgment Filed


1                                07/24/2014                                                                       Bozzacco, Glenn
    Order Granting Motion to Vacate Bail Judgment Filed




CPCMS 9082                                                                                                                                                Printed: 04/13/2020

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                               Pa 349
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      394 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              239 of 467

                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0820931-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 3
                                                                            v.
                                                                     Emanuel M Claitt
                                                                   CASE INFORMATION
Judge Assigned: Katz, Leon                                                        Date Filed: 08/26/1980                  Initiation Date: 08/26/1980
OTN: Z 475879-5                       LOTN:                                       Originating Docket No: MC-51-CR-0805451-1980
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Police Incident Number                                                          7935097848
       Legacy Microfilm Number                                                         81027198
       District Control Number                                                         7935097848
       Legacy Docket Number                                                            C8008209311
                                                                     STATUS INFORMATION
Case Status:        Closed                     Status Date              Processing Status                                                Arrest Date:       08/08/1980
                                               09/17/1981               Completed
                                               08/26/1980               Migrated Case (Active)

                                                                                                                                    Complaint Date:         08/26/1980

                                                                        CALENDAR EVENTS
 Case Calendar                  Schedule          Start             Room                           Judge Name                                    Schedule
 Event Type                     Start Date        Time                                                                                           Status
 Bail Forfeiture- Filed         06/06/2014         9:00 am                                                                                       Scheduled
 Bail Forfeiture-               06/30/2014         9:00 am                                                                                       Scheduled
 Review
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emanuel M.

CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 350
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      395 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               240 of 467

                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                            Docket Number: CP-51-CR-0820931-1980
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                  Commonwealth of Pennsylvania
                                                                                                                                                                Page 2 of 3
                                                                              v.
                                                                       Emanuel M Claitt
                                                                         CHARGES
     Seq.        Orig Seq.       Grade      Statute                        Statute Description                                       Offense Dt.       OTN
     8            8                         18 § 903                       CRIMINAL CONSPIRACY                                       11/11/1979        Z 475879-5
                                                            DISPOSITION SENTENCING/PENALTIES
Disposition
    Case Event                                                               Disposition Date                                Final Disposition
      Sequence/Description                                                     Offense Disposition                               Grade       Section
         Sentencing Judge                                                        Sentence Date                                       Credit For Time Served
            Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                 Sentence Conditions

Migrated Disposition
    Migrated Dispositional Event                                             09/17/1981                                      Final Disposition
      8 / CRIMINAL CONSPIRACY                                                  Guilty Plea                                                    18 § 903
         Katz, Leon                                                                09/17/1981
            Confinement                                                              Min of 1.00 Years

    COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
    Name:               Philadelphia County District Attorney's                      Name:          Myron H. Deutsch
                        Office                                                                      Private
                        Prosecutor                                                   Supreme Court No:      012362
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                         Address:
         3 South Penn Square                                                               Deutsch, Larrimore & Farnish
         Philadelphia, PA 19107                                                            2100 Arch Street 5th Floor
                                                                                           Philadelphia, PA 19103
                                                                                     Representing: Claitt, Emanuel M.


                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 08/26/1980                                                                       Unknown Filer
    Held for Court


1                                 09/17/1981                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                 09/17/1981                                                                       Migrated, Filer
    Disposition Filed




CPCMS 9082                                                                                                                                                 Printed: 04/13/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 351
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      396 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              241 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                           Docket Number: CP-51-CR-0820931-1980
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                            Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                               Page 3 of 3
                                                                             v.
                                                                      Emanuel M Claitt
                                                                        ENTRIES
Sequence Number                  CP Filed Date                     Document Date                                  Filed By

3                                09/17/1981                                                                       Migrated, Filer
    Migrated Sentence


1                                11/16/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                11/30/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                02/02/2011                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Delinquency Notice Filed - 52 Days Overdue


1                                06/06/2014                                                                       Claitt, Emanuel M.
    Motion to Vacate Bail Judgment Filed


1                                07/24/2014                                                                       Bozzacco, Glenn
    Order Granting Motion to Vacate Bail Judgment Filed

                                                               CASE FINANCIAL INFORMATION
                     Last Payment Date:                                                                                                Total of Last Payment:
    Claitt, Emanuel M.                                           Assessment                Payments            Adjustments          Non Monetary                    Total
       Defendant                                                                                                                       Payments
    Costs/Fees
    Bail Assessment (Philadelphia) (UDS)                           $9,000.00                   $0.00            ($9,000.00)                  $0.00                 $0.00
    Bail Forfeiture - Municipality                                 $9,000.00                   $0.00            ($9,000.00)                  $0.00                 $0.00
    Bail Judgment (Philadelphia)                                   $9,000.00                   $0.00            ($9,000.00)                  $0.00                 $0.00

                                     Costs/Fees Totals:           $27,000.00                   $0.00           ($27,000.00)                  $0.00                 $0.00

                                         Grand Totals:            $27,000.00                   $0.00           ($27,000.00)                  $0.00                 $0.00

       ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                                Printed: 04/13/2020

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                               Pa 352
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      397 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              242 of 467

                       COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: CP-51-CR-1107131-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                          Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                             Page 1 of 5
                                                                            v.
                                                                     Emmanuel Claitt
                                                                  CASE INFORMATION
Judge Assigned: Anderson, Levy                                                   Date Filed: 11/07/1980                  Initiation Date: 11/07/1980
OTN:                                  LOTN:                                      Originating Docket No: MC-51-CR-0512961-1980
Initial Issuing Authority:                                                       Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                        Case Local Number(s)
       Police Incident Number                                                         8035025356
       Legacy Microfilm Number                                                        82015467
       District Control Number                                                        8035025356
       Legacy Docket Number                                                           C8011071311
                                                                    STATUS INFORMATION
Case Status:        Closed                     Status Date              Processing Status                                               Arrest Date:       05/16/1980
                                               04/13/1982               Completed
                                               11/07/1980               Migrated Case (Active)

                                                                                                                                   Complaint Date:         11/07/1980

                                                                       CALENDAR EVENTS
 Case Calendar                  Schedule          Start            Room                           Judge Name                                    Schedule
 Event Type                     Start Date        Time                                                                                          Status
 Bail Forfeiture- Filed         06/06/2014        9:00 am                                                                                       Scheduled
 Bail Forfeiture-               06/30/2014        9:00 am                                                                                       Scheduled
 Review
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                      Name
Defendant                                             Claitt, Emmanuel

CPCMS 9082                                                                                                                                              Printed: 09/04/2016

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 353
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      398 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              243 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                            DOCKET
                                                                                                        Docket Number: CP-51-CR-1107131-1980
                                                                                                                               CRIMINAL DOCKET
                                                                                                                                                         Court Case


                                                               Commonwealth of Pennsylvania
                                                                                                                                                            Page 2 of 5
                                                                           v.
                                                                    Emmanuel Claitt
                                                                     CHARGES
Seq.         Orig Seq.     Grade     Statute                        Statute Description                                        Offense Dt.        OTN
1            1                          18 § 2705                   RECKLESSLY ENDANGERING ANOTHER                             04/05/1980
                                                                    PERSON
2            2                          18 § 2706                   TERRORISTIC THREATS                                        04/05/1980
3            3                          18 § 903                    CRIMINAL CONSPIRACY                                        04/05/1980
4            4                          18 § 2702                   AGGRAVATED ASSAULT                                         04/05/1980
5            5                          18 § 2701                   SIMPLE ASSAULT                                             04/05/1980
6            6                          18 § 6106                   CARRYING FIREARMS WITHOUT LICENSE                          04/05/1980
7            7                          18 § 6106                   FIREARMS WITHOUT LICENSE-IN AUTO                           04/05/1980
8            8                          18 § 6108                   CARRYING FIRE ARMS/PUBLIC STREET                           04/05/1980
                                                                    OR PLACE
9            9                          18 § 907                    POSSESSING INSTRUMENTS OF CRIME                            04/05/1980
10           10                         18 § 907                    POSSESSING INSTRUMENTS OF CRIME                            04/05/1980
                                                                    WEAPON
11           11                         18 § 3921                   THEFT BY UNLAWFUL TAKING OR                                04/05/1980
                                                                    DISPOSITION
12           12                         18 § 3925                   THEFT BY RECEIVING STOLEN                                  04/05/1980
                                                                    PROPERTY
13           13                         18 § 3701                   ROBBERY                                                    04/05/1980
                                                        DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                              Disposition Date                              Final Disposition
    Sequence/Description                                                    Offense Disposition                             Grade       Section
       Sentencing Judge                                                       Sentence Date                                      Credit For Time Served
         Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                Start Date
                  Sentence Conditions

Migrated Disposition
  Migrated Dispositional Event                                            04/13/1982                                    Final Disposition
     1 / RECKLESSLY ENDANGERING ANOTHER                                      Nolle Prossed                                                18 § 2705
     PERSON
        Anderson, Levy                                                          04/13/1982
     2 / TERRORISTIC THREATS                                                 Nolle Prossed                                                18 § 2706
       Anderson, Levy                                                           04/13/1982
     3 / CRIMINAL CONSPIRACY                                                 Nolle Prossed                                                18 § 903
       Anderson, Levy                                                           04/13/1982
     4 / AGGRAVATED ASSAULT                                                  Nolle Prossed                                                18 § 2702
       Anderson, Levy                                                           04/13/1982
     5 / SIMPLE ASSAULT                                                      Nolle Prossed                                                18 § 2701
       Anderson, Levy                                                           04/13/1982

CPCMS 9082                                                                                                                                             Printed: 09/04/2016

          Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial
          System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
         data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                             Pa 354
         only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                        Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                    Case:
                   Case   20-1941 Document:
                        2:20-cv-02675-PBT    1-1 Page:
                                          Document      399 06/05/20
                                                   2-1 Filed  Date Filed:
                                                                      Page05/07/2020
                                                                            244 of 467

                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: CP-51-CR-1107131-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                          Court Case


                                                             Commonwealth of Pennsylvania
                                                                                                                                                             Page 3 of 5
                                                                         v.
                                                                   Emmanuel Claitt
                                                         DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                               Final Disposition
    Sequence/Description                                                     Offense Disposition                              Grade       Section
      Sentencing Judge                                                         Sentence Date                                      Credit For Time Served
          Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                Start Date
               Sentence Conditions

    6 / CARRYING FIREARMS WITHOUT LICENSE                                     Nolle Prossed                                                18 § 6106
      Anderson, Levy                                                             04/13/1982
    7 / FIREARMS WITHOUT LICENSE-IN AUTO                                      Nolle Prossed                                                18 § 6106
      Anderson, Levy                                                             04/13/1982
    8 / CARRYING FIRE ARMS/PUBLIC STREET OR                                   Nolle Prossed                                                18 § 6108
    PLACE
       Anderson, Levy                                                            04/13/1982
    9 / POSSESSING INSTRUMENTS OF CRIME                                       Nolle Prossed                                                18 § 907
      Anderson, Levy                                                             04/13/1982
    10 / POSSESSING INSTRUMENTS OF CRIME                                      Nolle Prossed                                                18 § 907
    WEAPON
      Anderson, Levy                                                             04/13/1982
    11 / THEFT BY UNLAWFUL TAKING OR DISPOSITION                              Nolle Prossed                                                18 § 3921
      Anderson, Levy                                                             04/13/1982
    12 / THEFT BY RECEIVING STOLEN PROPERTY                                   Nolle Prossed                                                18 § 3925
      Anderson, Levy                                                             04/13/1982
    13 / ROBBERY                                                              Nolle Prossed                                                18 § 3701
      Anderson, Levy                                                             04/13/1982

  COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
  Name:             Philadelphia County District Attorney's                        Name:          Myron H. Deutsch, Esq.
                    Office                                                                        Private
                    Prosecutor                                                     Supreme Court No:      012362
  Supreme Court No:                                                                Rep. Status:                  Active
  Phone Number(s):                                                                 Phone Number(s):
      215-686-8000            (Phone)                                                  215-567-2693              (Phone)
  Address:                                                                         Address:
       3 South Penn Square                                                               Deutsch, Larrimore & Farnish
       Philadelphia, PA 19107                                                            2100 Arch Street 5th Floor
                                                                                         Philadelphia, PA 19103
                                                                                  Representing: Claitt, Emmanuel




CPCMS 9082                                                                                                                                              Printed: 09/04/2016

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 355
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      400 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              245 of 467

                        COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                          Docket Number: CP-51-CR-1107131-1980
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                              Page 4 of 5
                                                                             v.
                                                                      Emmanuel Claitt
                                                                        ENTRIES
Sequence Number                  CP Filed Date                     Document Date                                  Filed By

1                                11/07/1980                                                                       Unknown Filer
    Held for Court


1                                04/13/1982                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                04/13/1982                                                                       Migrated, Filer
    Disposition Filed


3                                04/13/1982                                                                       Migrated, Filer
    Migrated Sentence


1                                11/16/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                11/30/2010                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Payment Plan Introduction Letter


1                                02/02/2011                                                                       Court of Common Pleas -
                                                                                                                  Philadelphia County
    Delinquency Notice Filed - 52 Days Overdue


1                                06/06/2014                                                                       Claitt, Emmanuel
    Motion to Vacate Bail Judgment Filed
        Motion to Vacate Bail Judgment Filed on behalf of Emmanuel Claitt.


1                                07/24/2014                                                                       Bozzacco, Glenn
    Order Granting Motion to Vacate Bail Judgment Filed
      On 07/24/2014, upon consideration of the Motion to Vacate or Reduce Bail Judgment filed on 06/06/2014, it is
      ordered that the bail forfeiture and bail judgment are vacated in full. The defendant attests under penalty of
      falsification to authorities that the defendant failed to appear on the above date because the defendant was
      incarcerated, and incarceration records are not available.

      This Order will become final unless within 30 days of the date the Order was docketed and mailed the Petitioner
      files a request for a hearing by a Court Designated Bail Authority Reviewing Officer with the Clerk of Courts,
      Room 310, 1301 Filbert St, Phila. PA 19107.

      Honorable Sheila A. Woods-Skipper, President Judge, Court of Common Pleas
      For the Court: Glenn S. Bozzacco, Esq., Reviewing Officer

CPCMS 9082                                                                                                                                               Printed: 09/04/2016

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                               Pa 356
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                    Case:
                   Case   20-1941 Document:
                        2:20-cv-02675-PBT    1-1 Page:
                                          Document      401 06/05/20
                                                   2-1 Filed  Date Filed:
                                                                      Page05/07/2020
                                                                            246 of 467

                     COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: CP-51-CR-1107131-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                          Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                             Page 5 of 5
                                                                            v.
                                                                     Emmanuel Claitt
                                                                       ENTRIES
Sequence Number                 CP Filed Date                     Document Date                                  Filed By


                                                              CASE FINANCIAL INFORMATION
                    Last Payment Date:                                                                                               Total of Last Payment:
   Claitt, Emmanuel                                             Assessment                Payments            Adjustments         Non Monetary                   Total
      Defendant                                                                                                                      Payments
   Costs/Fees
   Bail Assessment (Philadelphia) (UDS)                          $22,500.00                    $0.00          -$22,500.00                   $0.00                $0.00
   Bail Forfeiture - Municipality                                $22,500.00                    $0.00          -$22,500.00                   $0.00                $0.00
   Bail Judgment (Philadelphia)                                  $22,500.00                    $0.00          -$22,500.00                   $0.00                $0.00

                                    Costs/Fees Totals:           $67,500.00                    $0.00          -$67,500.00                   $0.00                $0.00

                                        Grand Totals:            $67,500.00                    $0.00          -$67,500.00                   $0.00                $0.00

      ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                              Printed: 09/04/2016

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets. Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 357
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      402 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              247 of 467

                                MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                         Docket Number: MC-51-CR-0910651-1980
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 2
                                                                            v.
                                                                     Emmanuel M Claitt
                                                                   CASE INFORMATION
Cross Court Docket Nos: CP-51-CR-0916561-1980
Judge Assigned: Cadran, Francis P.                                                Date Filed: 09/10/1980                  Initiation Date: 09/10/1980
OTN: Z 475880-6                       LOTN:                                       Originating Docket No:
Initial Issuing Authority:                                                        Final Issuing Authority: Francis P. Cadran
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Police Incident Number                                                          8035071776
       District Control Number                                                         8035071776
       Legacy Docket Number                                                            M8009106511
                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       09/10/1980
                                               09/18/1980               Completed
                                               09/10/1980               Migrated Case (Active)

                                                                                                                                    Complaint Date:         09/10/1980
                                                               DEFENDANT INFORMATION
Date Of Birth:                    02/05/1955                 City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel M.
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emmanuel M.

                                                                             CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                      Offense Dt.        OTN
   4             4                        18 § 907                       POSSESSING INSTRUMENTS OF CRIME                          08/20/1980         Z 475880-6
                                                                         WEAPON
   5             5                        18 § 908.1                     PROHIBITED OFFENSIVE WEAPONS                             08/20/1980         Z 475880-6


CPCMS 9082                                                                                                                                               Printed: 04/13/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 358
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      403 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               248 of 467

                                  MUNICIPAL COURT OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                           Docket Number: MC-51-CR-0910651-1980
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                                Page 2 of 2
                                                                            v.
                                                                     Emmanuel M Claitt
                                                            DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                                 Disposition Date                                Final Disposition
    Sequence/Description                                                       Offense Disposition                               Grade       Section
        Sentencing Judge                                                         Sentence Date                                       Credit For Time Served
            Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                 Start Date
                 Sentence Conditions

Held for Court                Defendant Was Not Present
    Migrated Dispositional Event                                             09/18/1980                                      Final Disposition
      4 / POSSESSING INSTRUMENTS OF CRIME WEAPON                               Held for Court                                                 18 § 907
        Cadran, Francis P.                                                         09/18/1980
      5 / PROHIBITED OFFENSIVE WEAPONS                                          Held for Court                                                18 § 908.1
        Cadran, Francis P.                                                         09/18/1980

    COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
    Name:             Philadelphia County District Attorney's                        Name:          Myron H. Deutsch
                      Office                                                                        Private
                      Prosecutor                                                     Supreme Court No:      012362
    Supreme Court No:                                                                Rep. Status:                   Active
    Phone Number(s):                                                                 Phone Number(s):
        215-686-8000            (Phone)                                                  215-567-2693               (Phone)
    Address:                                                                         Address:
         3 South Penn Square                                                               Deutsch, Larrimore & Farnish
         Philadelphia, PA 19107                                                            2100 Arch Street 5th Floor
                                                                                           Philadelphia, PA 19103
                                                                                     Representing: Claitt, Emmanuel M.


                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 09/10/1980
    PARS Transfer


1                                 09/18/1980
    Migrated Automatic Registry Entry (Disposition) Text


2                                 09/18/1980
    Migrated Sentence




CPCMS 9082                                                                                                                                                 Printed: 04/13/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 359
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                     Case:
                    Case   20-1941 Document:
                         2:20-cv-02675-PBT    1-1 Page:
                                           Document      404 06/05/20
                                                    2-1 Filed  Date Filed:
                                                                       Page05/07/2020
                                                                             249 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0513651-1989
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                              Page 1 of 4
                                                                            v.
                                                                     Emanuel M Claitt
                                                                   CASE INFORMATION
Judge Assigned: Guarino, Angelo A.                                                Date Filed: 05/10/1989                  Initiation Date: 05/10/1989
OTN: M 395039-1                       LOTN:                                       Originating Docket No: MC-51-CR-0500271-1989
Initial Issuing Authority:                                                        Final Issuing Authority:
Arresting Agency: Philadelphia Pd                                                 Arresting Officer: Affiant
Complaint/Incident #:
Case Local Number Type(s)                                                         Case Local Number(s)
       Police Incident Number                                                          8914031724
       Legacy Microfilm Number                                                         91060193
       District Control Number                                                         8914031724
       Legacy Docket Number                                                            C8905136511

                                                                        RELATED CASES

    Related Docket No                   Related Case Caption                                      Related Court                 Association Reason
    Joined Codefendant Cases
    CP-51-CR-0822791-1989               Comm. v. Morgan,jr., Thomas                               CP-01-51-Crim                 Joined Codefendant Cases

                                                                     STATUS INFORMATION
Case Status:      Closed                       Status Date              Processing Status                                                Arrest Date:       05/01/1989
                                               10/23/1991               Completed
                                               05/10/1989               Migrated Case (Active)

                                                                                                                                    Complaint Date:         05/10/1989

                                                                        CALENDAR EVENTS
 Case Calendar                  Schedule          Start             Room                           Judge Name                                    Schedule
 Event Type                     Start Date        Time                                                                                           Status
 Payment Plan                   04/08/2015         1:00 pm          1104                                                                         Scheduled
 Conference




CPCMS 9082                                                                                                                                               Printed: 04/15/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 360
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      405 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              250 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                             DOCKET
                                                                                                          Docket Number: CP-51-CR-0513651-1989
                                                                                                                                CRIMINAL DOCKET
                                                                                                                                                           Court Case


                                                               Commonwealth of Pennsylvania
                                                                                                                                                              Page 2 of 4
                                                                           v.
                                                                    Emanuel M Claitt
                                                               DEFENDANT INFORMATION
Date Of Birth:                     02/05/1955                City/State/Zip: PHILA., PA 19144

Alias Name
CLAITT, EMANUAL
Clait, Emanuel
Claitt, Emanuel
Claitt, Emanuel Michael
Claitt, Emanuel Michael
Claitt, Emmanuel
Claitt, Emmanuel M.
Cliatt, Emanuel M.
Cliatt, Emmanuel
Elaitt, Emanuel M.
Rivers, Barry

                                                                     CASE PARTICIPANTS
Participant Type                                       Name
Defendant                                              Claitt, Emanuel M.

                                                                             CHARGES
   Seq.          Orig Seq.    Grade       Statute                        Statute Description                                        Offense Dt.      OTN
   3             3            M1          18 § 907                       POSSESSING INSTRUMENTS OF CRIME                            04/30/1989       M 395039-1
                                                                         WEAPON
   6             6            F1          18 § 3701                      ROBBERY                                                    04/30/1989       M 395039-1
   8             8            F2          18 § 903                       CRIMINAL CONSPIRACY                                        04/30/1989       M 395039-1
                                                          DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                               Disposition Date                               Final Disposition
    Sequence/Description                                                     Offense Disposition                              Grade       Section
       Sentencing Judge                                                        Sentence Date                                        Credit For Time Served
          Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                  Start Date
                 Sentence Conditions

Migrated Disposition
  Migrated Dispositional Event                                             10/23/1991                                     Final Disposition
    3 / POSSESSING INSTRUMENTS OF CRIME WEAPON                               Guilty Plea                                      M1          18 § 907
       Guarino, Angelo A.                                                        10/23/1991
          Confinement                                                              Min of 1.00 Years
                                                                                   Max of 2.00 Years
    6 / ROBBERY                                                               Guilty Plea                                      F1           18 § 3701
       Guarino, Angelo A.                                                        10/23/1991
          Confinement                                                              Min of 5.00 Years
                                                                                   Max of 10.00 Years
CPCMS 9082                                                                                                                                               Printed: 04/15/2020

           Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
           System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
          data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                              Pa 361
          only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                         Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                       Case:
                      Case   20-1941 Document:
                           2:20-cv-02675-PBT    1-1 Page:
                                             Document      406 06/05/20
                                                      2-1 Filed  Date Filed:
                                                                         Page05/07/2020
                                                                               251 of 467

                         COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                               DOCKET
                                                                                                            Docket Number: CP-51-CR-0513651-1989
                                                                                                                                  CRIMINAL DOCKET
                                                                                                                                                             Court Case


                                                                Commonwealth of Pennsylvania
                                                                                                                                                                Page 3 of 4
                                                                            v.
                                                                      Emanuel M Claitt
                                                            DISPOSITION SENTENCING/PENALTIES
Disposition
  Case Event                                                                 Disposition Date                                Final Disposition
    Sequence/Description                                                       Offense Disposition                               Grade       Section
        Sentencing Judge                                                         Sentence Date                                        Credit For Time Served
            Sentence/Diversion Program Type                                           Incarceration/Diversionary Period                  Start Date
                 Sentence Conditions

      8 / CRIMINAL CONSPIRACY                                                   Guilty Plea                                      F2           18 § 903
        Guarino, Angelo A.                                                         10/23/1991
            Confinement                                                              Min of 1.00 Years
                                                                                     Max of 2.00 Years

    COMMONWEALTH INFORMATION                                                         ATTORNEY INFORMATION
    Name:               Philadelphia County District Attorney's                      Name:                Defender Association of
                        Office                                                                            Philadelphia
                        Prosecutor                                                                        Public Defender
    Supreme Court No:                                                                Supreme Court No:
    Phone Number(s):                                                                 Rep. Status:                   Active
        215-686-8000            (Phone)                                              Phone Number(s):
    Address:                                                                         Address:
        3 South Penn Square
        Philadelphia, PA 19107
                                                                                ENTRIES
Sequence Number                   CP Filed Date                     Document Date                                  Filed By

1                                 05/10/1989                                                                       Unknown Filer
    Held for Court


1                                 10/23/1991                                                                       Migrated, Filer
    Migrated Automatic Registry Entry (Disposition) Text


2                                 10/23/1991                                                                       Migrated, Filer
    Disposition Filed


3                                 10/23/1991                                                                       Migrated, Filer
    Migrated Sentence


1                                 07/12/2009                                                                       Court of Common Pleas -
                                                                                                                   Philadelphia County
    Delinquency Notice Filed - 925 Days Overdue


1                                 12/01/2011                                                                       Claitt, Emanuel M.
    Refer to New Agency - Collections Continued


CPCMS 9082                                                                                                                                                 Printed: 04/15/2020

             Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
             System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
            data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 362
            only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                           Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
                      Case:
                     Case   20-1941 Document:
                          2:20-cv-02675-PBT    1-1 Page:
                                            Document      407 06/05/20
                                                     2-1 Filed  Date Filed:
                                                                        Page05/07/2020
                                                                              252 of 467

                      COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                                                                              DOCKET
                                                                                                           Docket Number: CP-51-CR-0513651-1989
                                                                                                                                 CRIMINAL DOCKET
                                                                                                                                                            Court Case


                                                                 Commonwealth of Pennsylvania
                                                                                                                                                               Page 4 of 4
                                                                             v.
                                                                      Emanuel M Claitt
                                                                        ENTRIES
Sequence Number                  CP Filed Date                     Document Date                                   Filed By


1                                12/07/2012                                                                        Claitt, Emanuel M.
    Return Case From Collection Agency - Court Request/Order

                                                                  PAYMENT PLAN SUMMARY
Payment Plan No                        Payment Plan Freq.                       Next Due Date                 Active                                       Overdue Amt
Responsible Participant                                                                                       Suspended                                   Next Due Amt
51-2006-P100348439                     Monthly                                  12/30/2006                   Yes                                                   $641.00
                                                                                                             No                                                     $10.00

                    Payment Plan History:        Receipt Date                            Payor Name                      Participant Role                          Amount
                                                 09/11/2007        Payment               State Correctional Institution @Payor
                                                                                                                          Cresson                                   $30.00
                                                 06/01/2009        Payment               CVCF                            Payor                                      $60.00

                                                               CASE FINANCIAL INFORMATION
                     Last Payment Date: 09/11/2007                                                                            Total of Last Payment: -$30.00
    Claitt, Emanuel M.                                           Assessment                Payments            Adjustments          Non Monetary                     Total
       Defendant                                                                                                                       Payments
    Costs/Fees
    Crime Victims Compensation (Act 96 of                              $15.00                ($15.00)                  $0.00                 $0.00                  $0.00
    1984)
    Domestic Violence Compensation (Act                                $10.00                  $0.00                   $0.00                 $0.00                 $10.00
    44 of 1988)
    Judicial Computer Project                                           $5.00                  $0.00                   $0.00                 $0.00                  $5.00
    Crimes Commission Cost (Act 96 of                                  $15.00                ($15.00)                  $0.00                 $0.00                  $0.00
    1984)
    Collection Fee (Philadelphia)                                       $2.52                  $0.00                   ($2.52)               $0.00                  $0.00
    Bail Assessment (Philadelphia) (UDS)                           $9,000.00                   $0.00            ($9,000.00)                  $0.00                  $0.00
    Attorney Collection Fee 9 (Philadelphia)                       $2,253.75                   $0.00            ($2,253.75)                  $0.00                  $0.00
    Bail Forfeiture - Municipality                                 $9,000.00                   $0.00            ($9,000.00)                  $0.00                  $0.00
    Bail Judgment (Philadelphia)                                   $9,000.00                   $0.00            ($9,000.00)                  $0.00                  $0.00

                                     Costs/Fees Totals:           $29,301.27                 ($30.00)          ($29,256.27)                  $0.00                 $15.00

                                         Grand Totals:            $29,301.27                 ($30.00)          ($29,256.27)                  $0.00                 $15.00

       ** - Indicates assessment is subrogated




CPCMS 9082                                                                                                                                                Printed: 04/15/2020

            Recent entries made in the court filing offices may not be immediately reflected on these docket sheets . Neither the courts of the Unified Judicial
            System of the Commonwealth of Pennsylvania nor the Administrative Office of Pennsylvania Courts assume any liability for inaccurate or delayed
           data, errors or omissions on these reports. Docket Sheet information should not be used in place of a criminal history background check which can

                                                                                Pa 363
           only be provided by the Pennsylvania State Police. Moreover an employer who does not comply with the provisions of the Criminal History Record
                                          Information Act may be subject to civil liability as set forth in 18 Pa.C.S. Section 9183.
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      408 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            253 of 467




                              Exhibit K
Letter From Assistant District Attorney Leonard Ross to Judge
                 Leon Katz, January 5, 1981




                                 Pa 364
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      409 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         254 of 467




                              Pa 365
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      410 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         255 of 467




                              Pa 366
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      411 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            256 of 467




                              Exhibit L
Transcript of Emanuel Claitt's Sentencing Hearing Before Judge
           Leon Katz, September 17, 1981 (Excerpts)




                                 Pa 367
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      412 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         257 of 467




                              Pa 368
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      413 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         258 of 467




                              Pa 369
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      414 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         259 of 467




                              Pa 370
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      415 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         260 of 467




                              Pa 371
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      416 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         261 of 467




                              Pa 372
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      417 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         262 of 467




                              Pa 373
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      418 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         263 of 467




                              Pa 374
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      419 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         264 of 467




                              Pa 375
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      420 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         265 of 467




                              Pa 376
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      421 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         266 of 467




                              Pa 377
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      422 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         267 of 467




                              Pa 378
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      423 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         268 of 467




                              Pa 379
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      424 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         269 of 467




                              Pa 380
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      425 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         270 of 467




                              Pa 381
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      426 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         271 of 467




                              Pa 382
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      427 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         272 of 467




                              Pa 383
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      428 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         273 of 467




                              Pa 384
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      429 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         274 of 467




                              Pa 385
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      430 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         275 of 467




                              Pa 386
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      431 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          276 of 467




                            Exhibit M
Letter From Homicide Unit Chief Arnold Gordon to Parole
               Board, January 31, 1984




                               Pa 387
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      432 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         277 of 467




                              Pa 388
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      433 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         278 of 467




                              Pa 389
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      434 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            279 of 467




                              Exhibit N
Letter From District Attorney Edward Rendell to Judge John L.
                 Chiovero, February 18, 1984




                                 Pa 390
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      435 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         280 of 467




                              Pa 391
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      436 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            281 of 467




                              Exhibit O
Letter From Homicide Unit Assistant Chief Jeffrey A. Brodkin
             to Parole Board, October 25, 1984




                                 Pa 392
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      437 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         282 of 467




                              Pa 393
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      438 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            283 of 467




                              Exhibit P
Commonwealth v. Tillery, No. 3297 Philadelphia 1986, 563A.2d
    195 (Pa. Super. 1989) (unpublished memorandum)




                                 Pa 394
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      439 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         284 of 467




                              Pa 395
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      440 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         285 of 467




                              Pa 396
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      441 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         286 of 467




                              Pa 397
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      442 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         287 of 467




                              Pa 398
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      443 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         288 of 467




                              Pa 399
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      444 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         289 of 467




                              Pa 400
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      445 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         290 of 467




                              Pa 401
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      446 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         291 of 467




                              Pa 402
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      447 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         292 of 467




                              Pa 403
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      448 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         293 of 467




                              Pa 404
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      449 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         294 of 467




                              Pa 405
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      450 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         295 of 467




                              Pa 406
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      451 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         296 of 467




                              Pa 407
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      452 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         297 of 467




                           Exhibit Q
 Petitioner's 1996 PCRA Petition, September 20, 1996




                              Pa 408
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      453 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         298 of 467




                              Pa 409
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      454 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         299 of 467




                              Pa 410
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      455 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         300 of 467




                              Pa 411
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      456 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         301 of 467




                              Pa 412
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      457 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         302 of 467




                              Pa 413
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      458 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         303 of 467




                              Pa 414
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      459 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         304 of 467




                              Pa 415
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      460 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            305 of 467




                              Exhibit R
Commonwealth v. Tillery, No. 523 Philadelphia 1998, 742 A.2d
    1055 (Pa. Super. 1999) (unpublished memorandum)




                                 Pa 416
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      461 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         306 of 467




                              Pa 417
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      462 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         307 of 467




                              Pa 418
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      463 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         308 of 467




                              Pa 419
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      464 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          309 of 467




                            Exhibit S
District Court's Order Denying Petitioner's First Petition for
                Habeas Corpus, July 30, 2003




                               Pa 420
     Case:
    Case
      Case 20-1941    Document:
         2:20-cv-02675-PBT
            2:99-cv-06516-BWK   1-1 Page:
                            Document
                                Document   465
                                     2-178Filed
                                             Filed Date Filed:
                                                06/05/20
                                                   07/29/03Page05/07/2020
                                                             Page310
                                                                   1 of 2
                                                                        467



                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR TILLERY                       :           CIVIL ACTION
                                    :
     Petitioner                     :
                                    :
     v.                             :
                                    :
MARTIN HORN, at al.                 :
                                    :           NO.    99-6516
                                    :
     Respondent                     :
                                    :

                                 O R D E R

            AND NOW, this       day of July, 2003, upon

reconsideration of Petitioner’s Habeas Petition it is hereby

ORDERED that this Court’s October 30, 2000, Order approving and

adopting U.S. Magistrate Melinson’s Report and Recommendation is

reaffirmed.

            Pursuant to the Circuit Court’s August 23, 2003, Order,

this Court held hearings on April 23, 2003 and May 28, 2003, at

which time Petitioner, who was represented by counsel, was given

ample opportunity to present evidence showing that this Court

erred in its denial of his ineffective assistance of counsel

claim.    Petitioner failed to present any evidence whatsoever to

satisfy the two prong requirement that the witness, Petitioner

claims should have been called at trial, (1) was available to

testify at the time of trial and (2) would have been beneficial

to the defense.    Therefore, pursuant to Zettlemoyer v. Fulcomer,

923 F.3d 284, 298 (3d. Cir. 1991) and Lewis v. Mazurkiewicz, 915

                                        1



                                    Pa 421
     Case:
      Case
    Case   20-1941    Document:
            2:99-cv-06516-BWK
         2:20-cv-02675-PBT      1-1 Page:
                                Document
                            Document       466
                                     2-178Filed
                                             Filed Date Filed:
                                                   07/29/03
                                                06/05/20       05/07/2020
                                                             Page
                                                           Page    2 of 2
                                                                 311    467



F.2d 106, 115 (3d Cir. 1990), Petitioner’s claim must fail.                   The

Circuit Court is directed to page 58 of the May 28, 2003,

transcript.   Here, Petitioner’s counsel freely admits that

Petitioner was unable to show that the witness in question was

able to testify.     In addition, despite calling Petitioner’s trial

counsel to the stand, Petitioner was unable to show that the

witness’ testimony would have strengthened his case.




           AND IT IS SO ORDERED.



                                          _______________________________
                                          Clarence C. Newcomer, S.J.




                                      2



                                    Pa 422
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      467 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           312 of 467




                             Exhibit T
Opinion of the Court of Appeals, Tillery v. Horn, 142 F.App'x
               66 (3d Cir. 2005) (No. 03-3616)




                                Pa 423
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      468 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              313 of 467




                                                            NOT PRECEDENTIAL

                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT


                                       No. 03-3616


                                 MAJOR TILLERY,

                                            Appellant

                                            v.
                                  MARTIN HORN,
                             Dept. of Penna State Prisons


                   On Appeal from the United States District Court
                      for the Eastern District of Pennsylvania
                            (D.C. Civil No. 99-cv-06516)
                    District Judge: Hon. Clarence C. Newcomer


                                Argued: April 4, 2005

              BEFORE: BARRY, AMBRO and COWEN, Circuit Judges

                                (Filed: July 29, 2005)

Michael J. Confusione, Esq. (Argued)
Hegge & Confusione
9 Tanner Street - West Entry
Haddonfield, NJ 08033

Counsel for Appellant




                                         Pa 424
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      469 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               314 of 467




David C. Glebe, Esq. (Argued)
Office of District Attorney
1421 Arch Street
Philadelphia, PA 19102

Counsel for Appellee


                                        OPINION


COWEN, Circuit Judge.

       Appellant Major Tillery appeals from an order of the District Court denying his

petition for a writ of habeas corpus under 28 U.S.C. § 2254. He argues that the petition

should have been granted because his trial counsel labored under an actual conflict of

interest. We conclude that the claim is procedurally defaulted, and that Tillery has not

established actual prejudice.

                                             I.

       As we write solely for the parties, we briefly review the procedural background.

On May 29, 1985, following a jury trial, Tillery was convicted of first-degree murder and

related crimes. The case arose from an October 22, 1976 shooting incident which

resulted in the death of John Hollis and the wounding of John Pickens. The Pennsylvania

Superior Court affirmed, and on March 5, 1990, the Pennsylvania Supreme Court denied

allocatur.

       On September 20, 1996, Tillery petitioned for collateral relief under the

Pennsylvania Post-Conviction Relief Act, alleging that he was denied effective assistance

                                             2



                                          Pa 425
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      470 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               315 of 467




of counsel under the Sixth Amendment because his trial counsel, Joseph Santaguida,

operated under an actual conflict of interest. Santaguida had represented Tillery at trial,

but was replaced by James Bruno, Esquire, who filed post-verdict motions on Tillery’s

behalf and represented him on direct appeal. The PCRA court dismissed Tillery’s

application, finding his conflict claim procedurally defaulted, and the Superior Court

affirmed. The Pennsylvania Supreme Court denied allocatur.

       Tillery filed the instant petition in the Eastern District of Pennsylvania, asserting

that his trial counsel labored under an actual conflict of interest and was thus

constitutionally ineffective. The District Court dismissed the petition and declined to

issue a certificate of appealability. Tillery next sought relief in this Court, and we

remanded, directing the District Court to permit him to present evidence in support of his

conflict claim. The District Court thereafter held two hearings, but reaffirmed its

previous order denying relief. This appeal ensued.

                                              II.

       The District Court had jurisdiction over Tillery’s habeas petition under 28 U.S.C. §

2254, and we have jurisdiction under 28 U.S.C. § 1291. The District Court’s legal

conclusions, including its resolution of legal questions arising from application of the

procedural default doctrine, are subject to plenary review. Hull v. Kyler, 190 F.3d 88, 97

(3d Cir. 1999).

                                             III.



                                              3



                                           Pa 426
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      471 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               316 of 467




       The Pennsylvania Superior Court concluded that Tillery had waived his actual

conflict claim, finding that he had not raised the claim on direct appeal. The court relied

on 42 Pa. Cons. Stat. Ann. § 9544(b), which states that “an issue is waived if the

petitioner could have raised it but failed to do so . . . on appeal,” as well as that

“‘[i]neffectiveness of trial counsel must be raised at the first opportunity at which the

counsel whose effectiveness is being challenged no longer represents the defendant,’”

(App. at 253 (quoting Commonwealth v. Miller, 564 A.2d 975, 977 (Pa. Super. Ct.

1989))). The state court’s finding of waiver requires us to examine and employ the

federal rules of procedural default.

A. Procedural Default

       Under the doctrine of procedural default, a federal habeas court is prohibited from

considering constitutional claims where a state court has refused to entertain their merits

on the basis of an adequate and independent state procedural rule, see Harris v. Reed, 489

U.S. 255, 262 (1989), unless the habeas petitioner can show “cause” for the default and

“prejudice” attributable thereto, Wainwright v. Sykes, 433 U.S. 72, 87 (1977). A state

procedural rule is “adequate” if it is regularly or consistently applied by the state court,

see Johnson v. Mississippi, 486 U.S. 578, 587 (1988), and is “independent” if it does not

“depend[] on a federal constitutional ruling,” Ake v. Oklahoma, 470 U.S. 68, 75 (1985).

       To avoid waiver of any ineffective assistance of counsel claims, Pennsylvania law

required Tillery to raise such claims “at the earliest stage in the proceedings at which the



                                               4



                                            Pa 427
        Case:
       Case   20-1941 Document:
            2:20-cv-02675-PBT    1-1 Page:
                              Document      472 06/05/20
                                       2-1 Filed  Date Filed:
                                                          Page05/07/2020
                                                                317 of 467




counsel whose effectiveness is being challenged no longer represents the defendant.”

Commonwealth v. Hubbard, 372 A.2d 687, 695 n.6 (Pa. 1977).1 Because Tillery obtained

new counsel following trial, before the filing of post-verdict motions, the Superior Court

recognized that he was obligated to raise all of his ineffective assistance of counsel claims

pertaining to his trial counsel, including that Santaguida labored under an actual conflict,

in post-verdict motions and on direct appeal.

       Tillery challenges the adequacy of the Hubbard rule as applied to his case, arguing

that “the state court never made an ‘adequate’ finding of procedural default because

Tillery did not discover the claim until 1996, when he raised it on post-conviction relief.”

(Appellant’s Br. at 11.) Tillery, however, is conflating concepts of the adequacy and

independence of a state procedural rule with the correctness of the state court’s

application of its own law. Tillery has not furnished any argument or evidence germane

to the adequacy inquiry. See Reynolds v. Ellingsworth, 843 F.2d 712, 719 (3d Cir. 1988).

We have previously determined that the Hubbard rule was an adequate and independent

state procedural rule, see Richardson v. Warden, S.C.I. Huntingdon, 2005 WL 289992 (3d

   1
    The Pennsylvania Supreme Court overruled Hubbard in 2002, holding that “as a
general rule, a petitioner should wait to raise claims of ineffective assistance of trial
counsel until collateral review.” Commonwealth v. Grant, 813 A.2d 726, 738 (Pa. 2002).
Consequently, “any ineffectiveness claim will be waived only after a petitioner has had
the opportunity to raise that claim on collateral review and has failed to avail himself of
that opportunity.” Id. Tillery, however, cannot receive the benefit of this ruling, as the
court further held that the new rule would be applied retroactively to cases currently
pending on direct review in which ineffective assistance claims had been raised and
preserved, but not to cases pending on collateral review. Id. at 738-9 & n.16. Tillery’s
direct and collateral state proceedings had concluded prior to the issuance of Grant.

                                              5



                                          Pa 428
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      473 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               318 of 467




Cir. 2005), and there is no evidence to suggest that it was not an independent and

adequate state procedural rule as applied to Tillery. Instead, Tillery is charging

Pennsylvania with the erroneous application of its own procedural rule, which courts have

repeatedly counseled is not a cognizable claim on habeas. See Lewis v. Jeffers, 497 U.S.

764, 780 (1990) (“[F]ederal habeas corpus relief does not lie for errors of state law.”);

Barnes v. Thompson, 58 F.3d 971, 974 n.2 (4th Cir. 1995). Accordingly, the

Pennsylvania Superior Court’s decision to find Tillery’s Sixth Amendment ineffective

assistance claim waived rested upon application of an independent and adequate state

procedural rule. His conflict of interest claim is procedurally defaulted. We can consider

only whether cause and prejudice exists to excuse the procedural default.

B. Cause and Prejudice

       A federal habeas court may entertain a procedurally defaulted claim if the

petitioner can show “cause for the default and actual prejudice as a result of the alleged

violation of federal law.” Coleman v. Thompson, 501 U.S. 722, 750 (1991). Although

we agree that cause exists to excuse the procedural default, Tillery has not met his burden

in demonstrating actual prejudice.

       Tillery contends that the facts underlying the alleged actual conflict of interest

were not known to him or his appellate counsel at the time of his direct appeal, thus

giving rise to “cause” excusing his default. See Murray v. Carrier, 477 U.S. 478, 488




                                              6



                                           Pa 429
          Case:
         Case   20-1941 Document:
              2:20-cv-02675-PBT    1-1 Page:
                                Document      474 06/05/20
                                         2-1 Filed  Date Filed:
                                                            Page05/07/2020
                                                                  319 of 467




(1986). Our analysis begins with a brief summary of the facts underpinning Tillery’s

claim.

         Tillery’s conflict of interest claim is grounded in allegations that Santaguida also

served as counsel to Pickens, one of the victims of the 1976 shootings, during the trial of

Tillery’s co-defendant, William Franklin. The Commonwealth tried Franklin for the 1976

shootings in 1980, five years prior to trying Tillery. Because Pickens had, according to a

police officer’s notes, identified the shooters as individuals other than Franklin and

Tillery, Franklin attempted to call Pickens as an exculpatory witness. Santaguida

informed Franklin’s attorney that he advised Pickens to invoke his Fifth Amendment right

against self-incrimination and refrain from testifying. The record reflects that, by the time

Franklin actually stood trial in 1980, Pickens had fled the jurisdiction and was unable to

be located, despite extensive efforts by Franklin’s counsel.

         Tillery, represented by Santaguida at his trial in 1985, did not discover that counsel

had represented Pickens in Franklin’s trial until 1996, when he came across the decision

of Commonwealth v. Franklin, 580 A.2d 25 (Pa. Super. Ct. 1990). This decision, which

affirmed the denial of Franklin’s petition for collateral relief, revealed that “Mr.

Santaguida informed trial counsel that because of Mr. Pickens’ involvement in the events

underlying the criminal charges filed against [Franklin], he would have to advise his

client not to testify for [Franklin].” Id. at 29.




                                                7



                                             Pa 430
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      475 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               320 of 467




       At the evidentiary hearing conducted by the District Court, Tillery testified that

Santaguida never disclosed that he formerly represented Pickens at co-defendant

Franklin’s trial. Santaguida could not remember whether he informed Tillery that he had

previously represented Pickens. Thus, the earliest Tillery could have learned of that

representation was in 1990, when the Superior Court issued Commonwealth v. Franklin.

This occurred well after the conclusion of Tillery’s direct appeal. That Tillery’s claim

may not, in fact, be sustainable is not relevant to the reality that its factual basis was not

reasonably available at the time of his direct appeal. Tillery has thus met his burden of

showing cause.

       To demonstrate “actual prejudice,” Tillery must show “not merely that the errors at

his trial created a possibility of prejudice, but that they worked to his actual and

substantial disadvantage, infecting his entire trial with error of constitutional

dimensions.” United States v. Frady, 456 U.S. 152, 170 (1982). Tillery cannot sustain

this burden.

       The Sixth Amendment guarantees criminal defendants the right to representation

free of conflicts of interest. See Strickland v. Washington, 466 U.S. 668, 688 (1984);

United States v. Gambino, 864 F.2d 1064, 1069 (3d Cir. 1988). A petitioner must

demonstrate that “an actual conflict of interest adversely affected his lawyer’s

performance.” Cuyler v. Sullivan, 446 U.S. 335, 348 (1980). If this showing is made,

prejudice will be presumed. Id. at 349-50. The question of whether counsel operated



                                               8



                                            Pa 431
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      476 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               321 of 467




under an actual conflict of interest that adversely affected performance is a mixed

question of law and fact subject to de novo review. Id. at 341-42.

       Actual conflict is more likely to occur in cases involving joint representation in a

single proceeding rather than in cases of multiple representation in which the attorney

represents different clients in different matters. Duncan v. Morton, 256 F.3d 189, 197 (3d

Cir. 2001) (citations omitted). Moreover, the existence of an actual conflict and any

adverse effects from it are more likely to be apparent in cases in which counsel takes

positive steps on behalf of one client to the detriment of the other, as opposed to cases

involving the inaction and passivity of counsel. Id. This case presents at most one

involving multiple representation, and Tillery cites only a passive lapse of representation

by Santaguida. As such, to prove a Sixth Amendment violation premised on actual

conflict, Tillery must show: (1) a plausible, alternative defense strategy or tactic might

have been pursued that is of sufficient substance to be viable; and (2) the alternative

defense was inherently in conflict with or not undertaken because of the attorney’s other

loyalty or interest. See Gambino, 864 F.2d at 1070.

       Tillery argues that Santaguida’s representation of Pickens in 1980 conflicted with

Tillery’s interest during his 1985 trial, and that this conflict manifested itself in

constitutionally defective representation. Specifically, Tillery accuses Santaguida of

failing to put forth his best effort to locate Pickens at the time of Tillery’s trial.




                                                9



                                             Pa 432
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      477 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               322 of 467




Santaguida further declined to request a missing witness charge, which Tillery also

attributes to his alleged divided loyalties.

       The record undermines Tillery’s claim of a debilitating conflict of interest. First,

Tillery has not succeeded in showing that the defense strategy of subpoenaing Pickens as

an exculpatory witness in his trial was a viable one. At the time Franklin’s trial

commenced in late 1980, Pickens could not be located. As Tillery admits, Santaguida

explained in 1985 that he was unaware of Pickens’ whereabouts, and that neither he nor

the Commonwealth could locate Pickens. Although he could not recall exactly what steps

he took in his attempts to contact Pickens, Santaguida testified that he did conduct a

search. He theorized that Pickens was making himself scarce to avoid testifying.

Significantly, even at the time that he provided advice to Pickens in 1980, and at all times

thereafter, Santaguida had no knowledge of his location. Tillery, contrarily, attested that

his counsel did not make every effort to locate Pickens. He did not, however, provide any

specific examples or support for this bald assertion.

       Second, Tillery has not succeeded in showing that Santaguida owed a continuing

duty of loyalty to Pickens, that in turn prevented counsel from using his best efforts to

locate him. Santaguida’s representation of Pickens occurred five years prior to Tillery’s

trial, and likewise terminated before Tillery’s trial. At best, the record discloses that the

representation of Pickens was fleeting and minimal. When asked at the evidentiary

hearing if he ever represented Pickens, Santaguida responded that he did not believe that



                                                10



                                               Pa 433
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      478 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               323 of 467




he represented him in a courtroom. Rather, based on his refreshed recollection, either

Pickens or someone acting on his behalf called him to obtain advice on testifying in the

Franklin case. Furthermore, he could not recall providing any additional legal services to

Pickens, and testified that no communication took place between them other than that one

instance. In his view, there was no conflict “because Mr. Pickens, number one, couldn’t

be found.” (App. at 181.) Contrary to Tillery’s claim, Santaguida never stated that, had

he found Pickens, he would have advised him not to testify in Tillery’s trial. There is not

a shred of evidence that Santaguida’s representation of Pickens continued past its brief

lifespan in 1980. In short, counsel did not actively represent competing interests.

       Tillery has failed to convince us that an actual conflict of interest existed that

adversely impacted Santaguida’s performance. His claim that the record discloses that

Santaguida possessed a duty of loyalty to Pickens at the time he represented Tillery, and

that this duty of loyalty conflicted with his duty of loyalty to Pickens, is purely

speculative. Rather, the record plainly reveals a successive representation of two clients

with possible diverging interests. Not only was this scenario not addressed by the

Pennsylvania Lawyer’s Code of Professional Responsibility in effect at the time, compare

Pa. Lawyer’s Rules of Professional Conduct R. 1.9 cmt. (1988), but the Supreme Court

has made clear that the mere possibility of conflict is insufficient to demonstrate the

existence of an actual conflict, Cuyler, 446 U.S. at 350. There is no evidence that

Santaguida’s actions and inactions were influenced by loyalty to Pickens, or that he even



                                              11



                                           Pa 434
       Case:
      Case   20-1941 Document:
           2:20-cv-02675-PBT    1-1 Page:
                             Document      479 06/05/20
                                      2-1 Filed  Date Filed:
                                                         Page05/07/2020
                                                               324 of 467




maintained a loyalty to Pickens in 1985. Reliance upon the relationships created between

himself, Pickens, and Santaguida cannot, standing alone, suffice to demonstrate the

existence of an actual conflict of interest and adverse impact.

       We conclude that Tillery’s trial counsel’s performance was not adversely affected

by Santaguida’s brief representation of Pickens. Tillery has not established that he was

prejudiced, and his claim is thus procedurally defaulted.

                                            IV.

       For the foregoing reasons, the judgment of the District Court entered on July 30,

2003, will be affirmed.




                                             12



                                          Pa 435
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      480 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         325 of 467




                           Exhibit U
   Petitioner's 2007 PCRA Petition, August 13, 2007




                              Pa 436
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      481 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         326 of 467




                              Pa 437
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      482 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         327 of 467




                              Pa 438
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      483 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         328 of 467




                              Pa 439
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      484 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         329 of 467




                              Pa 440
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      485 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         330 of 467




                              Pa 441
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      486 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         331 of 467




                              Pa 442
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      487 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         332 of 467




                              Pa 443
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      488 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         333 of 467




                              Pa 444
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      489 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         334 of 467




                              Pa 445
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      490 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         335 of 467




                              Pa 446
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      491 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         336 of 467




                              Pa 447
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      492 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         337 of 467




                              Pa 448
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      493 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         338 of 467




                              Pa 449
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      494 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         339 of 467




                              Pa 450
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      495 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         340 of 467




                              Pa 451
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      496 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         341 of 467




                              Pa 452
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      497 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         342 of 467




                              Pa 453
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      498 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         343 of 467




                              Pa 454
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      499 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         344 of 467




                              Pa 455
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      500 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         345 of 467




                              Pa 456
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      501 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         346 of 467




                              Pa 457
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      502 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         347 of 467




                              Pa 458
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      503 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         348 of 467




                              Pa 459
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      504 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         349 of 467




                              Pa 460
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      505 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         350 of 467




                              Pa 461
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      506 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         351 of 467




                              Pa 462
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      507 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         352 of 467




                              Pa 463
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      508 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         353 of 467




                              Pa 464
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      509 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         354 of 467




                              Pa 465
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      510 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         355 of 467




                              Pa 466
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      511 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         356 of 467




                              Pa 467
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      512 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         357 of 467




                              Pa 468
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      513 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         358 of 467




                              Pa 469
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      514 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         359 of 467




                              Pa 470
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      515 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         360 of 467




                              Pa 471
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      516 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         361 of 467




                              Pa 472
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      517 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         362 of 467




                              Pa 473
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      518 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         363 of 467




                              Pa 474
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      519 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          364 of 467




                            Exhibit V
Commonwealth v. Tillery, 981 A.2d 937 (Pa. Super. 2009)
            (unpublished memorandum)




                               Pa 475
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      520 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         365 of 467




                              Pa 476
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      521 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         366 of 467




                              Pa 477
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      522 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         367 of 467




                              Pa 478
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      523 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         368 of 467




                              Pa 479
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      524 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         369 of 467




                              Pa 480
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      525 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         370 of 467




                              Pa 481
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      526 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         371 of 467




                           Exhibit W
     Petitioner's 2016 PCRA Petition, June 16, 2016




                              Pa 482
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      527 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         372 of 467




                              Pa 483
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      528 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         373 of 467




                              Pa 484
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      529 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         374 of 467




                              Pa 485
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      530 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         375 of 467




                              Pa 486
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      531 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         376 of 467




                              Pa 487
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      532 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         377 of 467




                              Pa 488
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      533 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         378 of 467




                              Pa 489
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      534 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         379 of 467




                              Pa 490
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      535 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         380 of 467




                              Pa 491
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      536 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         381 of 467




                              Pa 492
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      537 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         382 of 467




                              Pa 493
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      538 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         383 of 467




                              Pa 494
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      539 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         384 of 467




                              Pa 495
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      540 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         385 of 467




                              Pa 496
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      541 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         386 of 467




                              Pa 497
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      542 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         387 of 467




                              Pa 498
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      543 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         388 of 467




                              Pa 499
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      544 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         389 of 467




                              Pa 500
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      545 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         390 of 467




                              Pa 501
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      546 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         391 of 467




                              Pa 502
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      547 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         392 of 467




                              Pa 503
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      548 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         393 of 467




                              Pa 504
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      549 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         394 of 467




                              Pa 505
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      550 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         395 of 467




                              Pa 506
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      551 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         396 of 467




                              Pa 507
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      552 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         397 of 467




                              Pa 508
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      553 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         398 of 467




                              Pa 509
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      554 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         399 of 467




                              Pa 510
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      555 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         400 of 467




                              Pa 511
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      556 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         401 of 467




                              Pa 512
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      557 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         402 of 467




                              Pa 513
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      558 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         403 of 467




                              Pa 514
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      559 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         404 of 467




                              Pa 515
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      560 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         405 of 467




                              Pa 516
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      561 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         406 of 467




                              Pa 517
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      562 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         407 of 467




                              Pa 518
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      563 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         408 of 467




                              Pa 519
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      564 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         409 of 467




                              Pa 520
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      565 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         410 of 467




                              Pa 521
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      566 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         411 of 467




                              Pa 522
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      567 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         412 of 467




                              Pa 523
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      568 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         413 of 467




                              Pa 524
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      569 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         414 of 467




                              Pa 525
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      570 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         415 of 467




                              Pa 526
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      571 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         416 of 467




                              Pa 527
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      572 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         417 of 467




                              Pa 528
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      573 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         418 of 467




                              Pa 529
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      574 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         419 of 467




                              Pa 530
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      575 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         420 of 467




                              Pa 531
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      576 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         421 of 467




                              Pa 532
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      577 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         422 of 467




                              Pa 533
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      578 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         423 of 467




                              Pa 534
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      579 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         424 of 467




                              Pa 535
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      580 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         425 of 467




                              Pa 536
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      581 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         426 of 467




                              Pa 537
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      582 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         427 of 467




                              Pa 538
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      583 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         428 of 467




                              Pa 539
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      584 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         429 of 467




                              Pa 540
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      585 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         430 of 467




                              Pa 541
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      586 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         431 of 467




                              Pa 542
   Case:
  Case   20-1941 Document:
       2:20-cv-02675-PBT    1-1 Page:
                         Document      587 06/05/20
                                  2-1 Filed  Date Filed:
                                                     Page05/07/2020
                                                           432 of 467




                             Exhibit X
Petitioner’s 2016 Supplemental PCRA Petition, September 7,
                          2016




                                Pa 543
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      588 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         433 of 467




                              Pa 544
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      589 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         434 of 467




                              Pa 545
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      590 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         435 of 467




                              Pa 546
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      591 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         436 of 467




                              Pa 547
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      592 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         437 of 467




                              Pa 548
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      593 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         438 of 467




                              Pa 549
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      594 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            439 of 467




                              Exhibit Y
Court of Common Pleas Opinion Under Pa. R. App. P. 1925(a),
Commonwealth v. Tillery, 3270 EDA 2016, 193 A.3d 1063 (Pa.
                       Super. 2018)




                                 Pa 550
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      595 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         440 of 467




                              Pa 551
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      596 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         441 of 467




                              Pa 552
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      597 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         442 of 467




                              Pa 553
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      598 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         443 of 467




                              Pa 554
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      599 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         444 of 467




                              Pa 555
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      600 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         445 of 467




                              Pa 556
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      601 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         446 of 467




                              Pa 557
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      602 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         447 of 467




                              Pa 558
    Case:
   Case   20-1941 Document:
        2:20-cv-02675-PBT    1-1 Page:
                          Document      603 06/05/20
                                   2-1 Filed  Date Filed:
                                                      Page05/07/2020
                                                            448 of 467




                              Exhibit Z
Commonwealth v. Tillery, 3270 EDA 2016, 193 A.3d 1063 (Pa.
       Super. 2018) (unpublished memorandum)




                                 Pa 559
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      604 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              449 of 467
J-A28027-17


NON-PRECEDENTIAL DECISION - SEE SUPERIOR COURT I.O.P. 65.37

    COMMONWEALTH OF PENNSYLVANIA               :   IN THE SUPERIOR COURT OF
                                               :        PENNSYLVANIA
                                               :
                v.                             :
                                               :
                                               :
    MAJOR GEORGE TILLERY                       :
                                               :
                       Appellant               :   No. 3270 EDA 2016

                Appeal from the PCRA Order September 26, 2016
              In the Court of Common Pleas of Philadelphia County
              Criminal Division at No(s): CP-51-CR-0305681-1984


BEFORE: GANTMAN, P.J., PANELLA, J., and DUBOW, J.

MEMORANDUM BY PANELLA, J.                                 FILED JUNE 11, 2018

       Major George Tillery1 appeals from the order entered in the Philadelphia

County Court of Common Pleas, denying his untimely third petition filed

pursuant to the Post Conviction Relief Act (“PCRA”), 42 Pa.C.S.A. §§ 9541-

9546. We affirm.

       Briefly, Appellant was convicted of first-degree murder, aggravated

assault, possessing an instrument of crime, and two counts of criminal

conspiracy following a jury trial in 1985. The court sentenced him to life

imprisonment. This Court affirmed, and the Pennsylvania Supreme Court

denied allowance of appeal.


____________________________________________


1 Appellant indicates his name is incorrectly listed on this appeal as “George
M. Tillery.” See Appellant’s Brief, at 1. Previous court documents confirm
Appellant has been referred to as “Major George Tillery” throughout associated
proceedings. We have corrected the error.



                                          Pa 560
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      605 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              450 of 467
J-A28027-17



      Thereafter,     Appellant   filed    his   first   PCRA   petition,   which   was

unsuccessful. In 2007, Appellant untimely filed his second PCRA petition. In

it, he claimed a timeliness exception to the PCRA based on newly discovered

evidence. Appellant alleged two of the Commonwealth’s witnesses at his trial,

Emanuel Claitt and Robert Mickens, received previously undisclosed favorable

plea deals in exchange for their false testimony. Appellant contended these

plea deals, previously unknown to him, gave the witnesses motive to lie about

Appellant’s involvement in the murder. The PCRA court denied the petition as

untimely, and this Court affirmed.

      Appellant filed this petition, his third, on June 15, 2016. The PCRA court

denied the petition without holding an evidentiary hearing. This appeal is now

properly before us.

      Appellant argues the PCRA court erred in dismissing his petition as

untimely. We review an order dismissing a petition under the PCRA by

examining whether the court’s determination is supported by the evidence of

record and is free of legal error. See Commonwealth v. Halley, 870 A.2d

795, 799 n.2 (Pa. 2005). We will not disturb the court’s factual findings unless

there is no support for them in the certified record. See Commonwealth v.

Carr, 768 A.2d 1164, 1166 (Pa. Super. 2001). Moreover, a court may decline

to hold a hearing on a petition if it determines the petitioner’s claim is patently

frivolous and is without a trace of support either in the record or from other

evidence. See Commonwealth v. Jordan, 772 A.2d 1011, 1014 (Pa. Super.

2001).

                                          -2-

                                          Pa 561
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      606 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              451 of 467
J-A28027-17



      The timeliness of a post-conviction petition is jurisdictional. See

Commonwealth v. Hernandez, 79 A.3d 649, 651 (Pa. Super. 2013).

Generally, a petition for relief under the PCRA, including a second or

subsequent petition, must be filed within one year of the date the judgment

is final unless the petition alleges, and the petitioner proves, an exception to

the timeliness requirement. See 42 Pa.C.S.A. § 9545(b)(1)(i)-(iii). A PCRA

petition invoking one of these statutory “exceptions must be filed within sixty

days of the date the claims could have been presented.” Hernandez, 79 A.3d

at 652 (citing 42 Pa.C.S.A. § 9545(b)(2)). Finally, exceptions to the PCRA’s

time bar must be pled in the petition. See Commonwealth v. Burton, 936

A.2d 521, 525 (Pa. Super. 2007). See also Pa.R.A.P. 302(a).

      Appellant’s judgment of sentence became final on June 3, 1990, when

his time for filing a writ of certiorari with the United States Supreme Court

expired. See 42 Pa.C.S.A. § 9545(b)(3); U.S. Sup. Ct. R. 13. Appellant filed

this petition on June 15, 2016—more than 26 years after his judgment of

sentence became final. It is, as he concedes, patently untimely. See

Appellant’s PCRA Petition, filed 6/15/16, at 5. Thus, the PCRA court lacked

jurisdiction to review Appellant’s petition unless he was able to successfully

plead and prove one of the statutory exceptions to the PCRA’s time-bar.

      Appellant attempts to plead both the governmental interference

exception and the newly discovered facts exception. He proffers the same

evidence for both claims: signed affidavits from two witnesses in his case,

Emanuel Claitt and Robert Mickens. In their affidavits, the men aver they

                                     -3-

                                    Pa 562
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      607 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              452 of 467
J-A28027-17



received favorable plea deals and other favors from the Commonwealth in

exchange for their testimony, and that they lied when asked about any

potential plea deals during Appellant’s trial. Claitt and Mickens also allege

various police detectives and the Assistant District Attorney prosecuting

Appellant’s case repeatedly threatened them with criminal charges, which

coerced them to provide testimony falsely incriminating Appellant.

      To   demonstrate    the   governmental    interference   exception,   “the

petitioner must plead and prove the failure to previously raise the claim was

the result of interference by government officials, and the information could

not have been obtained earlier with the exercise of due diligence.”

Commonwealth v. Abu-Jamal, 941 A.2d 1263, 1268 (Pa. 2008) (citation

omitted). To claim the newly discovered facts exception, a petitioner must

plead and prove that “the facts upon which the claim is predicated were

unknown to the petitioner and could not have been ascertained by the exercise

of due diligence[.]” 42 Pa.C.S.A. § 9545(b)(1)(ii). “[D]ue diligence requires

neither perfect vigilance nor punctilious care, but rather it requires reasonable

efforts by a petitioner, based on the particular circumstances, to uncover facts

that may support a claim for collateral relief.” Commonwealth v. Brown,

141 A.3d 491, 506 (Pa. Super. 2016) (citation omitted).

      Appellant devotes much of his brief to disputing the PCRA court’s

dismissal of his petition, on the grounds that Appellant failed to prove he acted

with due diligence. Appellant contends he had no way of knowing before he

received these affidavits that the Commonwealth orchestrated a conspiracy to

                                      -4-

                                     Pa 563
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      608 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              453 of 467
J-A28027-17



keep him in jail, and requiring him to have investigated this matter in the 31

years between his trial and the filing of this PCRA petition placed an

unreasonable burden on him. Appellant also argues the conditions of his

incarceration prevented him from filing a PCRA petition sooner. Appellant

chronicles his movements between various prisons, as well as stints in solitary

confinement, as evidence that he was unable to file this petition at an earlier

date.

        The Pennsylvania Supreme Court previously evaluated the argument

that prison conditions constitute a timeliness exception to the PCRA, and

rejected it. See Commonwealth v. Albrecht, 994 A.2d 1091, 1095 (Pa.

2010) (holding inmate’s failure to show restricted conditions of incarceration

were illegal prevented him from obtaining timeliness relief under PCRA’s

governmental interference exception).

        Also, Appellant’s contention that he was unable to obtain this

information sooner is belied by his second PCRA petition, filed in 2007. In it,

Appellant accuses the Commonwealth of suborning perjury from Claitt and

Mickens, and he provides various transcripts and letters as proof. While

Appellant’s 2007 petition lacks the signed affidavits from Claitt and Mickens

attached to his current petition, he raises substantially the same arguments

in each. The claims here merely expand on the arguments in the 2007 petition,

and he offers only vague speculation that Claitt and Mickens would have been

unwilling to provide such information before. We find such explanations

unavailing.

                                     -5-

                                    Pa 564
      Case:
     Case   20-1941 Document:
          2:20-cv-02675-PBT    1-1 Page:
                            Document      609 06/05/20
                                     2-1 Filed  Date Filed:
                                                        Page05/07/2020
                                                              454 of 467
J-A28027-17



      Consequently, we find Appellant has failed to prove he acted with due

diligence in discovering these allegedly new facts and governmental

interference. Accordingly, we affirm the order dismissing his PCRA petition as

untimely.

      Order affirmed.

Judgment Entered.




Joseph D. Seletyn, Esq.
Prothonotary



Date: 6/11/18




                                    -6-

                                   Pa 565
  Case:
 Case   20-1941 Document:
      2:20-cv-02675-PBT    1-1 Page:
                        Document      610 06/05/20
                                 2-1 Filed  Date Filed:
                                                    Page05/07/2020
                                                          455 of 467




                           Exhibit AA
Commonwealth v. Franklin, 201 A.3d 854 (Pa. Super. 2018)
             (unpublished memorandum)




                               Pa 566
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      611 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         456 of 467




                              Pa 567
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      612 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         457 of 467




                              Pa 568
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      613 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         458 of 467




                              Pa 569
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      614 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         459 of 467




                              Pa 570
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      615 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         460 of 467




                              Pa 571
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      616 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         461 of 467




                              Pa 572
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      617 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         462 of 467




                              Pa 573
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      618 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         463 of 467




                              Pa 574
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      619 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         464 of 467




                              Pa 575
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      620 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         465 of 467




                              Pa 576
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      621 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         466 of 467




                              Pa 577
 Case:
Case   20-1941 Document:
     2:20-cv-02675-PBT    1-1 Page:
                       Document      622 06/05/20
                                2-1 Filed  Date Filed:
                                                   Page05/07/2020
                                                         467 of 467




                              Pa 578
